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HAMILTON COUNTY, OHIO _

IN THE COURT OF COMMON PLEAS 11|1!1|1|1
CIVIL DIVISION

BARBARA HENSLEY
12063 Decker
Richwood Ky, 41094

Plaintiff,

V.

wEST CHESTER HOSPITAL, LLC
7700 UNIVERSITY DRr\/E
L WEST CHESTER, OH 45069

SERVE: GH&R BUSINESS SVCS., INC.

511 WALNUT STREET

1900 FIFTI-I THIRD CENTER
CINC]NNATI, OH 45202
(Serve via Certif`led mail)

And

UC HEALTH

bSER\/E: GH&R BUSlNESS SVCS., INC
511 WALNUT STREET

1900 FIFTH THIRD CENTER
CINCINNATI,OH 45202

(Serve v_ia Certifled mail)

Defendants

 

 

 

 

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CaSeNo. A1503355

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COMPLAINT 1
& J'URY DEMAND 1
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:(ALL NEW DR DURRANI CASES SHALL

60 TO IUDGE RUEHLMAN PER 1

ms ORDER)

PARTIES VENUE JURISDICTION

Cornes now the Plaintiff, Barbara Hensley, and files this Complaint and jury demand and

state as follows:

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5.

. Plaintiff is bringing a Direct Fraud Claim against Defendants West Chester l~:lospital and

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UC Healrh. 3

A fraud claim against West Chester Hospital and UC was never brought in Plaintiff’s
original suit against Dr. Durrani.

Resjudicata and Collateral Estoppel do not apply.
The decision in favor of Dr. Durrani did not involve West Chester Hospital and UC
Health. West Chester Hospital and UC Health were not parties to the lawsuit1 The

decision was also not on the merits

At all times relevant, Plaintiff was a resident of and domiciled in the State of Kentucky.

Comes now, Plaintiffs, by and through counsel, and for this Complaint states as1follows:

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Plaintiff had surgery at West Chester Hospital in 2009.

At all times relevant, Dr. Abubakar Atiq Durrani (hereinafter “Dr. Durrani”) was licensed
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At all times relevant, West Chester Hospital, LLC (hereinafter “West Cheste1' Hospital”),

to and did in fact practice medicine in the State of Ohio.

was a limited liability company authorized to transact business and perform medical
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services in the State of Ohio and operate under the trade name West Chester 1-Iospital.
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At all times relevant, Defendant UC Health Inc., was a duly licensed corporation which
owned, operated and/or managed multiple hospitals including, but not limited to West

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Chester Hospital, and which shared certain services, profits, and liabilities of|` hospitals

including West Chester. "
At all times relevant herein, West Chester Medical Center, lnc., aka West Chester
Hospital held itself out to the public, and specifically to Plaintiffs, as a hospital providing

competent and qualified medical and nursing services, care and treatment byi and through

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its physicians, physicians in training, residents, nurses, agents, ostensible agdnts, servants

and/or employees 1

UC Health lStored BMP-2 at UC Health Business Center warehouse located rn Hamilton

County, 1

UC Health is the corporate parent, owner and operator of West Chester Hospital, LLC.

UC Health is located in Hamilton County making I-Iamilton County appropri."fite to bring

this lawsuit. ` n l

The amount in controversy exceeds the jurisdictional threshold of this Court.j
FACTUAL ALLEGATIONS OF PLAINTIFF 1

Upon information and belief, Dr. Durrani used InfiisefBMP-Z “off-label” without

Plajntiff’ s knowledge or consent, causing harm. 1

The use of BMP-2 “off-label” was in violation of the FDA standards l

Plaintiff Barbara Hensley had an x-ray ordered by Dr. Gary Shearer to due to1complaints

of necl<` pain. 1

. Barbara had history of two previous cervical spine surgeries 1

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The MRI revealed degenerative changes above the C5-7 fusion of borderline significance

Dr. Shearer then referred Barbara to Durrani for evaluation of her neck and lo:wer back

and degenerative changes at C7-Tl of questionable significance

pain. 1
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Durrani ordered an MRl and planned to perform surgery after receiving the results

The MRI showed there was only mild stenosis of C3-C4, mild to moderate at1C4-C5, and

at C7-T1; with no herniation or obvious abnormality.

22. On October 23, 2009, Durrani performed an anterior cervical discectorny and1fusiori of

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. Two weeks after the operation Barbara was seen by Durrani. '

C4-5 and C7-Tl on Barbara.

. At that time, Barbara had complaints of difficulty eating and drinking since surgery, with

moderate to severe pain between her shoulder blades and down her right arm'. Her range

of motion was “very, very limited,” and physical therapy.

. On February 24, 20110J Plaintiff Hensley visited Dr. Shearer with difficulty swallowing

and headaches
Barbara received injections into her occipital nerve to treat the headaches
In May, 201 0, she again visited Dr. Shearer complaining of emotional issues1 weight loss,

and weakness', an x-ray at that time showed fusion from C4 through Tl.

. On September 27, 2010, she again visited Dr. Shearer, complaining of a number of

issues, including difficulty swallowing and weight loss; as a result of which Dr. Shearer

ordered a Bariurn Swallow Study. 1

The study showed severe constriction of the esophagus, and on a visit with Dr Shearer

on October 27, 2010, Barbara complained that her voice had been getting fainter over the

past several months.Dr. Shearer referred her for a gastrointestinal (GI) evaluation

On January 24, 2011, Barbara received a second opinion from Dr. Michael R,ohmiller of
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the Cincinnati Spine lnstitute. 1

Dr. Rohmiller reviewed the MRI that was done prior to Barbara’s surgery by; Dr. Durrani

and noted there was no herniatiori or obvious abnormality noted.

Dr. Rohmiller reviewed the films done following the surgery and felt it was likely that

Defendant Durrani had used bone morphogenetic protein (BMP) and that was likely the
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reason for Barbara’s difficulty swallowing.

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BMP is a genetically engineered protein product that stimulates bone growthi and is not

FDA approved for cervical spinal fusions 1

On January 31, 2011, an upper GI evaluation was performed, but the study w`ias

incomplete as Barbara was able to tolerate only a few small sips, because foqd refluxed

into her nose, a diagnosis of esophageal dysmotility.

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On February 7, 2011 Barbara visited Dr. Kevin Moreman of Tri-state Gastroenterology,

where he performed an esophageal dilatation on barbara, and he noted the po1s,sible need

for a feeding tube. 1

On February 21, 2011 Barbara again visited Dr. Shearer, when he noted that “she had her

 

rods removed due to food catching and hanging up.”

That same day, Barbara also visited Dr. Rohmiller, who discussed with her tlie possibility
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of feeding tube, which she declined at that time, `
Barbara continued to visit to Dr. Shearer for swallowing problems, including tthat when

she swallows it comes out her nose. 1

As a direct and proximate result of these Surgeries and Dr. Durrani’s negligence, Plaintiff

has suffered harm. l

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Plaintiff did not become aware of Dr. Durrani’s use of lnti.i_se/BMP-2 until Plaintiff filed

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her complaint January 17, 20]2. ‘
West ChesterfUC Health failed to report a single incident of any kind involving Dr.

Durrani to the National Practitioner Data Bank and any other reporting agency including

the Ohio Medical Board despite there being countless required reports

. Accordiiig to HRSA Data, 42% of hospitals have never made a single report to NPDB.

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43. With respect to Dr. Durrani, West Chester/UC Health did not follow their written medical
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staff policies and procedures under their professional practice evaluation poiicy.

44. West Chester/UC Health failed to follow the triggers for peer review from .1a`1nuary 2009

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through May 2013.

45. The following are the triggers for peer review or other actions as provided b}:f West

Chester/UC Health to the Deters Law Office in discovery in related litigation and is a list
which by their own admission is not exclusive and is a list they produced afte!:r full
knowledge of the items Dr. Keith Wilkey, Plaintiffs’ experts, considered triggers

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A. Wrong operative procedure performed ' :
. Serious injury due to medical device 1

B
C. Procedure performed on wrong patient
D

. Medication resulting in death

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Delay in diagnosis

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Autopsy not correlated with clinical diagnosis 1

Delay in treatment resulting in serious injury or death

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Alleged abuse or neglect

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Unexpected death

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Surgical death

K. Mortality review

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Unplanned second surgeon called to OR
. MD not credentialed for procedure

Focus review

 

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lncident reports

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P. Contraindication to surgery
Q. Unintended retention of foreign object in a patient after surgery
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R. Compllcations from procedure (i.e. readmits, infections, pneumothorax after

procedure)

S. X-ray discrepancies

T. Retums to surgery

U. Transfusion not meeting criteria on order sheet

V. Change in surgery/procedure 1
W. Lacerationfor perforation/puncture of organ during invasive proceduri:
X. Acute Ml or CVA within 48 hours of procedure 1
Y. Anesthesia complications

Z. MD without timely response to ED or unit call 1
AA. Risk management issues 1
BB. Delay in treatment not resulting in serious injury and/or death 1
CC. Delay in diagnosis not resulting in injury or death

DD. Acute blood loss as indicated by procedure 1
EE. Appropriate care measures not ordered 1
FF. Readmission- complication of previous admission 1
GG. Unplanned admission following surgery 1
HH. 72 hours returns to ED and readmit same issue 1
II. Insufficient documentation 1
Jl. BMP-2 1.

KK. PureGen 1

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age, diabetes, obesity, hypertension, mental health issues, etc.

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Late dictation or no dictation of operative reports or discharge summaries
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False claim of spondylolisthesis
False claim of stenosis or its severity 1
Perforrning surgeries on patients whose health condition vitiates surgery:

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PP. Shanti Shuffle- Dr. Shanti being forced to do an entire surgery for Dr1 Durrani by

Dr. Durrani without the patient’s knowledge

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No hospital consents or improper CAST consents 1
Failed Hardware

Perfonning surgery not qualified to perform
Dura tear l
Having hardware which should be removed, which is never removed
Not using the proper cage with BMP-2 1
Ignoring radiology results

Misrepresentations to primary care physicians

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46. Dr. Keith Wilkey, a board certified spine expert, has reviewed over 213 patie:nt charts at

West Chester of Dr. Durrani and signed 213 affidavits of merit as required under CRlO of

Ohio Rules of Procedure to file a medical malpractice case and based upon these reviews

over 500 events triggers place which would have required action against Dr. Durrani by

West Chester. Defendants intentionally took no action.

47. Frorn .`1 anuary 2009 through May 2013, with respect to Dr. Durrani, Defendapts failed to

follow their Medical Staff Code of Conduct which they approved as witnesséd by Ed

Crane, President of the Medical Staff and Paula Hawk.

 

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48. Unl<nown Defeiidants include all Members of the Executive Cornmittee, Credentialing
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49. Article I of the MEC bylaws gives the MEC “oversight,” of quality of care and patient
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Committee and Peer Review from 2009 through 2013.

safety for West Chester. 1
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50. Article 3.] .1 sets forth who the officers are including President, Director of` Surgery,

Director of Medicine and Chair of Credentials Committee.
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51. Article 3.3.1 provides the duties of each department director and Article 4.4 provides the

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functions of the department '

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52. Defendants have refused to produce through discovery the members of West Chester’s

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Medical Executive Comrnittee, Credentialing Conimittee and Peer Review Cdmrnittee

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from 2009 through 2013.

53. Plaintiff did not become aware of Dr. Durrani’s use of lnfuse/BMP-2 until legal counsel

informed Plaintiff of his propensity to use the drug. 1

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MORE SPECIFIC ALLEGATIONS BASED UPON DISCOVERY AND DEPIOSITION
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54. Krissy Probst was Dr. Durrani’s professional and personal assistant handlingl

professional, academic, travel, Surgery Scheduling, his jOumalS, hiS BOaIdS, h1iS

credentialing, his personal affairs and his bills
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55. Krissy Probst worked as Dr. Durrani’s assistant for three years at Children’s Hospital
from 2006, 2007, and 2008. 1

56. Krissy Probst reported Dr. Durrani to Sandy Singleton, the Business Director at

 

Children’s for his having an affair with Jamie Moor, his physician assistant

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Krissy Probst resigned in 2008 from Dr. Durrani and remained working for three other

surgeons in the Orthopedic Department.

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K_rissy Probst worked in the Orthopedic Department for eleven years from 2002-2013.
She retired in May, 2013. l

Krissy Probst confirmed Dr. Durrani claims being a Prince, when he is not.
According to Krissy Probst, Dr. Crawford, an icon in pediatric orthopedics treated Dr.
Durrani “like a son.”

According to Krissy Probst, Dr. Crawford, Chief of Orthopedics at Children’s:
unconditionally supported Dr. Durrani no matter the issues and problems Dr. |Durrani

faced.

Dr. Durrani’s patient care at Children’s Hospital dropped off considerably after Jarnie

Moor became his physician assistant and they began their affair.

. Dr. Durrani was the only orthopedic spine surgeon at Children’s who would perform a

dangerous high volume of surgeries 1

At Children’s, Dr. Durrani would begin a surgery, leave and have fellows and residents
complete a surgery or do the full surgery while he was in his office with Jami`e Moor, his
physician assistant for four or five hours.

Children’s Board and administration knew about Dr. Durrani doing too manyi surgeries
and not properly doing the surgeries. They did nothing. i

Dr. Durrani argued to Children’s administration when they complained to him that he
made them money so Children’s tolerated him and allowed him to do What he wanted.
Dr. Durrani, when told by Children’s that Jarnie Moor had to leave, told Children’s that

he would leave too.

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Dr. Agabagi would do one spine patient a day at Children’s because it takes normally
eight hours for a full fusion.

Dr. Durrani would schedule two to three spine surgeries a day at Children’s. f

Dr. Durrani would repeatedly have the Business Director, Sandy Singleton, or` OR
Director allow him to add surgeries_claiming they were emergencies when they were _not.
Dr. Durrani would leave a spine surgery patient for four or five hours in the surgery suite
under the care of fellows or residents, unsupervised and sit in his office and check on the
surgery as he pleased.

Dr. Peter Stem did not like Dr. Durrani while Dr. Durrani Was at Children’s biscause he
knew all about his patient safety risk issues. Yet, Dr. Stem supported, aided and abetted
Dr. Durrani’s arrival at West Chester. lt defies comprehension, but was for one of the
world’s oldest motives_greed of money. 1

There is also a Dr. Peter Sturm, an orthopedic at Children’s who also had no 11se for Dr.
Durrani. z

Dr. Durrani chose his own codes for Children’s billing which he manipulated 1with the
full knowledge of Children’s Boa.rd and management

Dr. Durrani was dating and living with Beth Gar'rett, a nursing school drop-out, with the
full knowledge ofhis wife Shazia.

Dr. Durrani was close with David Rattigan until David Rattigan pursued Jami:e Moor and
Dr. Durrani would not allow David Rattigan in the OR at Children’s for a lon1g time.

Dr. Durrani, while claiming to have riches, does not. Dr. Durrani’s wife’s family paid for

Dr. Durrani’s education and it is her family with the significant wealth.

 

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78. Medtronics paid for Dr. Durrani’s trips and paid him $10,000 fees for speakin1g or simply
showing up at a spine conference 1

79. Krissy Probst’s business director told her to save all Dr. Durrani related docurirents and
information and she did. l

80. While doing research at Children’s, Dr. Durrani would misstate facts regardin1g his
research. Children’s knew he did this. l

81. Dr. Durrani ended on such bad terms with Children’s Hospital he was not allowed on the
premises after his departure in December 2008, yet he performed a spine surgery there in
February 2009.

82. Eric J. Wall, MD was the Director of Surgical Services Division of Pediatric 0rthopedic
Surgery when Dr. Durrani left Children’s.

83. Sandy Singleton, MBA was the Senior Business Director of Surgical Services Division of
Pediatric Orthopedic Surgery when Dr. Durrani left Children’S.

84. On information and belief, Dr. Durrani used his relationships with Children’sioffrcials to
purge his Children’s file of all patient safety and legal issues which had occurred as part
of his departure “deal” which Defendants hide with privilege.

85_ Defendants committed fraud by misrepresenting Dr. Durrani’S reputation. Defendant
knew he was doing unnecessary spine surgeries and concealing them from Plaintiffs.
With the intent to mislead Plaintiffs, and knowing Plaintiffs would rely upon 1116

misrepresentations and concealment, Defendant caused harm to Plaintiffs. Defendant

knew their false information regarding Dr. Durrani was material to Plaintiffs decision

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making in choosing Dr. Durrani as a surgeon, allowing him to perform surgery, following

his recommendation and being trusting to have their procedures at Defendant1hospitals.

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Dr. Durrani’s CAST website states in part: “The entire focus at CAST is on the patient
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From the ease in getting in to see a physician. . .to wellness, therapy and treatment
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programs that can help patients avoid surgery. . .to minimally invasive technidues if

surgery is necessary. . .to our remarkable facility and one-site convenience. It?s time

patients have the level of preventive care and advanced treatment we offer. Atiq Durrani,
MD- Founder of CAST.” As shown and will be shown, this is a material
misrepresentation which is false relied upon by Dr. Durrani’s patients including Plaintiffs
to allow Dr. Durrani to perform unnecessary surgeries on Plaintiffs.

Gerry Goodman worked under a Corporate lntegrity Agreement in 2010 at West
Chester/UC Health.

Gerry Goodman, from August to November 201 O, while serving as the interim director of
OR nursing at West Chester Medical Center, complained to administration including
Mitch McCrate about Dr. Durrani’s deviations and violations of law, policiesi, bylaws,

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rules and regulations which were effecting patient care, including Plaintiffs. 1
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Mitch McCrate told Gerry Goodman West Chester/UC Health wasn’t concerr11.ed because
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“the hospital had state funding and therefore was not held to qui tam rules.” 1

Gerry Goodman told Mitch McCrate, General Counsel; Jack Talbot, HR; Gedrge Caralis,
COO and Kevin Joseph, MD, President; that Dr. Durrani had a “partner” who1 had not
received provider status and Dr. Durrani was billing his “partner” under Dr. li)urrani’s
provider number, something which was illegal.

The “pa.rtner” was Dr. Shanti.

Dr. Durrani and Dr. Shanti would do three or four cases simultaneously and bill them

simultaneously

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93. Gerry Goodman told McCrate, Talbot, Caralis and Joseph she could not work in a place
which condones illegal practices Thcy asked her to ignore them. She refused
94. Dr. Durrani, according to Gerry Goodman, did whatever he wanted in the OR and knew
he could get away with it including being treated like a king by the vendors 1
95 . Vendors such as Medtronic representatives were allowed in the OR after goin|`g through
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the preapproved process they must go through. David Rattigan, Dr. Durrani’s primary

vendor, worked at Bahler peddling Medtronic products 1

961 Dr. Durrani was abusive to his and West Chester/UC Health staff. This was tolerated by
West Chester/UC Health and effected patient care including that of Plaintiffs1.

97. Dr. Durrani never cared about others schedules or the West Chester/UC Health OR
schedule 1

98. Dr. Durrani declared every surgery an emergency to ignore schedules

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99. Dr. Durrani received two full days and two half days of block time at West (ihester/UC

Health. lt was never enough time for his over utilization. i

100. When Gerry Goodman would say no to a Dr. Durrani scheduling reqirest, Dr.
Durrani would contact West Chester/UC Health administration and she wou1d be
overridden. 1

101. Gerry Goodman had skill, knowledge and experience to recognize a 1‘Dr.
Durrani” because she had been involved in the outing of another over-utilizer and
unnecessary procedure surgeon performing cardiac catherizations.

102_ Spine surgeons usually do one or two a day, possibly three surgeries£a day if an

emergency. 1

103. Dr. Durrani would often do four, five and even six surgeries '

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104. Dr. Durrani and Dr. Shanti would walk from surgical room to surgical¢roorn with

all the spine patients “open” for an extended time past the standards of care. t

105. 0n at least two occasions, Dr. Durrani patients were open for in excess of an hour

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waiting for him to come into the case. 1

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106.» When Gen'y Goodman would complain to Dr. Durrani about patients being under
anesthesia and the operative site open for long periods of time, Dr. Durrani would claim

“we are covering anesthesia with antibiotics.”

107. When Dr. Durrani performed with Dr. Shanti these multiple simultane;ous

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procedures, they were billed as if he was the attending surgeon in all three su1geries.
108. The Dr. Shanti and Dr. Durrani “open and switch” to do the surgery, we have
labeled the “Shanti Shuffle.”

109. The Shanti Shufile is not the normal. Shanti did not assist, he replaced

110. Gerry Goodman complained to risk management repeatedly to no ava;il of the
sham shufne. 1
l 1 l. When Gerry Goodman pointed out to risk management, J ill Stegman and David

Schwallie that Dr. Durrani had all the “red flags” from over utilization and bding bounced
out of other area hospitals, they responded “how did you know.” Gerry Goodman knew
because anyone in hospital administration and management in the tristate in 2008 to 2013
knew. Dr. Durrani was no secret.

112. .T ill Stegman and David Schwallie admitted to Gerry Goodman they knew about
Dr. Durrani’s over utilization, being “bounced out” of other hospitals and all1the issues

going on with him with the OR, but West Chester needed Dr. Durrani’s numbers

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113. When Gerry Goodman complained to George Caralis about Dr. Durrarii, he told
Gerry Goodman to “keep your mouth shut and go back to work because you aim just an
interim.” E

114. George Caralis told Gerry Goodman that West Chester/UC Health needed Dr.
1)urrani surgeries and admissions and therefore they were not going to stop him.

115. l ill Stegman and David Schwallie informed Gerry Goodman they wou|ld get back
with her about Dr. Durrani in a few days They never did. 1

116. After Gerry Goodman was blown off by David Schwallie and J ill Stegman, she
decided to leave her work assignment at West Chester/UC Health.

1 17. Gerry Goodman checked the written consents of BMP-2 patients incliiding
Plaintiffs which Dr. Durrani, CAST and West Chester/UC Health had them sign and
confirmed they did not provide consent to BMP-2. 1

l 18. Gerry Goodman reported on the lack of consent for BMP-2 also to Sclhwallie,
Stegman, .loseph, Caralis, Talbot and McCrate and they ignored her.

l 19. Gerry Goodman verified there was nothing in the patients’ charts, including
Plaintiffs’ charts, reflecting they were informed of the risks of off label use of BMP-Z.

120. Upon hearing her repeated complaints about Dr. Durrani, George Car;alis told

Gerry Goodman she wasjust an “emotional female.” l

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121. Gerry Goodman reported to no avail patient safety issues caused by the OR staff

working from 7 AM to midnight on Dr. Durrani patients Fatigue caused deviations in
standard of care by West Chester/UC Health staff’s including in Plaintiffs.
122. No action was taken by West Chester/UC Health’s board or management to

correct the informed consent issue on BMP-'2. The time period of Gerry Gopdman’s

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warning and complaints were fall 2010. Plaintiffs’ claims arise from January 1, 2009
through May 2013. At least, according to Gerry Goodman’s interim service, any Plaintiff
having BMP-2 placed after the fall of 2010 at West Chester/UC l-lealth is a further
tragedy because the Board, administration and management can’t obey notice and they
allowed Dr. Durrani to continue placing BMP-2 at will. Why? Money. Des;pite having
full knowledge of the issue, West ChesterfUC Health’s board and managemdnt allowed
patients including Plaintif`fs to have BMP-2 placed in them by Dr. Durrani at their facility
without warning them, with full knowledge they were not warned

123. Gerry Goodman knew anesthesia charged per the minute or in fifteen minute
increments and she considered it a fraud to bill for unnecessary anesthesia when patients
were “open” longer than necessary. 4

124. Dr. Durrani would contact Medtronics and other vendors directly, they would
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bring into the OR what Dr. Durrani requested and then invoice West Chestei/UC Health.

125. During surgeries, Medtronics and other vendors would want to up Sell products
126. Thjs process was distracting to the OR staff and affected patient care.
127. Dr. Durrani told Gerry Goodman Dr. Shanti had privileges, but wasn’t yet on all

the insurance panels
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128. Gerry Goodman asked Dr. Durrani: “Which panel so he’s not doing§ those cases‘?”
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129. Dr. Durrani told Gerry Goodman in response: “We’re doing these piocedures
together. They’re billed under my narne.” 1

130. Gerry Goodman witnessed one case where Dr. Durrani was never in'the room at

all, just Dr. Shanti. Yet, Dr. Durrani claimed the procedure

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131. Gerry Goodman confronted Dr. Shanti and he simply stated: “Dr. Durrani and 1

are co-surgeons.” 1

132. Gerry Goodman verified Dr. Shanti was not on the written informed consents for
these procedures
133. Kevin Joseph, MD, and President of West Chester Medical Center, knew

1
everything Gerry Goodman complained about because either she told him or George

Caralis told him. Caralis told her he told him_
134. Dr. Durrani had no supervision at all at West Chester/UC Health.
135. When Gerry Goodman attempted to supervise him, the West Chester/1UC Health

, i
management as described here rebuked her. 1

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136. Gerry Goodman also informed Mitch McCrate, J ill Stegman, David S:chwallie,
George Caralis and Kevin Joseph, MD, that Dr. Durrani’s high volume of fusions of the
spine was not usual practice They ignored these concerns 1

137. West Chester/UC Health’s board and management, did not provide p1oper
supervision of Dr. Durrani as required through the surgery and orthopedic departments
(See Bylaws section to follow)

138. Gerry Goodman also spoke to the Chief of Surgery at West Chester l\'/Iedical
Center about Dr. Durrani to no avail. ;

139. The West Chester/UC Health manager who did analytics and kept records sent to
Gerry Goodman at her request, months’ worth of their BMP tracking. She k1ept it and

still has it. 1
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140. West Chester/UC Health has previously denied tracking BMP-2. Thdy lied. They,
tracked it to analyze the profit. They liked the profit. They encouraged Dr. ll)urrani to
place all the BMP-2 he could.

141. Based upon Gerry Goodman’s documentation, Plaintiffs have request1ed and
expect to receive all BMP-2 tracking as evidence of Plaintiffs BMP-2 claims‘:.

142. West Chester/UC Health’s board and management increased the cost lof the
surgeries of Plaintiffs and patients by using BMP-2 infuse. 1

143. Dr. Durrani would also sign operative reports he never dictated with fhe full
knowledge of West Chester/UC Health’s board and management This is ye1 another

practice Gerry Goodman complained about. 1

144. Kate Fenner, Phd, owner of Compass Clinical Consulting, told Gerry'Goodrnan
that she had a meeting approximately 2007/2008 at West Chester Hospital udth Kevin
Joseph to alert him to Durrani’s billing and medical practices Kate Stated thin she knew
Dr. Durrani was leaving prescriptions unsigned for his office nurses to distribute as
needed when he was out of the country. Kate then stated that she knew Kevir;i knew about
the questionable billing practices and was told “WE NEED THE CASES AND THE
REVENUES.” 1

145. Dr. Shanti dictated operative reports he never signed with the full kndwledge of
West ChesterfUC Health’s board and management They knew because Gerr|~y Goodman
complained

146. Orthopedics and spine surgeries are some of the highest sources of income for a

hospital and were too for West Chester/UC Health.

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147. ln the spring of 2013, Dr. Peter Stem told Dr. Angelo Colosimo, UC Orthopedic
Surgeon that West Chester/UC Health “knew all about Dr. Durrani’s issues b1efore he

came to us and after he came to us, but we needed the money.” §

148. The billings for Dr. Durrani surgeries were sent to Plaintiffs at their homes with

requests for payment

149. Plaintiffs were required to make payments of uncovered medical bills to Dr.
Durrani and CAsT. 1
1
150. Dr. Durrani produced, distributed and utilized a video of a lecture involving his

EDS patients to solicit more patients

151. Unbeknownst to his EDS patients, Dr. Durrani was doing experiments on these
EDS patients including many of the Plaintiffs without informing them they were part of
an experiment This too violated West Chester Medical Staff Bylaws as revealed in a
later section. 1

152. Dr. Durrani claims in his EDS video a 95% success rate with the C1-02
operations and only one of the twenty-five claimed they Would not have the surgery

again. l
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153. The undersigned counsel represents 20 of these 25 persons and not orie would

have the surgery again. They are Plaintiffs.

154. Dr. Tayeb was an employee of Dr. Durrani from 2009 to 2013. Counsel has

interviewed him extensively.
155. Dr. Tayeb will testify that Dr. Durrani improperly selected patients fqr surgery,
1
and then recommended surgery, including patients with EDS that were not pr;oper

candidates for surgery including many of the Plaintiffs. 1

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156. Dr. Tayeb will testify that improper business practices occurred at CP;ST,
including Dr. Durrani recommending surgeries that were medically unnecessary
including the Plaintiffs.

157. Dr. Tayeb will testify that Dr. Durrani made decisions to place wealtli and status
over the well-being of his patients including Plaintiffs. 1

158. Dr. Tayeb, Dr. Durrani’s pain management doctor for a time at CAS'l:, reports
that Dr. Durrani’s misuse of BMP-2 resulted in bony overgrowth, where “it’s: like a big
block of bone back there where you can’t even stick a needle there anymore”1 and
patients including Plaintiffs would develop neuropathic pain.

159. Dr. Tayeb could not reach the nerve in many of the BMP-2 patients td even treat
with injections 1

160. Dr. Tayeb would engage Dr. Durrani in shouting matches at CAST over patient
care that others witnessed 1

161. According to Dr. Tayeb, Dr. Durrani would not always speak truthfully about
patients having already gone through conservative care. z

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162. According to Dr. Tayeb, Dr. Tayeb believes West Chester knew aboiit Dr.
Durrani’s prior issues

163. According to Dr. Tayeb, surgical notes were not being done timely ar1d there are

some “clinical ramifications.” 1
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164. According to Dr. Tayeb, many times surgeries were performed in different areas
than the work up.
165. According to Dr. Tayeb, patients would not understand what Dr. Durrani was

doing

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166. According to Dr. Tayeb, Dr. Durrani loved to tell patients he would “iix” them.
167, According to Dr. Tayeb, Dr. Durrani told patients they would be paraiyzed-
168. According to Dr. Tayeb, Dr. Durrani exaggerated the diagnosis of lumbar

degenerative disc disease and stenosis.

169. According to Dr. Tayeb, ER patients with back pain were referred to 13r. Durrani.
170_ According to Dr. Tayeb, he heard about West Chester facing financial challenges
l'll. According to Dr. Tayeb, he is of the opinion Risk Managernent knew1about Dr.

Durrani issues.

172, According to Dr. Tayeb, Paula Hawk at a meeting with Dr. Durrani, Dr. Tayeb
and Brian Gibler (CEO UC Health said: “We work with Dr. Durrani. We ca1er to Dr.
Durrani, you know,-to point where we want to try to expedite and make everything easy

. . . . 1
for you guys to bring everything over here.” “He’s our partner in crime_” 1

173. According to Dr. Tayeb, there were a suspicious high number of spine surgeries_

174. According to Dr. Tayeb, Dr. Durrani bragged in the halls he was the top money
maker. 1

175. According to Dr. Tayeb, he’s aware of at least one time four (4) surgei'y suites

reserved at one time for Dr. Durrani. 1

176. According to Dr. Tayeb, West Chester advertised they were a premier spine
1
institute 1
177. According to Dr. Tayeb, there was a discussion about CAST and Wes:t Chester

codoping and Dr. Durrani wanted a “piece” of the action. '
178. According to Dr. Tayeb, there were 3100 a day fines for records over 30 days late.
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He has no idea if Dr. Durrani was tined.

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179. According to Dr. Tayeb, Dr. Durrani went an entire six months-no records

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180. According to Dr. Tayeb, there were also issues of too long of days in surgery.
181. According to Dr. Tayeb, Dr. Durrani had two heart attacks and would1get sick, go

to ER get fluids and keep operating

182. According to Dr. Tayeb, Dr. Tayeb believes Dr. Joseph had to have knowledge cf
the issues.

183. According to Dr. Tayeb, Dr. Durrani was super aggressive 1

184. According to Dr. Tayeb, seen in clinic to surgery scheduling was for 30 patients

20-30% for Dr. Durrani.

185. According to Dr. Tayeb, others for 30- one or two scheduled 1
186. According to Dr. Tayeb, Dr. Durrani would schedule surgeries without looking at

MRI or ordering one. 1

187. According to Dr. Tayeb pertaining to Dr. Durrani, “l think it was just everything
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that was walking needed to be cut on in some way, shape or form whether it was

necessary or not.”

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188. According tc Dr. Tayeb, Defendants held discussions with Dr. Durrani regarding

using 4th floor of hospital for CAST rehab. 1

189. According to Dr. Tayeb, lack of documentation effects patient care and West

Chester responsible 1

190. According to Dr. Tayeb, he heard the “paralyze” and “severe stenosis”: to patients

from Dr. Durrani a lot.
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l9l. Elizabeth Dean was employed at West Chester Medical Center before they
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opened the doors for business '

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192. Elizabeth Dean was one of the original patient access representatives at West
Chester Medical Center, which is now West Chester Hospital, beginning emp1loyment in
February 2008 to July 20l0. i

193. E]izabeth Dean had many responsibilities within the hospital including admitting
Dr. Durrani patients and completing financial reports for the-West Chester/U(§I Health
CFO, Mil<;e Jeffers.

194. Elizabeth Dean was also included in most corporate meetings where discussions
took place over the mass injections performed by Dr. Durrani in the testing area of the
hospital and she also was the actual patient access representative who registeried and
spoke with all the Durrani patients.

195. According to Elizabeth Dean, before Dr. Durrani began to practice at West
Chester l-Iospital, every area of the hospital was a “ghost town.”

196. Despite being a new hospital, it was still not picking up revenue as it expected

197. Elizabeth Dean was required to ask for all copays when the patients ari'ived, just
to “keep the numbers up” as much as possible 1

198. Elizabeth worked for five years as a medical biller with University Internal
Medicine Associates before coming to West Chester.

199. Elizabeth Dean knew West Chester/UC Health needed money based upon her

1
position and work at West Chester.

200. Elizabeth Dean reviewed the final numbers from CFO Mike Jef‘f`€rs eat|:h month
and also logged all payments received on the surgery cases including Dr. Durr;ani’S.
20l. West Chester/UC Health’s board and management gave staff raises based upon

the hospitals financial woes.

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202. West ChesterfUC Health fired the original CEO and corporate employees once
the hospital was bought by UC Health, and appointed an ER physician as the new CEO,

Kevin Joseph, MD.

203. Elizabeth Dean will testify that West Chester/UC Health decided to have West
Chester/UC Health ran by physicians

204. Vickie Scott worked at West Chester in the operating room during the time Dr.
Durrani also worked there.

205. OR Nurses, including Vickie Scott, went to the OR management, Elaine Kunko
and Denise Eva_ns and to R_isk Management, Jill Stegman, about Durrani’s illegal
activities, deviations in standard of care and violations of policies, bylaws, regulations
and rules. No action was taken They complained and reported the same isst1es Gerry
Goodman reported as previously described 1

206. Vickie Scott informed Elaine Kunko, OR assistant manager, about l3r1. Durrani

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making the records appear that Dr. Durrani was doing all the procedures whe1r they knew

it was Dr. Shanti. Kunko did nothing to stop the Shanti Shuffle. 1

207. Scott Rimer, circulating nurse at West Chester Medical Center, spoke up and
complained about Dr. Durrani at an OR meeting with OR staff and hospital
administration Not only was Scott Rimer ignored, the next day he had his supervisor
standing next to him watching his every move. He was fired soon after. l

208. ln summary, Gerry Goodman, Vickie Scott, Scott Rimer and other 011 staff

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members complaints to management included the number of Dr. Durrani surgeries he did
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a day and at a time; other surgeons performing surgeries for him without proper consent;

Dr. Shanti not having proper qualifications and provider numbers; BMP-2 was tracked by

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the hospital despite their denials of doing so; Dr. Durrani was verbally abusive to
everyone; anesthesiologists had to have patients “under” longer than they should have
been; off label use of BMP-2 was not covered by informed consent; Medtronic reps
would “up-sale” during surgeries; operative reports were not timely completed; Dr.
Durrani had no supervision by the hospital; keeping OR staff past the time it lwas safe.
209. Those Gerry Goodman, Vickie Scott, Scott Rimer and other OR staff 'members

complained to included Mitclr McCrate, lack Talbot, George Caralis, Kevin Joseph, MD,
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l\/lelissa Hemmer, Elaine Kunko, Denise Evans, Jill Stegman, and David Sch':wallie. All

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of these individuals are and/or were West Chester/UC Health management who
communicated these complaints to the board. Many like Kevin Joseph, MD,:President
were on the board.

210. West Chester/UC Health, its board and management, also knew of Dr. Durrani’s
sexual harassment of OR nurses and staff and ignored it.

21 l. Melissa Dowler witnessed Dr. Durrani offer a nurse in the OR 310,000 for oral
sex.

212. Dr. Durrani had an affair with his staff member, Beth Garrett, who drppped out of

1
nursing school, and like his relationship with a prior physician assistant at Cl';rildren’s

I-lospital, Jamie Moor it affected patient care. 1
213. Dr. Durrani, by his deposition testimony, admits he relies upon his own reading of
radiology. Of course, in this manner he would recommend a surgery the radiology did
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not support The radiology department at West Chester, the director of radiology and all

the radiologists privileged at West Chester from January l, 2009 to June l, 2013, knew

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Dr. Durrani was ignoring their radiology interpretations and did nothing to address the
issue and/or were ignored when they tried to address the issue.

214. Dr. Durrani, by his deposition testimony, admits he informs the pain doctor where
to inject medicine By doing so in the wrong place, he convinced many Plaintiffs to have

repeat surgeries 1
1

215. Melissa Garrett is forty-one (41) years old, and is a pharmaceutical salesperson in
Tampa, Florida. Melissa Garrett said her sister Elizabeth “Beth” Garrett who worked for
Durrani/CAST. 1

216. Melissa Garrett contacted counsel and stated that Beth Garrett was holding herself

out as a nurse, although Beth Garrett had failed out of nursing school.
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217. Melissa Garrett stated that Beth Garrett had been present during surgeries by Dr.

Durrani. 1
l
218. She stated that Beth Garrett had improperly assisted in surgical procddures

performed by Dr. Durrani without a nursing license

219. She stated that Beth Garrett had been improperly selling pharmaceut1cal products,
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without a license.

220. She stated that Beth Garrett was having an “affair” with Dr. Durrani,f and that she

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was concerned after Beth Garrett brought Dr. Durrani to her son’s elementary school

function and that the family “freaked out” in response to Beth Garrett and Dr. Durrani’s
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conduct during the school function.

221. Dr. Durrani prescribes a custom compound cream he sells to patients without
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informing them which he bills to their insurance and just sends to them.

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222. On information and belief Dr. Durrani owns some interest in this compound

cream in a physician owned distributorship (POD) arrangement

223. Shauna O’Neal followed Gerry Goodman to West Chester as Director of Nursing.
224. Shauna O’Neal came from Compass Clinical Consulting group in Cincinnati.
225. Shauna O’Neal wrote a letter to Tom Daskala_kis the COO of West Chester/UC

Health, Kevin Joseph, MD, and the CNO in which in which she reiterated what Gerry
Goodman reported regarding Dr. Durrani’s OR bookings and Dr. Shanti’s lack of
credentials and/or privileges She was ignored l

226. Thomas Kunkel, MD, anesthesiologist, complained to West Chester/UC Health’s

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board and management about Dr. Durrani’s high number of “add on” patients;. He was
ignored 1

227. According to Gerry Goodman, Dr. Durrani did add on patients at the 1ast minute
and after regular business hours so there was no one to preauthorize patients or question
Durrani in any way regarding the surgery.

228. Dr. Durrani always told Thomas_Kunkel, l\/lD the surgeries were emergencies

229. At times anesthesiology demanded the Chief of Surgery to intercede t_o judge

whether or not it was emergent.

230. Cindy Traficant was Periop Director before and after West Chester opened
231 . When UC Health took over, Julie Holt, the original CNO, quit.
232. Cindy Traficant became interim CNO.

233. Cindy Traficant had a reputation of tolerating “bad” physicians

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234. West Chester Surgery was nicknamed by staff at West Chester/UC He;alth the
“island of misfit” doctors because they took in and tolerated any doctor no matter their
ethics, including Dr. Durrani. 1

235. OR staff collectively reported Dr. Durrani issues to West Chester/UC i-lealth

board and management and their complaints were ignored.

236. Dr. Durrani would sometimes because he was running behind, cancelipart of a

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surgery or do only part of the surgery, thus requiring the patient to have anoth:er surgery,
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all without informing the patient the cancellation was because he was late. 1
237. Dr. Durrani performed 159 surgeries at West Chester Medical Center in 2009;
534 in 2010; 536 in 2011; 437 in 2012; and 157 in 2013 for a total of 1,823 surgeries
238. West Chester/UC Health admitted in a discovery answer in the Shell c:ase that for
the investigation, background check and the information used to decide to graint Dr.
Durrani privileges they relied upon in part: 1
o Dr. Durrani’s education.

o Dr. Durrani’s training and experience

» Copies of his licenses and DEA numbers

» Inquiry to the National Practitioners Data Bank.
o Evidence of required continued education.
239. West Chester/UC Health refuses to provide under a claim of privilegd all persons
they consulted prior to permitting Dr. Durrani privileges
240. Dr. Durrani total surgeries performed as answered in a discovery in l§'hell at West

Chester is as follows:

2009: 665

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2010; 1908 ' ,
2011: 1736 1
2012: 1102 (Through 9/30/12)
241- Dr. Durrani admitted as inpatient based as answered in a discovery answer in
Shell at West Chester is as foilows: 1
2009: 154
2010: 488
2011: 507 i
2012: 305 (Through 9/30/12) 1
242. Dr. Durrani admitted as outpatients based as answered in a discovery answer in
Sh_ell at West Chester is as follows:

2009: 13

2010: 41
201 1: 45
2012: 35 (Through 9/30/12)
243. West Chester/UC Health refuses to provide under a claim of privilege: their
investigation to determine Dr. Durrani’s fitness to practice medicine prior to permitting

Dr. Durrani privileges é

244. West Chester/UC Health refuses to provide under claim of privilegesi the
instances where Dr. Durrani did not follow proper medical documentation protocol,
policies and/or procedures at West Chester/UC Health.

245. West Chester/UC Health refuses to provide under claim of privileges;, the

complaints made by employees staff or patients related to Dr. Durrani. §

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246. Dr. Durrani oftentimes used PureGen when performing surgeries, if this case
involves PureGen, this is noted within this Plaintiffs specific factual allegations
addressed earlier in this Complaint.

247. PureGen has never been approved by the FDA for any human use. lt’s also now

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off the market for any use.

248. Doctor Atiq Abubakar Durrani used the product PureGen in his capacity as a
medical doctor in spines in the same manner Bl\/[P-2 was used.

249. West Chester/UC Health assisted Dr. Durrani in his use of PureGen at their
facility.

250. A representative from Alphatec Spine was in the operating room duririg medical

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procedures per the Nurslng lntraop Records when Dr. Durrani used PureGen.§

251. A representative from Alphatec Spine was in the operating room during medical

procedures even when the Nursing lntraop Records do not indicate so.

252. Dr_. Durrani was and is a paid consultant for Alphatec Spine.
253. Dr. Durrani has an ownership stake in the Alphatec Spine.
254. Dr. Durrani provided PureGen to patients who required surgery and th:ose who did

not require surgery without Plaintiffs knowledge and consent. §
255. Dr. Durrani performed unnecessary surgeries using PureGen on his patients
256. West Chester Hospital, UC Health and the Center for Advanced Spine
Technoiogies knowingly created false medical records, bills, and cost reports`that

included charges for unlicensed uses-of PureGen, which resulted in inflated optlier

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payments to be paid by the government and other insurers using the Plaintiffs;’ right to
make a claim; or in the alternative, causing a false cost reports l

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CHRONOLOGICAL FACTUAL ALLEGATIONS

257. On January 1, 2009, Durrani opened the Center for Advanced Spine Technologies
(CAST).
258. In February of 2009, Elizabeth Dean began working at West Chester where she

prepared reports for Mike Jeffers on Dr. Durrani’s billings She testified Mik:e Jeffers
was excited about what he read on the spreadsheets. i

259. In February of 2009, Mike Jeffers, Director of Finances joined West Chester (He
Stays until January 2012). The director of finance admitted West Chester/UC; Health
tracked Dr. Durrani’s financial numbers He admits Dr. Durrani helped themiin their
“time of need.” Dr. Durrani was the highest money generator. He knew Dr. "Durrani had
more than one surgical suite assigned at once. Bonuses were paid on finances

260. ln February of 2009, Carol King, Senior VP, joined West Chester. She ran it
before Dr. Joseph. She would stay until April 7, 2010. She was discharged and testified:
“They didn’t want me there anymore.” Carol King was the first person in charge of West

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Chester was fired and ordered by counsel not to disclose the reason. She Was: a patient
Safety first thinker. She did not explore the “run‘iors” about Dr. Durrani’S lea§ving
Children’s.

261. ` ln May of 2009, Medical Staff Off`ice Policies and Procedures were adopted by
West Chester (Peer Review)- Paula Hawk, Director of Medical Staff and Ed Crarie,

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President of Medical Staff. 1

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262. in May of 2009, Dr. Tim Kremchek, MD joined the staff of West Chester. He
remains He’s always been the Director of Orthopedics. The Chief of the Oithopedic

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department failed to do his job under the MEC bylaws as it related to Dr. Dui’rani. He
knew Dr. Durrani was a “sloppy” spine surgeon, yet did nothing.

263. In May of 2009, Elaine Kunko joined West Chester from the beginniiiig. She
remains She has held various jobs from daily operations coordinator of OR to Asst.
Nurse l\/Ianager. She’s now a coordinator in quality management She testified West
Chester knew about Dr. Durrani not completing records They knew Dr. Durrani would
claim surgeries were emergency They knew there was an issue with Dr. Dui'rani not

being in the room doing surgery on “his” patient Even the OR nurses knew they put up

with Dr. Durrani for money. West Chester tracked Dr. Durrani’s numbers 1

264. ln May of 2009, West Chester Hospital opened.

265. In May of 2009, Vickie Scott began working at West Chester l-lospital.

266. In May of 2009, Dr. Durrani was privileged at West Chester. 1

267. in June of 2009, AA`OS Advisory on Consent BMP-2 (Off-Label) wa;s published

West Chester/UC Health received it. 1

268. On June 6, 2009, Dr- Durrani performed a surgery on Jcssica Cochran at WCH.
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269. On July 3, 2009, Dr. Durrani performed a surgery on Diana Ashcraft at WCH.

270. On July 7, 2009, a warrant was served to Dr. Durrani for assault iof his wife.

West Chester/UC Health learned of this fact. a

271. The following surgery schedule factual allegations are to substituie
overwhelming number of surgeries Dr. Durrani was doing to the delight: of the
officers, management, Board of West Chester and Defendants. It’s to support all

claims

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272. This chronological sequence further fuli`ils the requirements under R.C.
2305.251 that Defendants knew of Dr. Durrani’s “pattern of incompeten:ce,”

“otherwise inappropriate behavior” and “fraudulent medical treatment’i’ and their

fraud.

273. 0n August 21, 2009, Dr. Durrani performed a surgery on Ryan Hensley at WCH.

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2?4. On August 28, 2009, Dr. Durrani performed a surgery on Frieda Aarion at WCH.

275. On August 28, 2009, Dr. Durrani performed a surgery on Kathryn H:owell at

wCH. 1

276. 0n September 1, 2009, Dr. Durrani performed a surgery on Jessica Ciochran at

WCH.

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277. On September 2, 2009, Jane Dresselhaus emailed Rohlf'ing and Hawk

regarding a complaint about Dr. Durrani not doing progress notes

278. On September 4, 2009, Dr. Durrani performed surgery on Irene Hyd¢:: at WCH
from 8 to 11. `i
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279. On Septernber 4, 2009, Dr. Durrani performed surgery on Caiden Bailey from 11
to 12 at WCH. 1
280. On September 4, 2009, Dr. Durrani performed a surgery from 12 to 1 cat WCH.
281'. On September 4, 2009, Dr. Durrani performed a surgery from 1 to 2 ai WCH.
282. On September 4, 2009, Dr. Durrani performed a surgery from 2 to 5 ai WCH.
283. On September 7, 2009, Rohlt'ing sent an email to Durrani - “Dr. ]?urrani -

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We have not been seeing progress notes on your patients and the patient below is
one example. Obviously this is a JCAHO and 3rd party requirement of many

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payors. Please help us avoid the exposure of these violations Thank you` - Ron.”

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284. On September 8, 2009, Ron Rohlfing sent an email to Dr. Durraiii-

Complaint- “We have not been seeing progress notes on your patients...”

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285. On September 8, 2009, Dr. Durrani performed a surgery on Evelyn Helton from

8 to 11:29 at WCH. `|

286. On September 8, 2009, Dr. Durrani performed surgery on Lonnie Wheeler, from

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1:00 to 3:59 at WCH. i

287. On September 8, 2009, Dr. Durrani performed surgery at WCH from 14 to 6.

288. On September 14, 2009, Dr. Durrani performed a surgery from 8:30 tp 10 at
WCH.

289. On September 14, 2009, Dr. Durrani performed a surgery on Lisa Hal_ll from 9:30
to 3 at WCH. l

290. On September 14, 2009, Dr. Durrani performed a surgery from 3 to 5115 at WCH.

291. On September 18, 2009, Dr. Durrani performed a surgery from 8:30 ti) 9:30 at
WCH. g

292. On September 18, 2009, Dr. Durrani performed a surgery from 9 to 10 at WCH.

293. On September 18, 2009, Dr. Durrani performed a surgery on Nicole liaker from

10t06 at WCH. `

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294. On September 21, 2009, Dr. Durrani performed surgery on Dannie Mae Owens

from 9 to l at West Chester. 1
295. On September 21, 2009, Dr. Durrani performed surgery from 3 to 5:15 at WCH.
296. On September 25, 2009, Dr. Durrani performed surgery from 7:30 to 8:30 at

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WCH. 1

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297.
WCH.
298_
10:15 to 12:15 at WCH.
299. 1
WCH.
300.
WCH.
301.
10:30 to 12:30 at WCH.
302.
from 12:30 to 3:17 at WCH.
303.
304.

10:30 to 1 at WCH.

305. On September 30, 2009,
WCH.

306. On September 30, 2009,

307. On October 2, 2009, Dr.

308. On October 2, 2009, Dr.

WCH from 11:30-1:30.

309.

On September 25, 2009,

On September 25, 2009,

On September 25, 2009,

On September 28, 2009,

On September 28, 2009,

On September 28, 2009,

On September 28, 2009,

On September 30, 2009,

On October 2, 2009, Dr.

Dr. Durrani performed surgery from 8:30 to 110:15 at

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Dr. Dturani performed surgery on Judy Yoiing
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from
Dr. Durrani performed surgery from 12:15 from 6:45 at
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Dr. Durrani performed a surgery from 8:30 to 10:30 at
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Dr. Durrani performed surgery on Stephanie Jobe from

Dr. Durrani performed surgery on Darinie Mae Owens
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Dr. Durrani performed surgery from 3:30 to 5 at WCH.

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Dr. Durrani performed surgery on Jenny Grimm from

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Dr. Durrani performed surgery from 8:30 to 10:30 at
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Dr. Durrani performed a surgery from l to 3 iit WCH.

Durrani performed surgery from 8:30-11:30 at WCH.

Durrani performed surgery on Christine Geijalds at

Durrani performed surgery at WCH from 1:30-3:15.

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310. On October 2, 2009, Dr. Durrani performed surgery on Margaret Radenheimer

ai WCH from 3:15-5`;15.

311. On October 2, 2009, Dr. Durrani performed surgery at WCH from 2:30-3:45.
312. On October 5, 2009, Dr. Durrani performed surgery at WCH from 8:30-11:00.
313. On October 5, 2009, Dr. l)urrani performed surgery at WCH from 11':00~1:00.
314. On October 5, 2009, Dr. Durrani performed surgery on Lisa Reynolds Surgery at

WCH from 1:00-2:30. 1

315. On October 5, 2009, Dr. Durrani performed surgery at WCH from 3:45-5:00.
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316. On October 5, 2009, Elaine Kunko emailed Marc Feldman, Caroll King,
Cyndi Trafiicant, Ann Simpson- Informing Dr. Durrani is buying produ:icts off

contract~ Orthovita, Trans One, Vitoss, Vitagel, AxiaLlF, Interventional: Spine,
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Perpose, X Close, XZM.
317. On October 9, 2009, Dr. Durrani performed surgery from 8:30-11:00 iii WCH.
318, On October 9, 2009, Dr. Durrani performed surgery on, Michael Watkins at

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WCH from 11:00-1:30.
319. On October 9, 2009, Dr. Durrani performed surgery on Rebecca Applegate at
WCH from 1:30-3:00_

320. on oeieber 9, 2009, Dr. Durrani performed surgery et WCH rrem 3;0§0_5:00.

321. On October 12, 2009, Dr. Durrani performed surgery at WCH from 8:30-1 1 :00.
322. On October 12, 2009, Dr. Durrani performed surgery on Ollie Deaton at WCH

from 11:00-2:30. 1

323. On October 12, 2009, Dr. Durrani performed surgery at WCH from 2:1\30~3:30.

324. On October 12, 2009, Dr. Durrani performed surgery on Irene Hyde at WCH.
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325. On October 21, 2009, Dr. Durrani performed surgery at WCH from 8;30-11:30.

326. On October 21, 2009, Dr. Durrani performed surgery on Jennifer Bailinger at
WCH from 11130-] :00.

327. orr oorober 21, 2009, Dr. Dorrerrr performed surgery er WCH from 1§00-3;30.

328. On October 26, 2009, Paula Hawk sent an email and copied to Ro_n Rohliing,

Gina Witko and Cyndi Traf{icant regarding a complaint that Dr. Durraiji did not

timely discharge patients.

329. On October 28, 2009, Dr. Durrani performed surgery on Lynn Haley|at WCH

from 8:30-12:30.

330. On October 28, 2009, Dr. Durrani performed surgery at WCH from 2::00~3:00.
331. On October 28, 2009, Dr. Durrani performed surgery on Debbie Rodriguez at

WCH from 2:00-3:00. l

332. On October 30, 2009, Dr. Durrani performed surgery on Clarence Phillips at

WCH frorrr 8:30-11;30. ‘

333. On October 30, 2009, Dr. Durrani performed surgery on Michael Cook at WCH

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from 11:30-1:30. 5

334. On October 30, 2009, Dr. Durrani performed a surgery at WCH from il :30-] 1130.

335. On November 2, 2009, Dr. Durrani performed surgery on Amanda Fgranks at
WCH. 1`

336. On November 6, 2009, Dr. Durrani performed surgery on Valarie Ke:pp at WCH.

337. On November 6, 2009, Dr. Durrani performed surgery at WCH from :12:15-3:]5.

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338. On November 6, 2009, Dr. Durrani performed surgery at WCH from 8:15-5'.30.

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339. 011 November 6, 2009, Dr. Durrani performed surgery on Priscilla Wittmeyer at

WCH from 3:15-5:30.

340. On November 9, 2009, Dr. Durrani performed surgery at WCH from :8:30-10:30.

341. On November 6 2009, Dr Durrani performed surgery at WCH from 110:30-12:30.
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342. On November 9, 2009, Dr. Durrani performed surgery on Lonnie Wheeler at

WCH from 12:30-2:30.

343. On November 6, 2009, Dr. Durrani performed surgery at WCH from 2230-5:12.

344. On November l l, 2009, Dr. Durrani performed surgery on Tammy Hughes at
WCH.

345. On November 13, 2009, Dr. Durrani performed surgery on Joseph Baumgardner
at WCH. n i

346. On November 13, 2009, Dr. Durrani performed surgery on Rhonda Scott,
Rhonda at WCH.

347. On November 18, 2009, Dr. Durrani performed surgery on Connie Ellington, at

WCH from 8:30-2130_

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348. On November 18, 2009, Dr. Durrani performed surgery at WCH from 2:30-5:10.
349. On November 20, 2009, Dr. Durrani performed surgery at WCH on (Fathy Beil.

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350. On November 23, 2009, Dr. Durrani performed surgery at WCH on Kevin Elfers

from 8:30-11:30.

351. n On November 23, 2009, Dr. Durrani performed surgery at WCH from 11:30~2:30.

352. 011 November 23, 2009, Dr. Durrani performed surgery at WCH from 2:30-5:00.
353. On November 23, 2009, Dr. Durrani performed surgery on Sherri Spangenberg

at WCH.

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354. On November 25, 2009, Dr. Durrani performed surgery on Christina Brashear at
WCH.

355. On November 30, 2009, Dr. Durrani performed Surgery at WCH from 8:30-2130.

356. On November 30, 2009, Dr. Durrani performed surgery on Kathieen?Bushelman

at WCH from 2130-5:00.

357. On December 2, 2009, Dr. Durrani performed Surgery on Lyndsey N;Iiddendorf
at WCH 8:30-10:30. i
358. On December 2, 2009, Dr. Durrani performed surgery at WCH from :10:30-12:50.
359. On December 2, 2009, Dr. Durrani performed surgery at WCH from |1:00-4:00.
360. On December 2, 2009, Dr. Durrani performed surgery at WCH from i4:00-5:00.
361. On December 4, 2009, Dr. Durrani performed surgery on Melissa Br;aucher at
WCH.
362. On December 4, 2009, Dr. Durrani performed surgery on Samantha-Hamilton at
WCH.
363. _On December 7, 2009, Dr. Durrani performed surgery on Joi Crowe; at WCH.
364. On December 9, 2009, Dr. Durrani performed surgery on Carol Puninnell at
r

WCH. j

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365. On December 20, 2009, Dr. Durrani performed surgery on Kirstin Weisman at

r
WCH.

366. On December 20, 2009, Dr. Durrani performed surgery on Kelly Hennessy at
WCH. r
367. v On December 28, 2009, Dr. Durrani performed surgery on Lindsey Bray at WCH

368. In 2009, West Chester’s Net Loss was $]3,3]9,102.00.

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369. In 2009, there were 159 total West Chester Durrani Surgeries fed the year.

370. In 2009, Lesley Gilbertson, MD left West Chester. §

371. On January 1, 2010, Dr. Tayeb begins working at CAST. t

372. On January 1, 2010, Dr. Durrani performed surgery on Kerry McNeal at WCH.

373. On January 4, 2010, Dr. Durrani performed surgery on Edward Thiessen at
WCH. ` j

374. On January 6, 2010, Dr. Durrani performed surgery at WCH from 3:!30-10:30.

375. On January 6, 2010, Dr. Durrani performed surgery at WCH from 10:30-2:00.

376- On January 6, 2010, Dr. Durrani performed surgery on Edythe Bishop at WCH

from 2:00-5:30.

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377. On January 6, 2010, Dr. Durrani performed surgery at WCH from 5:§30-8:30.

378. On January 6, 2010, Dr. Durrani performed surgery on Chelsea Johnson at
WCH.

379. On January 11, 2010, Dr. Durrani performed surgery at WCH from 8:00-9:00.

380. On January 1 1, 2010, Dr. Durrani performed surgery on Ollie Deato%n at WCH
9:00-1:00.

381. . On January 11, 2010, Dr. Durrani performed surgery on Todd Ray a_t WCH 3:30-
5;00.

382. On January 13, 2010, Dr. Durrani performed surgery at WCH from l8:0(1.-1 1100.

383. On January 13, 2010, Dr. Durrani performed surgery at WCH from L11:00-1:29.

384. On January 13, 2010, Dr. Durrani performed surgery on Valarie dep at WCH

from 1:30-3:28. l

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385. On January 13, 201 (), Dr. Durrani performed surgery on Christine Gdldstein at
WCH from 3:30-5:30.

386. On January 13, 2010, Dr. Durrani performed surgery 0n Jenny Grimm at WCH
from 8:00-11:00. l

387. On January 18, 2010, Dr. Durrani performed surgery at WOH from 11:00-2:00.

388. On January 18, 2010, Dr. Durrani performed surgery on Melissa Habermehl at

WCH from 3:30-5:00.

389. On January 18, 2010, Dr. Durrani performed surgery at WCH from 3:\:30-5:00.
390. On January 20, 2010, Dr. Durrani performed surgery on Diane Bess alt WCH.
391. On January 22, 2010, Dr. Durrani performed surgery at WCH from 8r00-10:00.
392. On January 22, 2010, Dr. Durrani performed surgery on Phyllis Bechtold at

WCH from 10:00-1:00.
393. On January 22, 2010, Dr. Durrani performed surgery on Ellington, Robert at
WCH from 1100-3:00.
394. On January 22, 2010, Dr. Durrani performed surgery at WCH from 3200-5:00.
395. On January 25, 2010, Dr. Durrani performed surgery on Shannon Koehler at
WCH from 8:00-1:00. l

396. On January 25, 2010, Dr. Durrani performed surgery at WCH from 1?:00-5:00.

397. On January 27, 2010, Dr. Durrani performed surgery at WCH from 8|:00-12:00_
398. On January 27, 2010, Dr. Durrani performed surgery on Tonia Mcheary at

12;00-2;30. [

399. On January 27, 2010, Dr. Durrani performed surgery at WCH from 2::30-5:00.

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`400. 011 January 29, 2010, Dr. Durrani performed surgery on Jason Rileyat WCH
8:00-10:55. 1
401. On January 29, 2010, Dr. Durrani performed surgery at WCH from 111:00-1:00.
402. On January 29, 2010, Dr. Durrani performed surgery at WCH from 1;:00-2:59.
403. On January 29, 2010, Dr. Durrani performed Surgery at WCH from 3100-5:00.
404. On January 29, 2010, Dr. Durrani performed surgery on Tim Osborrl at WCH.
405. On February 5, 2010, Dr. Durrani performed surgery on Andrew Ca;rr at WCH
8:00-12:00. :
406. On February 5, 2010, Dr. Durrani performed surgery at WCH from 1!2:00-3:00.
407. 011 February 5, 2010, Dr. Durrani performed surgery at WCH from 1300-4:30.
408. On February 8, 2010, Dr. Durrani performed surgery at WCH from 8:00»11:00.
409. On February 8, 2010, Dr. Durrani performed surgery on Rhonda Sct:)tt at WCH

from-1 1 :00`1 ;30. '
410. 0r1 February 8, 2010, Dr. Durrani performed surgery at WCH from 1:30-3:30.

411. 0r1 February 8, 2010, Dr. Durrani performed surgery on Sherri Spangenberg at

WCH 3:30~5:30. '

412. 011 February 9, 2010, Dr. Durrani performed surgery on David Con,:ger at WCH.

413. ~ V-"On February 17, 2010, Dr. Durrani performed surgery at WCH from; 8:00-10:00.

414. On February 17, 2010, Dr. Durrani performed surgery on Brian Thicn at WCI-I
8:00-1:00.

415. On February 17, 201(), Dr. Durrani performed surgery on Loretta H!on at WCH
1:00»5:00.

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416. 011 February 22, 2010, Dr. Durrani performed surgery on Terry Beil at WCH.

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417. 011 February 22, 2010, Dr. Durrani performed surgery at WCH from 8:00~12:00.

418. 011 February 22, 2010, Dr, Durrani performed surgery 011 Rhonda Mpins at

WCH 12;00-2;50. ‘

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419. 011 February 22, 2010, Dr. Durrani performed surgery at WCH from 3:00-5:00.

420. 011 February 26, 2010, Dr. Durrani performed surgery on Kenneth Pfetsch at

WCH 8:00-10:00.

421. On February 26, 2010, D_r.- Durrani performed surgery at WCH from1i0:00-12:30.

422. 0n February 26, 2010, Dr. Durrani performed surgery on Jenna Mc0all at WCH
12:30-3:30. l

423. ` 011 February 26, 2010, Dr. Durrani performed surgery at WCH from 3:30-5:30.

424. 011 Mareh 5, 201 0, Dr. Durrani performed surgery 011 Ryan Hensley at WCH.

425. On March 5, 2010, Elaine Kunko sent an email to Debbie Blimlin:e and

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copied to Denise Evans. Complaint- Dr. Durrani not marking a surgical site before

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bringing the patient into OR.

426. 011 Mareh 7, 2010, Dr. Durrani performed surgery 011 Debbie Rodriguez at
WCH. ,

427. 011 March 8, 2010, Dr. Durrani performed surgery on Wendy Oberlrin'der at
WCH. ` §

428. 011 March 8, 2010, Dr. Durrani performed surgery at WCH from 8:30!-1 l :00.

429. 011 Mareh 8, 2010, Dr. Durrani performed surgery at WCH from 11:00-3:00.

430. 011 Mareh 8, 2010, Dr. Durrani performed surgery on Tonya Chismain at WCH

3;00-5;00. '

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431. 011 March 10, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:00.

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432. 011 March 10, 2010, Dr. Durrani performed surgery on Penny Brack:ett at WCH
11:00-1:00. 1

433. 0n March 10, 2010, Dr. Durrani performed surgery at WCH from 1:({)0-3:00.

434. _ 0n March lO, 2010, Dr. Durrani performed surgery at WCH from 3:(:)0-5:00.

435. 0n March 10, 2010, Dr. Durrani performed surgery on Amanda Fra;nks at WCH.

436. 0n March 12, 2010, Dr. Durrani performed surgery on Wayne Hatf“l:eld at WCH
8:00-10:30.

437. On Mareh 12, 2010, Dr. Durrani performed surgery 011 Brenda Shell at WCH.

43 8. 011 March 12, 2010, Dr. Durrani performed surgery al WCH from 1:00-3:00.

439. on March 12, 2010, Dr. Durrani performed surgery at WCH from 3:`00-5;00.

440. 011 March 17, 2010, Dr. Durrani performed surgery 011 Kimberly Underwood at
WCH.

441. 011 March 19, 2010, Dr. Durrani performed surgery at WCH from 7:_30-8:00.

442. 011 March 19, 2010, Dr. Durrani performed surgery 011 Robin Schiller at WCH
8:00-10:59.

443. 0n March 19, 2010, Dr. Durrani performed surgery at WCH from 1 1100-1 :00.

444. 011 March 19, 2010, Dr. Durrani performed surgery on Valerie Kop`p at WCH
1:00-3:00.

445. 011 March 22, 2010, Dr. Durrani performed surgery at WCH from 8100-10:00.

446. 011 March 22, 2010, Dr. Durrani performed surgery on Deena Borchers at WCH
10:00-1:00. 1

447. 0n March 22, 2010, Dr. Durrani performed surgery at WCH from 15:00-3:00.

448. 011 March 22, 2010, Dr. Durrani performed surgery at WCH from 3100‘5:00.

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449.

0n March 31, 2010, Dr. Durrani performed surgery on Sherri Lynn Allen at

WCH 3:00-10;00. 1

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WCH.

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455.

11:00.

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457.

4:00.

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On Maroh 31, 2010, Dr. Durrani performed surgery at WCH from 10:100-12:00.
011 March 31, 2010, Dr. Durrani performed surgery at WCH from 12:00-3:00.
On March 31, 2010, Dr. Durrani performed surgery at WCH from 3100-6:41.

On Apn`l 5, 2010, Dr. Durrani performed surgery on Mike Sand Surgery at

On April 7, 2010, Carol King, Senior VP was fired.

0n April 7, 2010, Dr. Durrani performed surgery on Judy Beck at W:CI-l 8200-

On April 7, 2010, Dr. Durrani performed surgery at WCH from 11:0(1-1:30.

0n April 7, 2010, Dr. Durrani performed surgery on Keith Young at!WCH 1:30-

011 April 7, 2010, Dr. Durrani performed Surgery at WCH from 4:00-:5:00.

On April 8, 2010, Kevin Joseph, M.D. becomes President of West; Chester.

He also is on the ER staff there. He’s also a Senior VP of UC Health. He remains in

these positions. Per his deposition: T he CEO claims to know nothing about surgery

operations is his hospital. The CEO claims a hospital must protect patients from

unnecessary harm “as much as they can.” The CEO claims they don’t liave

oversight of surgeons doing what all plaintiffs claim Durrani was doing l(despite

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what his bylaws state). The CEO denies the hospital has any responsibility if Dr.

Durrani did an unnecessary surgery. The CEO, despite his finance offl:ce tracking

it, denies any knowledge of BMP-Z use. The CEO, denies knowing abor:rt any

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complaints about Dr. Durrani. The CEO admits they benefited fruancia1ly from Dr.

Durrani, including his own pay.

460. On April 19, 2010, Dr. Durrani performed surgery at WCH from 7:30-10:00.

461. 0n April 19, 2010, Dr. Durrani performed surgery on Jennifer Hick1zy at WCH
10:00-1:30. d :

462. 0n April 19, 2010, Dr. Durrani performed surgery on Michael Cook_ at WCH
1:30-5:00. 1

463. 0n Apn`l 23, 2010, Dr. Durrani performed surgery at WCH from 8:30-10:00.

464. 011 Apr`1123, 2010, Dr. Durrani performed surgery at WCH from 9:00-10:00.

465_ On April 23, 2010, Dr. Durrani performed surgery at WCH from 10:1)0-12:30.

466. 011 Apn`l 23, 2010, Dr. Durrani performed surgery on Rhouda Mainis at WCH
12:30-3:30.

467. 0n April 26, 201 O, Dr. Durrani performed surgery at WCH from 8:30-l 1:00.

468. 011 April 26, 2010, Dr. Durrani performed surgery at WCH from 11:00-2:00.

469. - 0n April 26, 2010, Dr. Durrani performed surgery on Ryan Miller af WCH 2:00-
5:00.

470. 011 April 29, 2010, Dr. Durrani performed surgery on Debbie Rodrigiuez at
WCH.

471. On May 3, 2010, Dr. Durrani performed surgery at WCH from 8:00-10:00.

472. 011 May 3, 2010, Dr. Durrani performed surgery on Sandra Radeke |at WCH
10:00-12:30. 1

473. 011 May 3, 2010, Dr. Durrani performed surgery at WCH from 12:305-3:36.

474. On May 7, 2010, Dr. Durrani performed surgery at WCH from 8:00-10:30.
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475. 0n May 7, 2010, Dr. Durrani performed surgery at WCH from 10:30-11:00.

476. On May 7, 2010, Dr. Durrani performed surgery orr Tamala Lovette at WCH
1:00-3:00.

477. On May 7, 2010, Dr- Durrani performed surgery at WCH from 3:00-15;:00.

478. d 0n May 9, 2010, Dr. Durrani performed surgery on Douglas Drafts at WCH.

479- On May 10, 2010, Dr. Durrani performed surgery on Sharon Brice at WCH.

480. 0n May 12, 2010, Dr. Durrani performed surgery at WCH from 8:00-111:30.

481. 0n May 12, 2010, Dr. Durrani performed surgery at WCH from 11:30-2:00.

482. 0n May 12, 2010, Dr. Durrani performed surgery on Carol Pummel1 at WCH
2100~4:00. - *

483. On May 12, 2010, Dr. Durrani performed surgery at WCH from 4:00;5:00.

484. 0n May 17, 2010, Dr. Durrani performed surgery at WCH from 7:30::-8:30.

485. 011 May 17, 2010, Dr. Durrani performed surgery on Doug Callahan'f at WCH
8:00-10:30.

486. 0n May 17, 2010, Dr. Durrani performed surgery at WCH from 10:30-1:00.

487. 0n May 17, 2010, Dr, Durrani performed surgery on Sharon Brice a;t WCI-I 1:00-
3:00. `

488. On May 17, 2010, Dr. Durrani performed surgery at WCH from 3:00;-5:00.

489. On May 19, 2010, Dr. Durrani performed surgery 011 Jennifer Bookfnan at WCH
8:00-10:00. 1

490. 011 May 19, 2010, Dr. Durrani performed surgery at WCH from 10:(10-12:30.

491. 0n May 19, 201 O, Dr. Durrani performed surgery on Douglas Draftis at WCH

1
12:30-3 :00. 1

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492. On May 19, 2010, Dr. Durrani performed surgery at WCH from 3:00-5:00.

493. 0n May 20, 2011, Dr. Durrani performed surgery on Dawn Dunklin at WCH.

494. 011 May 24, 2010, Dr. Durrani performed surgery at WCH from 8:00-10:00.

495. 0n May 24, 2010, Dr. Durrani performed surgery at WCH from 10:00-1:00.

496. 011 May 24, 2010, Dr. Durrani performed surgery at WCH from 1:00-3:00_

497. 0n May 24, 2010, Dr. Durrani performed surgery on Kelly Hennessy at WCH.

498. On May 24, 2010, Dr. Durrani performed surgery 011 Neil Favaron at WCH 3:00-
5:00.

499. On May 24, 2010, Dr. Durrani performed surgery at WCH from 4:00-5:00.

500. 0n May 24, 2010, Dr. Durrani performed surgery at WCH from 5:00-6:00.

501. 0n May 30, 2010, Dr. Durrani performed surgery on Wayne Hattield at WCH.

502. 011 June, 2010, Dr. Durrani performed surgery on Deena Borchers at WCH.

503. 0n June, 2010, Dr. Durrani performed surgery on Kerry McNeal at WCH.

504. 011 June 2, 2010, Dr. Durrani performed surgery on Elaine Waxlcr at WCH 8:00-
10:30.

505. 0n June 2, 2010, Dr. Durrani performed surgery at WCH from 10:30-12:30.

506. On June 2, 2010, Dr. Durrani performed surgery on Tan‘rmie Little at WCH
12:30-3:00.

507. On June 2, 2010, Dr. Durrani performed surgery at WCH from 3200-5:00.

508. 0n June 2, 2010, Dr. Durrani performed surgery at WCH from 4:00-5:00.

509. On June 2, 2010, there was an email between Blimline and Joseph-“Just

Wanted to let you know that Dr. Durrani admitted two patients today and deemed

them emergency procedures for tomorrow, Saturday 213110. We have recruited

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extra people to do back up call for the OR as this will tie the OR call team up from

approximately 0800-1500. l have consulted with Rosemary ster who is aware of

the plan.”

510. OnJune14, 2010, Dr
8:00-12:00.

511. 0nJu11e14,2010,Dr

512_ 011 June 14,2010,Dr
WCH 2:00-2:30.

513. 0nJune16,2010,Dr

514. OnJurre16,2010,Dr
4:00-5:00.

515. 0nJune16,2010,Dr

516. 0nJune18,2010,Dr
8:00-10:27.

517. 0n June 18, 2010, Dr

513. 0n June 23, 2010, Dr

519. orr June 23, 2010, Dr
1:30.

520. 011 June 23, 2010, Dr
4:30.

521. 0n June 25, 2010, Dr

522. 011 June 25, 2010, Dr

. Durrani performed surgery on Danielle Reed at WCH

. Durrani performed surgery at WCH from 12:00-2:00.

. Durrani performed surgery on Samantha Hamilton at

. Durrani performed surgery at WCH from 7:30~11:30.

. Durrani performed surgery on Kaitlyn Boggs at WCH

. Durrani performed surgery at WCH from 4:00-5:00.

. Durrani performed surgery on Patrick Dugan at WCH

. Durrani performed surgery at WCH from 10:30-12:48.

. Durrani performed surgery at WCH from 8:00-11:00.

. Durrani performed surgery on Lynn Haley at WCH 11:00-

_ Durrani performed surgery on Karen Leger at WCH 1:30-

_ Durrani performed surgery on Gary Coots at WCH.

. Durrani performed surgery at WCH from 8:00-11:30.

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523. 0n June 25, 2010, Dr. Durrani performed surgery on Elsa Ieraci at WCH 11:30-
2:00. n

524. 011 June 25, 2010, Dr. Durrani performed surgery at WCH from 2:00-4:30.

525. 011 June 25, 2010, Dr. Durrani performed surgery 011 Chelsea Hortman at WCH.

526. On June 30, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:00.

527. 0n June 30, 2010, Dr. Durrani performed surgery at WCH from 12:00-2:00.

528. On june 30, 2010, Dr. Durrani performed surgery at WCH from 2:00-3:30.

529. On June 30, 2010, Dr. Durrani performed surgery on David Snider at WCH 3:30-
7:13.

530. In July 2010, Elizabeth Dean left her employment at West Chester.

531. 0n July 5, 2010, Dr. Durrani performed surgery at WCH from 8:00-10:00.

532. On July 5, 2010, Dr. Durrani performed surgery at WCH from 10:00-1:00.

533. 011Ju1y 5, 2010, Dr. Durrani performed surgery at WCH from 1:00-4:00.

534. 0n July 5, 2010, Dr. Durrani performed surgery on Tammy Hughes at WCH
4:00-6:30.

535. 0n July 14, 2010, Dr. Durrani performed surgery at WCH from 11.:00-2:00.

536. 011 July 14, 2010, Dr. Durrani performed surgery at WCH from 2:00-3:30.

537. 0n July 14, 2010, Dr. Durrani performed surgery on Carol Pummell at WCH
3:30-5:00.

538. 011 July 14, 2010, Dr. Durrani performed surgery at WCH from 5:00-7:00.

539. 0n July 17, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:00_

540. 011 July 17, 2010, Dr. Durrani performed surgery on Mark McMurren at WCH

1 1:00-2 :00.

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541. 011 July 19, 2010, Dr. Durrani performed surgery 011 Mike Sander at WCH.

542. 0n July 19, 2010, Dr. Durrani performed surgery at WCH from 8:00-1 1:00.

543. 0n July 19, 2010, Dr. Durrani performed surgery 011 Sandra Dennis at WCH
11:00-2:00.

544. 0n July 19, 2010, Dr. Durrani performed surgery on Robert Houghton at WCH
2:00-5:00.

545. On July 19, 2010, Dr. Durrani performed surgery on Troy Wilder at WCH 5:00-
6:00. n

546. On J u1y 19, 2010, Dr. Durrani performed surgery at WCH from 6:00-7:00.

547. On July 30, 2010, Dr. Durrani performed surgery at WCH from 8:30-10:00.

548. 011 July 30, 2010, Dr. Durrani performed surgery on Arlene Fait at WCH 10:00-
12:30.

549. 0n July 30, 2010, Dr. Durrani performed surgery on Margaret Radenheimer at
WCH 2:30-5:02.

550. 0n July 2, 2010, there was an email from Joseph to Blimline- “Thanks for

the heads up and keeping me in the loop. Do you know diagnosis and what makes
them emergent operations? We should certainly keep track of these.

551. On July 2, 2010, there was an email from Blimline to Joseph-“HIPAA-
Diagnosis Lumbar DDD, Lumbar Spinal Stenosis, and Procedure: Direct Lateral
Interbody Fusion, L3-L4, posterior spinal fusion, L3-4, L4-L5 Laminectomy. I do
not know the symptoms these patients are having that could possibly make them
emergent. l do know he wanted to have the day scheduled tomorrow and We are not

ready to grant that at this time, Yesterday in a meeting it was determined by

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George, Cyndi, and Rosemary that all of the costs would be considered before
granting him Saturday time and this was communicated to his office yesterday when
they tried to schedule this Saturday. I know there are other surgeons who have
wanted Saturday time. My concern is if We offer it to Dr. Durrani for a few
Saturdays and cover it with all staff (including anesthesia) on OT then other Drs.
will also expect this to happen for them.”

552. On July 2, 2010, there was an email from Joseph to Blimline- “Thank you for
the info. I called Durrani to discuss urgency and explain significant cost
implications, logistical implications with call team and also lifestyle implications
with call team. Thank you for making me aware.”

553. On July 2, 2010, there was an email from Blimline to
Joseph/Trafiicant/Rosemary Keiser- “I appreciate your follow up. I have a
correction to make about the earlier information. The patients were admitted on
Wed and they were told their cases would be on Saturday. This came from
(Kathy/Melissa H.)

554. On August 2010, Gerry Goodman begins as Interim Director of Nursing in

Operating Room at West Chester.

555. 011 August 2, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:30.

556. On August 2, 2010, Dr. Durrani performed surgery at WCH from 11:30-2:00.

557. 0n August 2, 2010, Dr. Durrani performed surgery on Cindy Bartlett at WCH
2:00-4:30.

558. On August 2, 2010, Dr. Durrani performed surgery at WCH from 5:00-6:26.

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559. On August 6, 2010 Brian Isaaes, Medical Record Transcriptionist, informs
law firm Santen & Hughes that Dr. Durrani privileges are suspended until his
charts are completed (West Chester). Brian Isaacs confirms this suspension

through at least October 5, 2010.

560. On August 11, 2010, Dr. Durrani performed surgery 011 Christina Brashear at
WCH.

561. 011 August 11, 2010, Dr. Durrani performed surgery on Jackie Couch at WCH.

562. 011 August 13, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:00.

563. 0n August 13, 2010, Dr. Durrani performed surgery on Richard Stani'leld, at

WCH 11:00-2:00.

564. 0n August 13, 2010, Dr. Durrani performed surgery at WCH from 2:00-4:00.

565. 011 August 13, 2010, Dr. Durrani performed surgery at WCH from 4:00-6:30.

566. On August 13, 2010, Dr. Durrani performed surgery on Connie Underwood at
WCH.

567. 0n August 16, 2010, Dr. Durrani performed surgery on Tonia McQueary at

_ WCH.

568. On August 23, 2010, there was an email from Gerry Goodman to Yvette
Kauffrnan, Cyndi Trafficant, Debbie Blimline- “Durrani wants it a full day’s
schedule. States he has already booked 5 cases (which of course, he has not). He
wants either to proceed with Monday cases or schedule them for the Saturday
before. Your view?”

569. 0n August 23, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:00.

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570. 0n August 23, 2010, Dr. Durrani performed surgery on Gerald Botner at WCH
11:00-2:00-

571. 0n August 23, 2010, Dr. Durrani performed surgery at WCH from 2:00-3:30.

572. 011 August 23, 2010, Dr. Durrani performed surgery on Robert Houghton at
WCH 3:30-5:16.

573. On August 25, 201 O, Dr. Durrani performed surgery at WCH from 8:00-11:00.

574. On August 25, 2010, Dr. Durrani performed surgery 011 Ross, Ca_rol at WCH
11:00-1:00.

575. 0n August 25, 2010, Dr. Durrani performed surgery at WCH from 1:00-3:00.

576. On August 25, 2010, Dr. Durrani performed surgery on Ronald Rowley at WCH
3:00-4:30.

577. 011 August 27, 2010, Dr. Durrani performed surgery at WCH Hom 8;00-11:00.

578. 0n August 22, 2010, Dr. Durrani performed surgery on Rebekah Brady at WCH
1 1 :00-1 :30.

579. On August 27, 2010, Dr. Durrani performed surgery at WCH from 1:00-2:00.

580. 0n August 27, 2010, Dr. Durrani performed surgery at WCH from 4:00-6:30.

581. 011 August 27, 2010, Dr. Durrani performed surgery at WCH from 4:00-6:30.

582. 0n August 27, 2010, Dr. Durrani performed surgery on Patrick Steph`enson at
WCH.

583. On August 27, 2010, there was an email from Goodman to Kauffman,

Trafficant, Blim_line, Willenborg, Parker, Kunko- “Please be aware that reps

support Dr. Durrani have been bringing in trays “just in case.” Dr. D does a case

the Saturday before Labor Day. Sounds a little suspect to me.”

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584. 011 August 30, 2010, Dr. Durrani performed surgery at WCH from 8:00-12:00.

585. 0n August 30, 2010, Dr. Durrani performed surgery at WCH from 12:00~2:00.

586. 011 August 30, 2010, Dr. Durrani performed surgery at WCH from 2:00-4:00.

587. 011 August 30, 2010, Dr. Durrani performed surgery on Sherri Lynn Allen atl
WCH 4`:00-5:30. _

588. 0n August 30, 2010, Dr. Durrani performed surgery on Linda Kallmeyer-Ward
ar WCH. '

589. On September 8, 2010, Dr. Durrani performed surgery at WCH from 8:30-9:30.

590. 0n September 8, 2010, Dr. Durrani performed surgery at WCH from 9:30-11:00.

591. 0n September 8, 2010, Dr. Durrani performed surgery at WCH from 11:00-12:30.

592. 0n September 8, 2010, Dr. Durrani performed surgery 011 Fay Rosebery at WCH
12:30-3:30.

593. 0n September 8, 2010, Dr. Durrani performed surgery at WCH from 3:30-5:30.

594. 0n September 10, 2010, Dr. Durrani performed surgery on David Shempert at
WCH.

595. 0n September 15, 2010, Dr. Durrani performed surgery at WCH from 8:00-9:00.

596. 011 September 15, 201 O, Dr. Durrani performed surgery at WCH from 8:15-12:15.

597. 0n September 15, 2010, Dr. Durrani performed surgery on Gayle Bachmann at

WCH 12:00-2:30.
598. 011 September 15, 2010, Dr. Durrani performed surgery on Sarah Juergens at

WCH 2130-5:00_

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599. 011 September 16, 2010, there was an email from Cyndi Traffrcant to Kathy
Lebowitz and Reply Same: Complaint Dr. Durrani wanted air cast splint. OR refused
He went to ED. Registered himself as patient and got an air cast.

600. 0n September 17, 2010, Dr. Durrani performed surgery on Marcia Quinn at

` WCH. j

601. 0n September 15, 2010, Dr. Durrani performed surgery at WCH from 8:00-10:00.

602. 011 September 15, 2010, Dr. Durrani performed Surgery at WCH from 10:00-
12:00. ‘

603. 011 September 15, 2010, Dr. Durrani performed surgery at WCH from 12:00-2:00_

604. 0n September 17, 2010, Dr. Durrani performed surgery on Billy Spivy at WCH
2:00-3:00.

605. 0n September 15, 2010, Dr. Durrani performed surgery at WCH from 3100-4:30.

606. 0n September 15, 2010, Dr. Durrani performed surgery on Ruvimbo Nyemba at
WCH.

607. 0n September 17, 2010, Dr. Durrani performed surgery on Debbie Rodriguez at
WCH 4:30-6:30.

608. 0n September 18, 2010, Dr. Durrani performed surgery on Kevin Hartness at
WCH.

609. 0n September 20, 2010, Dr. Durrani performed surgery on Latoya Bradshaw at
WCH.

610. On September 20,' 2010, Dr. Durrani performed surgery at WCH from 8:00»10:00.

611. 0n September 20, 2010, Dr. Durrani performed surgery at WCH from 10:00-

12:00.

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612. 0n September 20, 2010, Dr. Durrani performed surgery at WCH from 12:00-1:30.

613. 011 September 20, 2010, Dr. f)urrani performed surgery on Ainauda Koch at
WCH 1:30-3:00.

614. 0n September 20, 2010, Dr. Durrani performed surgery at WCH from 3:00-4:30.

615. On September 21, 2010, Durrani was still suspended, according to Isaacs.

616. On September 22, 2010, Dr. Durrani performed surgery on Mike Sander at
WCH.

617. On September 22, 2010, Dr. Durrani performed surgery on Kaitlyn Kauffman at

WCH 8:00-11:00.

61 S. 011 September 22, 2010, Dr. Durrani performed surgery on Neil Favaron at WCH
8:30-10:30.
619. On September 22, 2010, Dr. Durrani performed surgery on Christopher Atwood

at WCH 10:30-2:30.

620. On September 22, 2010, Dr. Durrani performed surgery at WCH from 1 1:00-1:00.
621. 0n September 22, 2010, Dr. Durrani performed surgery at WCH from 1:00-3:00.
622. 011 September 22, 2010, Dr. Durrani performed surgery at WCH from 2:30-5:30.
623. On September 23, 2010, there was an email from Cyndi Trafficant to Kevin

Joseph and Paula Hawk: Complaint- Durrani cases ran long and had to call in on
call team. Resulted in another doctor taking a surgery to another place. “Schedules
know that they are not to take Durrani’s office staff word for how long a case will
take.” “})urrani played the system last night and stuck the team.”

624. 011 September 24, 2010, Dr. Durrani performed surgery on Christine Goldstein

at WCH 8:00-11:00.

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On September 24, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:00.
0n September 24, 2010, Dr. Durrani performed surgery at WCH from l 1:00-2:00.
On September 24, 2010, Dr. Durrani performed surgery at WCH from 12:00-3:00.
0n September 24, 2010, Dr. Durrani performed surgery at WCH from 3:00-6:00.

0n September 29, 2010, Dr. Durrani performed surgery on Todd Ray at WCH

7:30-11:30.

On September 29, 2010, Dr. Durrani performed surgery at WCH from 11:00-

0n September 29, 2010, Dr. Durrani performed surgery at WCH from 1 1:30-2:30.
0n September 29, 2010, Dr. Durrani performed Surgery at WCH from 2:00-5:00.
0n September 29, 2010, Dr. Durrani performed surgery at WCH from 5:00¢9:00.
011 October 1, 2010, Dr. Durrani performed surgery on Jennifer Hick`ey at WCH.

0n October 1, 2010, Dr. Durrani performed surgery on Carolyn Hursong at

WCH 8:00-10:34.

0n October 4, 2010, Dr. Durrani performed surgery on Linda Kallmeyer-Ward

at WCH 8:00-1 1:00.

637.

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640.

011 October 4, 2010, Dr. Durrani performed surgery on Louise Bayliss at WCH

10:00-12:35.

0n October 4, 2010, Dr. Durrani performed surgery on Hiram McCauley at

WCH 11:45-2:55.

0n October 4, 2010, Dr. Durrani performed surgery at WCH from 1:30-4:30.

011 October 4, 2010, Dr. Durrani performed surgery at WCH from 3:30-6:30.

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641. 011 October 4, 2010, Dr. Durrani performed surgery on Pau} Marksberry at
WCH 6:30-9:00.
642. On October 5, 2010, Dr. Durrani still suspended at West Chester, according

to Brian Isaacs.

643. 011 October 6, 2010, Dr. Durrani performed surgery at WCH from 8:30-11:30.

644. 011 October 6, 2010, Dr. Durrani performed surgery at WCH from 11:00-2:00.

645. 011 October 6, 2010, Dr. Durrani performed surgery at WCH from 1:30-6:00.

646. 011 October 6, 2010, Dr. Durrani performed surgery 011 Elizabeth Compo at
WCH 5:00-8:00.

647. 011 October 6, 2010, Dr. Durrani performed surgery at WCH from 8:00p-9:15p.

648. 0n October 6, 2010, Dr. Durrani performed surgery on Jeffrey Remley at WCH.

649. 011 October 8, 2010, Dr. Durrani performed surgery on Samantha Hamilton at

WCH 3100-10:30.

650. 0n October S, 2010, Dr. Durrani performed surgery at WCH from 10:00-2:00.

651. 011 October 8, 2010, Dr. Durrani performed surgery at WCH from 1:30-3:30.

652. 011 October 8, 2010, Dr. Durrani performed surgery orr Nick Battista at WCH
3200-4:30.

653. 011 October 8,'2010, Dr. Durrani performed surgery on Valerie Kopp at WCH
4:00-5:30.

654. 011 October 1}, 2010, Dr. Durrani performed surgery on Lennie Fossett at WCH.

655. 0n October 13, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:00.

656. 0n October 13, 2010, Dr. Durrani performed surgery orr Nicole Baker at WCH

11:00-2:00.

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657. 0n October 13, 2010, Dr. Durrani performed surgery at WCH from 2:00-5:00.
658. 011 October 18, 2010, Dr. Durrani performed surgery at WCH from 8:00-] 0:30.
659. 011 October 18, 2010, Dr. Durrani performed surgery at WCH from 10:30-12:30.
660. 011 October 18, 2010, Dr. Durrani performed surgery at WCH from 12:30-3:00.
661. 011 October 18, 2010,_Dr. Durrani performed surgery on Danielle Reed at WCH
2:00-3:00.
662. 0n October 18, 2010, Dr. Durrani performed surgery on Karen Higgenbothan at
WCH 3100-6:00.
663. 011 October 25, 2010, Dr. Durrani performed surgery at WCH from 8:30-1 1:15.
664. 0r1 October 25, 2010, Dr. Durrani performed surgery on Ollie Deaton at WCH
l 1 :00-1:50-
665. 011 October 25, 2010, Dr. Durrani performed surgery on Dorothy Hamilton at
WCH 1:30-5:01.
666. 0n October 25, 2010, Dr. Durrani performed surgery at WCH from 4:30-8:08.
667. On October 26, 2010, emails between Debbie Blimline and Cyndi Trafi'lcant,

Rosemary Keiser, Kevin Joseph regarding a complaint that Dr. Durrani runs late
on cases outside his block.

668. On October 26, 2010, there was an email from Kevin Joseph, M.D. to
Trafi`lcant and Blimline- “F or now, we will be sticking with the current scheduled,
until 7 PM. With that said, we know that he has a habit of running late, which I am
going to talk to him about and try to get under control. Also make sure the
schedulers are using his average time of cases, not the time his office says it takes to

do his cases. I agree With Cyndi, that if you want to schedule the staff on his days

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until 9 PM, so that they are scheduled instead of last minute late ending, then it may

add job satisfaction to our nurses. At this time, we will not be extending hours until

11 PM.”

669. 0n October 27, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:30.

d 670. On October 27, 2010, Dr. Durrani performed surgery on Fay Rosebery at WCH

12:00»4:27.

671. 0n October 27, 2010, Dr. Durrani performed surgery on Sarah Juergens at WCH
4:00-8:27.

672. 0n October 29, 2010, Dr. Durrani performed surgery on Michclle Walters at
WCH.

673. 011 November 1, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:58.

674. 0n November l, 2010, Dr. Durrani performed surgery at WCH from 12:00-3:46.

675. 0n November l, 2010, Dr. Durrani performed surgery at WCH from 3:15-5:00.

676. 011 November l, 2010, Dr. Durrani performed surgery on Robert Runtz at WCH
4:30-7:20.

677. 0n November 3, 2010, Dr. Durrani performed surgery at WCH from 813 0-12:30.

678. 011 November 3, 2010, Dr. Durrani performed surgery on Sarah Juergens at

WCH10:30-12:10.

679. 0n November 3, 2010, Dr. Durrani performed surgery on Damon Deck at WCH
12:30-4'.30.

680. 0n November 3, 2010, Dr. Durrani performed surgery at WCH from 12:45-2:00.

681. On November 5, 2010, Dr. Durrani performed surgery on Nicole Baker at WCH

8:00-10:00.

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682. 0n November 5, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:21.

683. On November 5, 2010, Dr. Durrani performed surgery at WCH from 12:45-4:36.

684. On November 5, 2010, Dr. Durrani performed surgery on Debbie Worley at
WCH.

685. 0n November 10, 2010, 01. Durrani performed surgery at WCH from 9:00-12:03.

686. 0n November 10, 2010, Dr. Durrani performed surgery on Michael Cook at

WCH 9:00~10:30.

687. 0n November 10, 2010, Dr. Durrani performed surgery at WCH from 12:30-4:11.

688. 011 November 10, 2010, Dr. Durrani performed surgery at WCH from 3:20-4:20.

689. 0n November 10, 2010, Dr. Durrani performed surgery on Jeff McClure at
WCH 4:40-6:10.

690. 0n November 12, 2010, Dr. Durrani performed surgery on Patricia Adams at

WCH 8:30-12:20.

691. 0n November 12, 2010, Dr. Durrani performed surgery on Karcn Miller`at WCH
11:50-3:35.

692. 0n November 12, 2010, Dr. Durrani performed surgery on Edythe Bishop at
WCH 3:00-5:45.

693. 0n November 15, 2010, Dr. Durrani performed surgery on Violct Whalen at
WCH. n

694. 011 November 17, 2010, Dr. Durrani performed surgery at WCH from 8:30-11:00.

695. On November 17, 2010, Dr. Durrani performed surgery at WCH from 11:30-2:30.

696. 0n November 17, 2010, Dr. Durrani performed Surgery on Billie Moore at WCH

11:30-2:04.

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697. 0n November 17, 2010, Dr. Durrani performed surgery on Paul Marksberry at
WCH 2:30~6:15.
698. On November 24, 2010, Dr. Durrani performed surgery on Valerie Reeves at

WCH 8:30-10:42.

699. 0n November 24, 2010, Dr. Durrani performed surgery at WCH from 11:00-2:45.
700. 0n November 29, 2010, Dr. Durrani performed surgery at WCH from 8200-1 1:30.
701. 0n November 29, 2010, Dr. Durrani performed surgery on Erma Gilbert at

WCH 8:30-11:30.

702. 011 November 29, 2010, Dr. Durrani performed surgery on Arlene Fait at WCH
12:00-3:45.

703. 011 November 29, 2010, Dr. Durrani performed surgery at WCH from 12:00-3:42.

704. On December 1, 2010 , Dr. Durrani performed surgery at WCH from 8:00-10:30_

705. 011 December 1, 2010, Dr. Durrani performed surgery on Carol Wilson at WCH
8:30-12:12.

706. On December 1, 2010, Dr. Durrani performed surgery on Connie Huser at WCH
10:45-3:00.

707. 0n December 1, 2010 , Dr. Durrani performed surgery at WCH from 3:15-6:57.

708. 011 December 3, 2010, Dr. Durrani performed surgery on Neil Favaron at WCH
8:30-10:59.

709. 011 December 3, 2010 , Dr. Durrani performed surgery at WCH from 11:00-2:42.

710. 011 December 3, 2010 , Dr. Durrani performed surgery at WCH from 2:30-5:30.

711. 0n December 3, 2010, Dr. Durrani performed surgery on Lonnie Wheeler at

WCH.

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712. 0n December 6, 2010 , Dr. Durrani performed surgery at WCH from 8:30-11:30.
713. 0n December 6, 2010 , Dr. Durrani performed surgery at WCH from 11115-12:15.
714. 011 December 6, 2010 , Dr. Durrani performed surgery on Ollie Deaton at WCH
11:45-2:53.
715. 0n December 6, 2010 , Dr. Durrani performed surgery at WCH from 12:00-3:00.
716. 011 December 6, 2010 , Dr. Durrani performed surgery at WCH from 3100-5:35.
717. 0n December 8, 2010 , Dr. Durrani performed surgery at WCH from 8:30-11:04.
718. 0n December 8, 2010, Dr. Durrani performed surgery on Ronald Sehuster at

WCH11115-2:52.

719. On December 8, 2010 , Dr. Durrani performed surgery at WCH from 11:00-2:42.

720. 0n December 10, 2010, Dr. Durrani performed surgery on Robert Ellington, at
WCH.

721. 011 December 13, 2010, Dr. Durrani performed surgery at WCH from 8:00-11:05.

722. 011 December 13, 2010, Dr. Durrani performed surgery on Teresa McMillen at

WCH 8:30-12:30.

723. 0n December 13, 2010, Dr. Durrani performed surgery at WCH from 11:30-2:50.

724. 0n December 13, 2010, Dr. Durrani performed surgery on Paula Wilson at WCH
3:30-5:14_

725. 0n December 13, 2010, Dr. Durrani performed surgery on Lisa Reynolds at
WCH 3:45-6:06.

726. On December 13, 2010, Dr. Durrani performed surgery on Mike Sander at WCH.

727. 011 December 17, 2010, Dr. Durrani performed surgery on Teresa Nichols at

WCH 8:00-1:00.

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728. 011 December 17, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:55.

729. 011 December 20, 2010, Dr. Durrani performed surgery at WCH from 8:30-12:30,

730. 0n December 20, 2010, Dr. Durrani performed surgery on Haley Payne at WCH
l 1:15-2:24.

731. On December 20, 2010, Dr. Durrani performed surgery at \1VCH from 12:30-2:30.

732. 011 December 22, 2010, Dr. Durrani performed surgery 011 Kelly Robinson at

WCH 8:30-2:30.

733. 011 December 29, 2010, Dr. Durrani performed surgery on Brian Atkins at WCH
8:00-11:00.

734. 0n December 29, 2010, Dr. Durrani performed surgery at WCH &om 8:30-12:00.

735. On December 29, 2010, Dr. Durrani performed surgery at WCH from 12:00-2:29.

7361 011 December 29, 2010, Dr. Durrani performed surgery at WCH horn 2:00-5:00.

737, 011 December 29, 2010, Dr, Durrani performed surgery at WCH from 511 5-6;33.

738. In 2010, West Chester’s Net Loss was $5,195,431.00.

739. In 2010, there were 534 total West Chester Durrani Surgeries for the year.

740. 0n January 3, 2011, Dr. Durrani performed surgery on Erma Gilbert at WCH
1211 5-4:00.

741. 0n January 3, 2011, Dr. Durrani performed surgery at WCH from 12:00-3:58.

742. ` 011 January 3, 2011, Dr. Durrani performed surgery at WCH h‘om 4:]5-6:00.

743_ 011 January 7, 201 1, Dr. Durrani performed surgery on Debra Henderson at

WCH 8:00-12:00.
744. 0n January 7, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:30.

745. 011 January 7, 201 1, Dr. Durrani performed surgery at WCH from 11:45-3:29.

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746. On January 7, 2011, Dr. Durrani performed surgery on Tim OSborn at WCH
12:15_2;15. ' '

747. 0n January 10, 2011, Dr. Durrani performed surgery at WCH from 8:00~12:48.

748. 0n January 10, 2011, Dr. Durrani performed surgery on Rachel Jones at WCH
3130~12:11.

749. 011 January 10, 2011, Dr. Durrani performed surgery at WCH from 12:15-2:47.

750. 0n January 10, 2011, Dr. Durrani performed surgery at WCH from 1:00-2:00.

751. 0n January 14, 2011, Dr. Durrani performed surgery on Gaer Bachmann at

WCH 8:30-11:30_

752. 0n January 14, 2011, Dr. Durrani performed surgery at WCH from l 1130-1:48.

753. 0n January 14, 2011, Dr. Durrani performed surgery at WCH from 11:30-3:30.

754. 011 January 15, 2011, Dr. Durrani performed surgery orr Wendy Oberlander at
WCH.

755. 0n January 19, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:30.

756. 011 January 19, 2011, Dr. Durrani performed surgery on Theresa Robbinson-

Woods at WCH 12:30-4:30.
757. On January 21, 2011, Dr. Durrani performed surgery on Rebeeca Applegate at

WCH 8:30-12;30.

758. 0n January 21, 2011, Dr. Durrani performed surgery at WCH from 11:15-2:15.
759. 0n January 21, 2011, Dr. Durrani performed surgery at WCH from 12:30-4:00.
760. 011 January 21 , 2011, Dr. Durrani performed surgery on Irene Hyde at WCH

2130-4:32.

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761. On January 24, 2011, Dr. Durrani performed surgery on Jason Riley at WCH
8:30-12:19.

762. On January 24, 2011, Dr. Durrani performed surgery at WCH from 12:00-3:00.

763. 011 January 24, 201 l, Dr. Durrani performed surgery at WCH from 3:00~5:30.

761 011 January 24, 2011, Dr. Durrani performed surgery on Irene Hyde at WCH
5:30-7'.20.

765. 011 January 26, 201 1, Dr. Durrani performed surgery on Sandra Dennis at WCH
8:30-12:00.

766. Orr January 26, 2011, Dr. Durrani performed surgery at WCH from 10:00-11:58.

767. On January 26, 201 1, Dr. Durrani performed surgery at WCH from 12:00-4:00.

768. On January 26, 2011, Dr. Durrani performed surgery at WCH from 3:00-5:00.

769. On January 28, 2011, Dr. Durrani performed surgery on Valarie Reeves at WCH
8:30-11:52.

770. 011 January 28, 2011, Dr. Durrani performed surgery at WCH from 9:00-12:00.

771. 0n January 28, 201 1, Dr. Durrani performed surgery on Traeey Walsh at WCH
12:00-2:00.

772. 0n January 28, 201 1, Dr. Durrani performed surgery on Tammie Little at WCH
12:00-2:30. _

773. 011 February 7, 201 1, Dr. Durrani performed surgery at WCH from 8:00-11:00.

774. 0n February 7, 2011, Dr. Durrani performed surgery 011 Edythe Bishop at WCH
1 1100-3100

775. . 011 February 7, 2011, Dr. Durrani performed surgery on Robert Wilson at WCH

12:00-3:00.

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776. 011 February 7 , 2011, Dr. Durrani performed surgery at WCH from 3 :00-5:29.

777. 0n February 7, 2011, Dr. Durrani performed surgery on Tracey Walsh at WCH
6:00-7:00.

778. 011 February 8, 2011, Dr. Durrani performed surgery on Tonia McQueary at

WCH ]2:00-6:00`

779. 0n February 9, 2011, Dr. Durrani performed surgery on Brenda Conley at WCH
8:00-11:18.

780. On February 9, 2011, Dr. Durrani performed surgery at WCH from 8:30-1]:30.

781_ 0n February 9, 2011, Dr. Durrani performed surgery on Dorothy Hamiltoo at

WCH 11:30-1:591

782. 0n February 9, 2011, Dr. Durrani performed surgery at WCH from 11:45-3:45.
783. 0n February 9, 2011, Dr. Durrani performed surgery at WCH from 2:15-5:24.
784. 0n February 10, 2011, there was a letter to Pam Kinane, Patient Advocate-

copied to Kevin Joseph- 4 Pages- Complaint from Parent Regarding Dr. Durrani-

Serious Care Iss'ue.

785. 011 February 11, 201 1, Dr. Durrani performed surgery at WCH from 8:00-12:14.

786. 0n February 11, 2011, Dr. Durrani performed surgery on Susan Griffin at WCH
8:30~12:00.

787. 0n February l 1, 2011, Dr. Durrani performed surgery at WCH from 12:30-2:59.

788. 0n February 11, 2011, Dr. Durrani performed surgery on Lois Hughes at WCH
12:15-3:58.

789. 0n February 11, 201 l, Dr. Durrani performed surgery on Robert Ellington at

WCH.

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790. 0n February 18, 201 1, Dr. Durrani performed surgery 011 Katrina Allen at WCH
8:00-12;00.
791. 0n February 18, 2011, Dr. Durrani performed surgery on Leona Beyer at WCH
8:30-12:47.
792. ` 011 February 18, 2011, Dr, Durrani performed surgery at WCH from 12:00-4:20.
793. On February 18, 2011 , Dr. Durrani performed surgery at WCH from 1:00-3:05.
794. 0n February 18, 2011 , Dr. Durrani performed surgery at WCH from 3:30-5:32.
795. On February 24, 2011, Dr. Durrani performed surgery on Ben Williams at WCH.
796. 0n March 5, 201 1, Dr. Durrani performed surgery on Kevin Elfers at WCH.
797. 0n March 7, 2011, Dr. Durrani performed surgery on Debbie Worley at WCH.
798. 0n March 7, 201 1, Dr. Durrani performed surgery at WCI-I from 10:00-12:00.
799. 0n March 7, 201 lJ Dr. Durrani performed surgery at WCH from 12:15-3:15.
800. On March 7, 201 l, Dr. Durrani performed surgery on Debbie Worley at WCH
12;00-3:59.
801. 0n Mareh 11, 2011, Dr. Durrani performed surgery 011 Susan Griffin at WCH
8:00-11:30.
802. 0n March 11, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:34.
803. 0n March 11, 2011, Dr. Durrani performed surgery at WCH from 11:45-3:15_
804. 0n March 11, 201 1, Dr. Durrani performed surgery at WCH from 12:00-4:00.
805. 011 Mareh 11, 201 l, Dr. Durrani performed surgery at WCH from 3:30-5:30.
806. 0n March 14, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:35.
807. 0n March 14, 201 I, Dr. Durrani performed surgery orr Samantha Hamilton at

WCH 12:00-14:00.

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808. On March 14, 2011, Dr.
809. On March 16, 2011, Dr.
WCH.
810. On March 18, 2011, Dr.
811. OnMarch 18,2011,Dr.
812. OnMarch]S,ZOll,Dr.
813. 0nMarch18,2011,Dr.
11:30-1:30.
814. On March 23, 2011, Dr.
815. OnMarch 23,2011,Dr.
816. OnMareh23,2011,Dr.
817. On March 23, 2011, Dr.
WCH.
818. On March 23, 2011, Dr.
819. On March 23, 2011, Dr.
820. On March 23, 2011, Dr.
821. On March 23, 2011, Dr.
822. On March 25, 2011, Dr.
823. On March 25J 2011, Dr.
824. On March 25, 2011, Dr.
825. On March 25, 2011, Dr.

WCH 11:45-3:45.

826.

On March 25, 2011, Dr.

Durrani performed surgery at WCH from 12:45-3:45.

Durrani performed surgery on Courtney Hammons at

Durrani performed surgery at WCH from 8:00-10:30.
Durrani performed surgery at WCH from 8:00-11:30.
Durrani performed surgery at WCH from 10:30-2:30.

Durrani performed surgery on Ricky Hounchell at WCH

Durrani performed surgery on Kevin Hartness ai WCH.
Durrani performed surgery on Jonathan Atwell at WCH.
Durrani performed surgery on Larry Krech at WCH.

Durrani performed surgery on Christina Brashear at

Durrani performed surgery at WCH from 8:30-1 1:45.
Durrani performed surgery at WCH from 10:00-2:17.
Durrani performed surgery at WCH from 12:00-3:39.
Durrani performed surgery at WCH from 2:30-4:30.
Durrani performed surgery at WCH from 8:00-11:30.
Durrani performed surgery at WCH from 8:30-11:30.
Durrani performed surgery on Debbie Worley at WCH.

Durrani performed surgery on Kyra McClendon at

Durrani performed surgery at WCH from 3:30-5:00.

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827. On March 25, 2011, Dr. Durrani performed surgery on Margie Newman at
WCH.

828. 011 March 28, 201 1, Dr. Durrani performed surgery on Elaine Waxler at WCH.

829. On March 28, 201 1, Dr. Durrani performed surgery on Patrick Stephenson at
WCH. f -

830. On March 30, 201 1, Dr. Durrani performed surgery on Jeffrey Remley at WCH
8:00-11:00.

831. On March 30, 201 1, Dr. Durrani performed surgery at WCH from 11:00-3:00.

832. On March 30, 2011, Dr. Durrani performed surgery at WCH from 12:00-2:10.

833. On March 30, 2011J Dr. Durrani performed surgery on Kathy Telscher at WCH
3:15-5: l 5.

834. On March 30, 2011, Dr. Durrani performed surgery at WCH from 5:30-7:03.

835. On April 1, 2011, Dr. Durrani performed surgery on William Benton at WCH.

836. On April 1, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:00.

837. On April 1, 2011, Dr. Durrani performed surgery at WCH from 1 1:15-2:30.

838. On April 1, 201 1, Dr. Durrani performed surgery on Susan Schock at WCH
12:15-3:45.

839. On April l, 2011, Dr. Durrani performed surgery at WCH from 2:30-4:30.

840. On April 4, 201 1, Dr. Durrani performed surgery at WCH from 8:30-12:00.

841. On April 4, 2011, Dr. Durrani performed surgery on Jeff Peddicord at WCH
12:00¢3:26.

842. On April 4, 2011, Dr. Durrani performed surgery at WCH from 3:30-6:15.

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843. On April 6, 2011, there was an email from Hanner to Cyndi Traffrcant and
Karen Ghaffari: Complaint- Dr. Durrani failed to see his patients- unhappy. “In

addition, it raises the question if their medical needs were addressed.”

844. On April 8, 2011, Dr. Durrani performed surgery at WCH from 8:00-11'.30.

845. On April 8, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:00.

846. Orr April 8, 2011, Dr. Durrani performed surgery on Randall Metcalf at WCH
l 1 :00-2:00.

847. On April 8, 2011, Dr. Durrani performed surgery at WCH from 3:30-5:00.

848. On April 11, 2011, Dr. Durrani performed surgery at WCH from 8:00-11:55.

849. On April 11, 2011, Dr. Durrani performed surgery at WCH from 8:30»11:30.

850. On April 11, 2011, Dr. Durrani performed surgery on Carol Pummell at WCH
11:45-1:15.

85 1. On April 11, 2011, Dr. Durrani performed surgery orr Latoya Bradshaw at WCH
12:00-2:00.

852. On April 11, 2011, Dr. Durrani performed surgery at WCH from 1:30-3:30.

353. On April 11, 201 1, Dr. Durrani performed surgery on Aonette Buskirk at WCH
4:00-7:56.

854. On April 11, 201 1, Dr. Durrani performed surgery on Shirley Mains at WCH.

855. On April 11, 2011, Dr. Durrani performed surgery at WCH from 8:00-11:30.

856. On April 15, 2011, Dr. Durrani performed surgery at WCH from 10;45-1:55.

857. On April 15, 2011, Dr. Durrani performed surgery at WCH from 11:30-3:00.

858. On April 15, 2011, Dr. Durrani performed surgery on Vera Mofi'ltt at WCH

11:30-3:00.

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859. 0n April 15, 201 1, Dr. Durrani performed Surgery at WCH from 2:00-5:05.

860. On April 20, 201], Dr. Durrani performed surgery on Derek Mayfleld at WCH.

861. 011 April 25, 2011, Dr. Durrani performed surgery on Roben Wilson at WCH
8:00-12:00.

862. 011 April 25, 2011, Dr. Durrani performed surgery orr Debbie Worley at WCH.

863. On April 25, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:00.

864. 0n April 25, 2011, Dr. Durrani performed surgery at WCH from 11:00-3:00.

865. 0n April 27, 2011, Dr. Durrani performed surgery on Evelyn Helton at WCH
8:00-11:30.

866. 011 April 27, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:00.

867. On April 27, 2011, Dr. Durrani performed surgery at WCH from 1 1:45-1:15.

868. On April 27, 2011, Dr. Durrani performed surgery on Vicky Wilson at WCH
1211 5-2:15.

869. 011 April 2?, 2011, Dr. Durrani performed surgery at WCH from 1:30-3:30.

870. 011 April 29, 2011, Dr. Durrani performed surgery at WCH from 8:00-1:03.

'871. On April 29, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:30.

872. 0n April 29, 2011, Dr. Durrani performed surgery on Debbie Rodriguez at WCH
11:30-1:30.

873. On April 29, 2011, Dr. Durrani performed surgery at WCH from 1:15-5:15.

874. ln May 2011, Jeff Drapalik CFO joined West Chester. He is currently still
there.

875. 011 May 2, 2011, Dr. Durrani performed Surgery at WCH from 9:00-10:10.

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876. 0n May 2, 2011, Dr. Durrani performed surgery on Todd Ray at WCH 12:45-
4:45.

877. 011 May 4, 2011, Dr. Durrani performed surgery at WCH from 8:00-11:00.

878. 011 May 4, 2011, Dr. Durrani performed surgery on Patrick Stephenson at WCH
8:30-12:00. _

879. 011 May 4, 2011, Dr. Durrani performed surgery on David Conger at WCH
12:00-4:00,

880. On May 4, 2011, there was an email from Jennifer Krause to

mtaylor@castworld.com copy Wendy Gilkey- Complaint on four cases with
insurance pay issues: 1. No operative report dietated.' 2. “There is no MRI report
or H&P to justify Why this patient had this procedure.” 3. There is no dictation. 4.

No dictation.

881. On May 6, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:30.

882. 011 May 6, 2011, Dr. Durrani performed surgery on Nick Battista at WCH 10:45-
12:45. l

383. 011 May 6, 2011, Dr. Durrani performed surgery at WCH from 1:00-4:30.

884. 011 May 9, 2011, Dr. Durrani performed surgery on Shirley Mains at WCH.

885. On May 9, 2011, Dr. Durrani performed surgery at WCH from 8:00-12:00.

886. 0n May 9, 2011, Dr. Durrani performed surgery 011 Tonya Neal at WCH 8:30-
12:30.

887. 0n May 9, 2011, Dr. Durrani performed surgery on Paula Wilson at WCH 12:15-
4:15.

888. 0n May 9, 2011, Dr. Durrani performed surgery at WCH from 12:45-4:45.

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889. 0n May 9, 2011, Dr. Durrani performed surgery at WCH from 5:00-6:00.

890. On May 11, 2011, Dr. Durrani performed surgery on Brenda Conley at WCH
10130-2:00.

891. 0n May 1 1, 2011, Dr. Durrani performed surgery at WCH from 10:30-1:30.

892. 011 May 13, 201 1, Dr. Durrani performed surgery at WCH from 8:00-12:00.`

893. 0n May 13, 2011, Dr. Durrani performed surgery on Nancy Begley at WCH
8:30-11:30.

894. 011 May 13, 2011, Dr. Durrani performed surgery at WCH from 12:15-2115.

895. 0n May 16, 201 l, Dr. Durrani performed surgery at WCH from 8:00-11:43.

896. On May 16, 2011, Dr. Durrani performed surgery at WCH Bom 8:30'-11:30.

397. 0n May 16, 201 1, Dr. Durrani performed surgery on Maurice Grabow at WCH
11:45-3:45.

898. 0n May 16, 2011, Dr. Durrani performed surgery on Karen Higgenbothan at

WCH 12:00-3:02.

899. On May 18, 2011, there was an email from Kevin Joseph to Mike .]cffers-
Complaint about Dr. Durrani on hospital eating expenses on a case. Email from
Paula Hawk to Kevin Joseph and Mike Jeffers- Complaint about Dr. Durrani -
delinquent dictations, no clinical documentation, Aetna denial, Op notes are
supposed to be dictated Within 24 hours in our bylaws,” My daily conversations With
Dr. Durrani don’t seem to be working.

900. 0n June 1, 2011, Dr. Durrani performed surgery on William Benton at WCH.

901. 0n June 1, 2011, Dr. Durrani performed surgery on Francine Ford at WCH 8:30-

11:30.

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902. 0n June l, 2011, Dr. Durrani performed surgery at WCH from 10:15~2:45.

903. 0n June 1, 2011, Dr. Durrani performed surgery at WCH from 11 :00-12:15.

904. 0nJu11e 1, 2011, Dr. Durrani performed surgery at WCH from 11:45-3:15.

905. 0n June 4, 2011, Dr. Durrani performed surgery on Donna Good at WCH.

906. 70n June 6, 2011, Dr. Durrani performed surgery orr Phyllis Bechtold at Vf/'CH
8:00-11:30.

907. On June 6, 201 1, Dr. Durrani performed surgery at WCH from 8:30-11:20.

908. 0n June 6, 2011, Dr. Durrani performed surgery at WCH from 11:30-12:30.

909. 011 June 6, 2011, Dr. Durrani performed surgery at WCH from 12:00-3:00.

910. 0n June 6, 2011, Dr. Durrani performed surgery on Billy Dugger at WCH 12:45-
3:45.

911. On June 8, 2011, Dr. Durrani performed surgery on Sheila Krabacher at WCH
8:00-11:00.

912. 0n.1u11e 8, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:30.

913. 011 June 8, 2011, Dr. Durrani performed surgery at WCH from 11:15-3:45.

914. 011_lune 10, 201 l, Dr. Durrani performed surgery on Donna Rister at WCH 8:00-
1 1:30.

915: 011 June 10, 201 1, Dr. Durrani performed surgery at WCH from 8:30-12:00.

916. 011 June 10, 201 1, Dr. Durrani performed surgery at WCH from 11:45-3:45_

917. 011 June 10, 201 1, Dr. Durrani performed surgery on Gayle Bachmann at WCH
12:15-2:15.

918. 011 June 13, 201 1, Dr. Durrani performed surgery at WCH from 8:00-10:00.

919. 0111u11e 13, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:30.

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920. 011 June 13, 2011, Dr. Durrani performed surgery on Rhonda Mains at WCH
10:15-1:45.
921. On June 13, 2011, Dr. Durrani performed Surgery at WCH from 11:45-3:45.
922. On June 20, 2011, Dr. Durrani performed surgery on Jonathan Brunner at WCH
7 8:00-12_:00. 0
923. On June 20, 201 l, Dr. Durrani performed surgery at WCH from 8:30-11:00-
924. On June 20, 2011, Dr. Durrani performed surgery at WCH from 11:15-1:15.
925. 011 June 20, 2011, Dr. Durran1 performed surgery at WCH from 12:15-2115.
926. 011 June 20, 2011, Dr. Durrani performed surgery at WCH from 2:45-.3:45.
927. 0n June 20, 2011, Dr. Durrani performed surgery on Nellie Davis at WCH.
928. On June 24, 2011, Dr. Durrani performed surgery on Donald Moore at WCH
8:00-12:00.
929. 011 June 24, 2011, Dr. Durrani performed surgery at WCH from 8:30~11:30.
930. 0n June 24, 2011, Dr. Durrani perfolmed surgery at WCH from 11:45-3:15.
931. On June 24, 2011, Dr. Durrani performed surgery at WCH horn 12:15-2:45_
932. On June 24, 2011, Dr. Durrani performed surgery at WCH from 3:30-5:00.
933. 011 June 27, 2011, Dr. Durrani performed surgery at WCH from 8:00~10:00.
934. 0n June 27, 2011, Dr. Durrani performed surgery at WCH from 8:30-11:30.
935. On June 27, 2011, Dr. Durrani performed surgery on Brenda Conley at WCH
1 1:30-2:30.

936. 1n July 2011, the Medical Staff Offrce Policies and Procedures Adopted-
West Chester (Peer Review).

937. 011 July 1, 201 1, Dr. Durrani performed surgery at WCH from 8:30-12:00.

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011 July 1, 2011, Dr. Durrani performed surgery at WCH from 10:00-12:00.

0n July l, 2011, Dr. Durrani performed surgery orr Charlotte Kiog at WCH

12:00-4:30.

011 July 1, 2011, Dr. Durrani performed surgery at WCH from 12:00-3:00.

0n July 6, 2011, Dr. Durrani performed surgery on Kaitlyn Boggs at WCH 8:00-

011 July 6, 2011, Dr. Durrani performed surgery at WCH from 8:00-9:30.

0n July 6, 201 1, Dr. Durrani performed surgery at WCH from 9:45-12:30.
011]u1y 6, 2011, Dr. Durrani performed surgery at WCH from 10:45-2:45.
011 July 6, 201 1, Dr. Durrani performed surgery at WCH from 12:45-4:15.
On July 8, 201 ], Dr. Durrani performed surgery 011 Phyllis Judkins at WCH.
On July 11, 2011, Dr. Durrani performed surgery at WCH from 8:00-] 1 :45.
0nJu1y 1 1, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:00.

011 July 1 1, 2011, Dr. Durrani performed surgery on Carolyn Hursong at WCH

12:00-2:08.

On July 13, 2011, Dr. Durrani performed surgery at WCH from 8:00-12:30.
011 July 13, 2011, Dr. Durrani performed surgery at WCH from 10:15-12:45.
0n Ju1y 13, 2011, Dr. Durrani performed surgery at WCH from 12:45-3:45.

0n July 13, 2011, Dr. Durrani performed surgery 011 Debbie Rodriguez at WCH

1:00-3:57.

011 July 15, 2011, Dr. Durrani performed surgery or1 Sharon Pritchard at WCH.

011.1uly 16, 2011, Dr. Durrani performed surgery orr Barbara Boggs at WCH

11:45~2:56.

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956. 0n July 22, 2011, Dr. Durrani performed surgery at WCH from 8:00-10:00.

957. On July 22, 2011, Dr. Durrani performed surgery on Kimberly Mayer at WCH
8:30-11:30.

958. 011 July 22, 201 1, Dr. Durrani performed surgery on Billy Dugger at WCH
1-0:15-12:15. `

959. 011 July 22, 201 1, Dr. Durrani performed surgery at WCH from 1 1:45-3:1'5.

960. 011 July 22, 201 1, Dr. Durrani performed surgery at WCH from 12:30-3:30.

961. 011 August 1, 201 1, Dr. Durrani performed surgery on Shirley Mains at WCH.

962. 011 August 5, 2011, Dr. Durrani performed surgery at WCH from 8:30~12:00.

963. 011 August 5, 2011, Dr. Durrani performed surgery at WCH from 11:15-2:15.

964. 011 August 5, 2011, Dr. Durrani performed surgery at WCH from 12:15-3:15.

965. 011 August 5, 2011, Dr. Durrani performed surgery on Sheila Krabacher at
WCH 2:30-5:00.

966. 0n August 8, 201 l, Dr. Durrani performed surgery orr Dorothy Rose at WCH.

967. 0n August 10, 201 1, Dr. Durrani performed surgery on Wendy Oberlander at
WCH.

968. 011 August 12, 201 1, Dr. Durrani performed surgery on R:_rlph Dawson at WCH.

969- On August 17, 201 l, Dr. Durrani performed surgery at WCH from 8:00-10:30.

970. 011 August 17, 201 1, Dr. Durrani performed surgery 011 Nellie Davis at WCH
8:30-2100.

971. 0n August 17, 201 l, Dr. Durrani performed surgery at WCH from 11:00-1:00.

972. 011 August 19,2011, Dr. Durrani performed surgery at WCH from 8:30-11:30.

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973. 011 August 19, 201 1, Dr. Durrani performed surgery on Sandra Den11is at WCH
11:45-3:15.

974. 011 August 19, 201 l, Dr. Durrani performed surgery at WCH from 12:15-3:45.

975. 011 August 22, 2011, Dr. Durrani performed surgery at WCH from 8:;00-12:00.

976. 011 August 22, 2011, Dr. Durrani performed surgery at WCH from 8:30-12:30.

977. 0n August 22J 201 1, Dr. Durrani performed surgery on Nancy Bolar:ld at WCH
12:15-4:15.

978. l 011 August 22, 2011, Dr. Durrani performed surgery at WCH from 12:45-2:45.

979. On August 22, 2011, Dr. Durrani performed surgery at WCH from 4:£30-5:38.

980. On August 24, 201 1, Dr. Durrani performed surgery at WCH from 8::30~11:30.

981. On August 24, 2011, Dr. Durrani performed surgery at WCH from 11:45-2:15.

982. 011 August 24, 2011, Dr. Durrani performed surgery on Elizabeth C;:)mpo at
WCH 2:30-4:30.

983. 011 August 24, 2011, Dr. Durrani performed surgery on Bill Dugger iad WCH.

984. 0n August 26, 2011, Dr. Durrani performed surgery 011 Celeste Hoffman at
WCH. 1

985. On August 26, 201 l, Dr. Durrani performed surgery on Brian Atkio:s at WCH
8:00-] 2:00. 1

986. ~ 0n August 26, 2011, Dr. Durrani performed surgery at WCH from 8130-12:30.

987. 011 August 26, 2011, Dr. Durrani performed surgery at WCH from 1;2:15-4:15.

9$8. 011 August 26, 201 1, Dr. Durrani performed surgery 011 Elaine Wax1er at WCH
12:45-2:15. l:

989. On August 26, 201 l, Dr. Durrani performed surgery at WCH from 2;:30-4:30.

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990. 0n September 2, 2011, Dr. Durrani performed surgery 011 Ricky Hodnchell at
WCH

991. 011 September 7, 201 1, Dr. Durrani performed surgery at WCH from§8:30-12:30.

992. 011 September 7, 201 1, Dr. Durrani performed surgery on Kristine Dzoriry at

WCH11:15-2:45.

993. 0n September 7, 2011, Dr. Durrani performed surgery at WCH from;12:45-2:45.
994. 011 September 9, 2011, Dr. Durrani performed surgery at WCH from18:00-12:00.
995. On September 9, 2011, Dr. Durrani performed surgery at WCH 0011118:30-12:30.
996. 011 September 9, 2011, Dr. Durrani performed surgery on Charlotte King at

WCH12:15-3:15.

997. 011 September 9, 2011, Dr. Durrani performed surgery at WCH from112:45-4:15.

998. On September 14, 201 1, Dr. Durrani performed surgery on Valerie Kopp at

999. 0n September 14, 2011, Dr. Durrani performed surgery orr Robert Masters at

WCH.

WCH. i
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1000. On September 14, 2011, there was an email from Stegman to Jos:eph,
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Daskalakis, Rohlfrng and Hawk reporting a lawsuit being filed against ]E)r. Durrani.

1001. 0n September 19, 201 1, Dr. Durrani performed surgery on Nancy B%)land at
WCH 8:30-12:30.

1002. 011 September 19, 2011, Dr. Durrani performed surgery at WCH from 10:15~
12:15_

1003. 011 September 19, 2011, Dr. Durrani performed surgery at WCH from 12:30-1:30.

1004. 011 September 19, 2011, Dr. Durrani performed surgery at WCH from 12:45-3:15.

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1005. 0n September 19, 2011, Dr. Durrani performed surgery at WCH frorrL 2:00-3:08.
1006_ On September 21, 2011, Dr. Durrani performed surgery on Greg Gof'don at
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WCH 8:30-3:30. ;

1007. On September'21, 2011, Dr. Durrani performed surgery 011 Brenda Conley at

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WCH 12:00-4:00. l

1008. 0n September 23, 2011, Dr. Durrani performed surgery at WCH from 8:00-11:00.

1009. 011 September 23, 2011, Dr. Durrani performed surgery at WCH fron1 8:30-10:30.

1010. On September 23, 2011, Dr. Durrani performed surgery at WCH from 10:45-

12;45. 1

101 1. On September 23, 2011, Dr. Durrani performed surgery 011 Robert Wilson, at

WC_H11:15-3:15. g

1012. 0n September 26, 2011, Dr. Durrani performed surgery orr Steven Addrew

Schultz at WCH. 1
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1013. 0n September 28, 2011, Dr. Durrani performed surgery on Tiffany Nieadows at
WCH 8:00-1:00_ 1
1014. 0n September 28, 2011, Dr. Durrani performed surgery at WCH from1 8;30~12:00.
1015. 011 September 28, 2011, Dr. Durrani performed surgery at WCH from‘r 12:15»3:15.
1016. 0n October 3, 2011, Dr. Durrani performed surgery at WCH from 8:3:0-10:30.
1017. 011 October 3, 201 l, Dr. Durrani performed surgery at WCH from 8:3|;0-1 1:30.
1018. 011 October 3, 2011, Dr. Durrani performed surgery at WCH from 10'.*|45-12'.45.
1019. On October 3, 2011, Dr. Durrani performed surgery on Arnanda Fran:ks at WCH
12:00-2:00. i

1020. 0n October 3, 2011, Dr. Durrani performed surgery at WCH from 1:00-4:30.

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1021. 0n October 5, 2011, Dr. Durrani performed surgery On Miehelle Stephens at

WCH. ` 1

1022. 011 October 10, 2011 UC Health begins purchasing PureGen from Alphatec.
1023. 0n October 10, 2011, Dr. Durrani performed surgery on Michael Crail at WCH.
1024. 0n Oetober 12, 2011, Dr. Durrani performed surgery on Leah Wright at WCH.
1025. 0n October 14, 2011, Dr. DLu~rani performed surgery on Jordan Varice at WCH
8:30-11:30. §
1026. On October 14, 2011, Dr. Durrani performed surgery at WCH from 1‘1:45-2:45.
1027. 011 October 14, 2011, Dr. Durrani performed surgery on Tammy Daie at WCH

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12:15-3:45. i

1028. 011 October 14, 2011, Dr. Durrani performed Surgery at WCH from 4§:00-6:00.

1029. On October 15, 2011, there was an email from Janet Thompson to many
including Hawk. “There was a patient that was going to go to l pet and ;at 2243 they
said Dr. Durrani insisted that the patient go to 3 pet even though they wire infected.
That meant that 1 pet was to lose a nurse. I told them that they had to send a nurse
home by 2 a.m. if they did not get an admission. Thanks, Janette E. Tho_mpson
MSN, RN Clinical Supervisor UC Health-West Chester Medical Center.i

1030. On October 17, 2011, Dr. Durrani performed surgery at WCH from 8~:30-12:00.

1031. 0n October 17, 2011, Dr. Durrani performed surgery on Debbie Rodiriguez at
WCH 10:15-12:45. 1

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1032. 011 October 17, 2011, Dr. Durrani performed surgery at WCH from 1'¥2:30-4:00.

1033. v 0n October 17, 2011, Dr. Durrani performed surgery at WCH from 1-:00-2:23.

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1034. On October 19, 2011, Dr. Durrani performed surgery on Connie Und1erw00d at

WCH. 1

1035. 011 October 22, 2011, Dr. Durrani performed surgery on 011ie Deaton at WCH.
1036. 0n October 26, 2011, Dr. Durrani performed surgery at WCH from 8100-10:00.
1037_. 0n October 26, 2011, Dr. Durrani performed surgery on Mark McMiirren at

WCH 8:30-11:30. 1
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1038. On October 26, 2011, Dr. Durrani performed surgery on Sherri Cinqhina at
WCH 10:15~12:45, 1

1039. 0n October 26, 2011, Dr. Durrani performed surgery at WCH from 1;1:45-3:15.

1040. On October 31, 2011, Dr. Durrani performed surgery on Vicki Busch;ur at WCH.

1041. 011 October 31, 2011, Dr. Durrani performed surgery on Robert Mo\.ince at

WCH. 1

1042. 0n November 4, 2011, Dr. Durrani performed surgery at WCH from ;8:00-12:00.

1043. On November 4, 2011 , Dr. Durrani performed surgery on Elizabeth [Compo at
WCH 11:30-1:30. |

1044. 0n November 4, 2011 , Dr. Durrani performed surgery at WCH from 112:15-2:15.

1045. 011 November 4, 2011, Dr. Durrani performed surgery on Patriek W;illoughby at
wCH_ 1

1046. On November 7, 201 1, Dr. Durrani performed surgery on Patricia Boone at
WCH.

1047. 0n November 9, 201 1 , Dr. Durrani performed surgery on Rhonda Seott at WCH
8:3 0~12:30. §

1048. On November 9, 2011 , Dr. Durrani performed surgery at WCH from;12:15~2‘.15.

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1049. On November 9, 2011, Dr. Durrani performed surgery on Glenna Shafer at

WCH 12:45-4:01.

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1050. 011 November 16, 2011, D'r. Durrani performed surgery on Naoey Boyvman at

WCH 8:00-10:23.

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1051. 0n November 16, 201 1, Dr. Durrani performed surgery at WCH frorri 8:30-10:30.

1052. 0n November 16, 2011, Dr. Durrani performed surgery at WCH from 10:45-

11:45.

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1053. On November 18, 201 1, Dr. Durrani performed surgery at WCH froni 8:00-10:00.

1054. 0n November 18, 2011, Dr. Durrani performed surgery on Katie Prater at WCH

8:30-11:30.

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1055. 0n November 18, 2011, Dr. Durrani performed surgery at WCH fron!i 10:00-

12:30.

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1056. 011 November 18, 2011, Dr. Durrani performed surgery at WCH from 11:45-1:45.

1057. 0n November 21, 201 1, Dr. Durrani performed surgery on Patricia Bruce at

WCH 8:30-12:30.

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1058. 011 November 21, 2011, Dr. Durrani performed surgery at WCH from 12:15-3:15.

1059. 011 November 21, 2011, Dr. Durrani performed surgery at WCH from 12:45-3:15.

1060. 0n November 21, 2011, Dr. Durrani performed surgery at WCH frorin 3:30~5:30.

1061 . 011 November 23, 2011, Dr. Durrani performed surgery on Phyllis J;udkins at

WCH.

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1062. 0n November 24, 2011, Dr. Durrani performed surgery on Elizabeth Compo at

WCH.

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1063. 0n November 28, 2011, Dr. Durrani performed surgery on Valerie Reeves at
~ WCH 8:30-10:30.

1064. On November 28, 2011, Dr. Durrani performed surgery at WCH from 10:45-1:00.

1065. 0n November 28, 201 1, Dr. Durrani performed surgery on David Conger at
WCH11:15-1:15. 1

1066. 0n December 1, 2011, Dr. Durrani performed surgery on .] ames Brown at WCH.

1067. On December 7, 201 1, Dr. Durrani performed surgery at WCH from 8;:30-11:30_

1068_ 0n December 7, 2011, Dr. Durrani performed surgery on Sherri Cinduina at
WCH 11:45-1:45. ~ 1

1069. On December 7, 2011, Dr. Durrani performed surgery at WCH from 12:15-2:15_

1070. 011 December 7, 2011, Dr. Durrani performed surgery on Carol Wilsr1)n at WCH
2:00-4:30.

1071. On December 9, 2011, Dr. Durrani performed surgery on Valerie Kopp at WCH
12:00-2:00.

1072, On December 9J 201 1, Dr. Durrani performed surgery at WCH from 2:15-4:15.

1073. On December 13, 2011, Dr. Durrani performed surgery on Valerie Reeves at
wcH. - 5

1074. 0n December 14, 2011, Dr. Durrani performed surgery on Jetton Wi1son at
wCr-r. '

1075. 011 December 19, 2011, Dr. Durrani performed surgery on Patricia Blruee at

WCH.
1076. 0n December 21, 2011, Dr. Durrani performed surgery on Erin Greelish at

WCH 8:30-11:30.

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1077.

1078.

On December 21, 201 1, Dr. Durrani performed surgery at WCH from;11:45-1:45.

On December 21 , 2011, Dr. Durrani performed surgery on Kelly Will;iams at

WCH12:15-2:15.

. Durrani performed surgery on J ames Brewn at

. Durrani performed surgery on Valerie Rc::eves at

. Durrani performed surgery at WCH from:8:30-10:30.
. Durrani performed surgery at WCH from'8:30-11:30.

. Durrani performed surgery on Jason Romer at WCH

. Durrani performed surgery at WCH from111:45-1:55.
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. Durrani performed surgery on Diane Meyer at WCH.
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In 2011, West Chester‘s Net Loss was $8,365,918.00.

ln 2011, there were 536 total West Chester Durrani surgeries for lthe year.

On January 2012, Mike Jeffers, Director of Finance, left West Ch:ester.

011 January 6, 2012, Dr. Durrani performed surgery on Tammy Dale

111 WCH.

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011 January 6, 2012, Dr. Durrani performed surgery on Debbie Moore at WCH

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0n January 6, 2012, Dr. Durrani performed surgery at WCH from 8:3,0-11:30.

011January 6, 2012, Dr. Durrani performed surgery at WCH from 11130-2:00.

011 January 6, 2012, Dr. Durrani performed surgery at WCH from 11145-1:45.

1079. 0n December 21, 2011, Dr
WCH 2:00~4:00.

1080. 0n December 21, 2011, Dr
WCH 2:45-4:00.

1081. On December 23, 2011, Dr

1082. 011 December 23, 2011, Dr

1083. 0n December 23, 2011, Dr
10:45-12:55.

1084. 0n December 23, 2011, Dr

1085. 011 December 28, 2011, Dr

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9:15.

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011 January 7, 2012, Dr. Durrani performed surgery on Douald Moore at WCH.

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1095. 0n January 9, 2012, Dr. Durrani performed surgery on Elaine Waxleir at WCH

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3;30-10;30. 1

1096. 011 January 9, 2012, Dr, Durrani performed surgery at WCH from 8:3:0-] 2:30.
1097. 011 January 9, 2012, Dr. Durrani performed surgery at WCH from 12145-2:45.
1098. 0n January 11, 2012, Dr. Durrani performed sufgery on Patricia Br11ee at WCH.
1099. 0n January 21, 2012, Dr. Durrani performed surgery on Karen Taylr§)r at WCH.
1 100. 011 _1 anuary 23, 2012, Dr. Durrani performed surgery at WCH from 8130-10:30.
1101. 0n January 23, 2012, Dr. Durrani performed surgery at WCH from 11:45-3:45.
1102. 0n January 23, 2012, Dr. Durrani performed surgery on Leah Wrigh1 at WCH '
12:45»4:45.
1103. On January 23, 2012, Dr. Durrani performed surgery at WCH from 5:100-7:00.
1104. 0n January 27, 2012, Dr. Durrani performed surgery at WCH from 8:130-10:30.
1105. 011 January 27, 2012, Dr. Durrani performed surgery orr Julie Martiu at WCH
1 1;45-2:45.
1106. 011 January 27, 2012, Dr. Durrani performed surgery on James Pumpelly at
WCH 10:45-12:56. '
1107. 0nJanua1y 30, 2012, Dr. Durrani performed surgery on Duane Pelfrey at WCH
8:30-12:30. l
1108. On January 30, 2012, Dr. Durrani performed surgery at WCH from 12:00-3:00.
1 109. On January 30, 2012, Dr. Durrani performed surgery at WCH from 12:45-3:] 5.
1110. On February 2, 2012, Dr. Durrani performed surgery at WCH from 8:|30-11:00.

1111. 0n February 1, 2012, Dr. Durrani performed surgery on Christine Geralds at

WCH 10:45-1:45.

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1112. On February 1, 2012, Dr. Durrani performed surgery on Gaer Bach;mann at
WCH 11;15-2:54. 1

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1113. On February 2, 2012, there was an email from Tom Blank to Durrani and

Marc Feldman and Thomas Harris at UC Health- “Thanks for your tim:e on the
phone this morning to discuss Dr. Durrani’s request for spine implant p|roducts.
Back in November when We first submitted formulary pricing, we included all the
Alphatec Spine products and met or exceeded your formulary pricing. FYI, since
that time We have added products from Spinal USA per Dr. Durrani’s r;equest.
Please verify that you have all the Spinal USA information. Dr. Durrani and Dr.
Shanti have been utilizing the Alphatec Spine biologics including PureGen and
Profuse. We are able to provide a great savings with many of the biologics products
while providing implants that are approved per the indication and safe for use.
After you speak to Tom Harris, I look forward to talking with you in regards
finalizing the agreement As mentioned, the terms and conditions have heen signed,
the pricing met and all necessary papers have been submitted. I am at the ready to
supply anything you need to move forward and take care of Dr. Durrani’s request.
Thanks again for your time and consideration as we look forward to furthering our
relationship. §
l 114. On February 6, 2012, Dr. Durrani performed surgery on Gayle Bachmann at y
WCH 11:00-12:15. 5
1115. 011 February 6, 2012, Dr. Durrani performed surgery at WCH from 1;2:00-2:30.
1116. On February 6, 2012, Dr. Durrani performed surgery on Tammy Dale at WCH

1:00-2:15.

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1 117. 011 February 15, 2012 , Dr. Durrani performed surgery on Denise He1ton at
WCH.

1 118. On February 22, 2012 , Dr. Durrani performed surgery on Christine lGoldstein, at
WCH 8:30-11:30. \

1 119. 011 February 22, 2012 , Dr. Durrani performed surgery at WCH from il 1:45-3:45.

1120. 0n February 24, 2012 , Dr. Durrani performed surgery on David Smiith at WCH
8:30-11:30. l

1 121. 0n February 24, 2012 , Dr. Durrani performed surgery at WCH from E9:00-1 1:15.

l 122. 0n February 24, 2012 , Dr. Durrani performed surgery at WCH from |11:30-1:30.

1123. 011 February 29, 2012 , Dr. Durrani performed surgery at WCH from i8:30-11:30.

1124. 011 February 29, 2012 , Dr. Durrani performed surgery at WCH from 111:45-2:15.

1125. On February 29, 2012, Dr. Durrani performed surgery on Carla Wooten at WCH.

1126. 0r1 February 29, 2012 , Dr. Durrani performed surgery on Elizabeth Compo at

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WCH12:45-3:15. i

1 127. On February 29, 2012 , Dr. Durrani performed surgery on Ailene Le\:’an at WCH.

1 128. On Mareh 2, 2012, Dr. Durrani performed surgery at WCH from 8:30§-12:00.

1 129. On March 2, 2012, Dr. Durrani performed surgery on Michael Hilland at WCH
12:45-3:45. l

1130. 0n March 5, 2012, Dr. Durrani performed surgery at WCH from 8:30|-10:00.

1131. 0n March 5, 2012, Dr. Durrani performed surgery at WCH from 8:30-12:00.

l 132. On March 5, 2012, Dr. Durrani performed surgery on Timothy Hannon at WCH
12:15-2;15. i

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1133. 011 March 5, 2012, Dr. Durrani performed surgery at WCH from12:4§-3:15.

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1134. 011 Mareh 7, 2012, Dr. Durrani performed surgery on Andrew Schultz at WCH.
1135. 011 Mareh 9, 2012, Dr. Durrani performed surgery on Tim Osborn a“t WCH 8:30-

11:30.

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1 136. 0n March 9, 2012, Dr. Durrani performed surgery on Gaer Bachnu§mn at WCH

9:00-10:45_ `.
1137. On March 9, 2012, Dr. Durrani performed surgery at WCH from 11:00-2:00.
1138. 0n Mareh 9, 2012, Dr. Durrani performed surgery at WCH from 12:3;0-1:30.
1139. 011 Mareh 14, 2012, Dr. Durrani performed surgery on Duane Pelfrdy at WCH.
1140. 011 March 16, 2012, Dr. Durrani performed surgery at WCH from 8:1[‘0-10:30.
1141. 011 Mareh 16, 2012, Dr. Durrani performed surgery on Carrie Britte`n at WCH

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8:30-12:30. ‘

1142. On March 16, 2012, Dr. Durrani performed surgery on Laura Kranbuhl-McKee
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atWCH10:4S-12;15. 1

1143. 011 March 16, 2012, Dr. Durrani performed surgery orr Kimberly Jenlfins at WCH
12;30-2;30. l

1144. 0n March 16, 2012, Dr. Durrani performed surgery at WCH from 12§45-4:05.

1145. Orr March 19, 2012, Dr. Durrani performed surgery on Teresa McMilien at
WCH 8:30-12:30. 1

1 146. On March 19, 2012, Dr. Durrani performed surgery at WCH Bom 11115-2:15.

1 147. On Mareh 19, 2012, Dr. Durrani performed surgery 011 Robert Moorie at WCH
12:45-4;00. '

1148. On March 19, 2012, Dr. Durrani performed surgery on Joann Young at WCH

2:30-5:00.

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1149. On March 21, 2012, Dr. Durrani performed surgery on Lonnie Whe¢§zler at WCH
8:30-11:30. j

1150. 0n March 21, 2012, Dr. Durrani performed surgery at WCH from l]!:45-3:15.

1 151. On March 26, 2012, Dr. Durrani performed surgery at WCH from 8::;0-1 1:30.

1152. 011 March 26, 2012, Dr. Durrani performed surgery on George Arnolld at WCH
1 1:45-2:04. 1

1 153. 0n March 30, 2012, Dr. Durrani performed surgery at WCH from 8:?;0-11:30.

1 154. 011 March 30, 2012, Dr. Durrani performed surgery on Latoya Bradf`,haw at
WCH 11:45-2:45.

1 155. On March 30, 2012, Dr. Durrani performed surgery at WCH from 12;;45-4:45.

1156. On March 30, 2012, Dr. Durrani performed surgery on Timothy thrlen at

WCH. ;
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1 157. 011 April 4, 2012, Dr. Durrani performed surgery at WCH from 8:30-§12:37.

l 158. On April 4, 2012, Dr. Durrani performed surgery on Billy Wolsing atf WCH
12:45-3:45. ' 1

1 159. 0n April 4, 2012, Dr. Durrani performed surgery at WCH from 12:45;-3:45,

1 160. On April 4, 2012, Dr. Durrani performed surgery on Sandra Lemme1 at WCI-I

4:00-7:41. l

l 161. 011 April 11, 2012, Dr. Durrani performed surgery on Ailene LeVan at WCH
8:30-10:30.

1 162. On April 1 1, 2012, Dr. Durrani performed surgery at WCH from 10:4:5-1:45.

1 163. On April 1 1, 2012, Dr. Durrani performed surgery on Brenda Conle at WCH

1:00-4:00.

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1 164. On April 16, 2012, Dr. Durrani performed surgery on Dorothy RoseTat WCH

8:30-11:30. 1

1 165. 011 April 16, 2012, Dr. Durrani performed surgery on Nancy Boland; at WCH
11:45-2:45. 1

1 166. On April 16, 2012, Dr. Durrani performed surgery at WCH from 12:¢|15-4:15.

1 167. 0n April 16, 2012, Dr. Durrani performed surgery at WCH from 3:00-5:00.

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1168. On April 19, 2012, Dr. Durrani had a seminar at West Chester (0laimed he
was an Assistant Professor at UC and Children’s when he is neither. West Chester
allows this to happen.)

1169. On Apri] 20, 2012, Dr. Durrani performed surgery at WCH from 8:30-l 1:30.

1 170. 0n ApriI 20, 2012, Dr. Durrani performed surgery on Glenna Shafer; at WCH
11:45-3:15. y

l 171. 0n April 20, 2012, Dr. Durrani performed surgery at WCH from 12:4;:5-3:15.

l 172. 011 April 23, 2012, Dr. Durrani performed surgery on William Wolder at WCH
8:30-11:00.

1 173. 011 Aprr`i 23, 2012J Dr, Durrani performed surgery at WCH from 11:15-3:15.

1 174. 0n Aprii 23, 2012, Dr. Durrani performed surgery at WCH from 12:45-3:45.

1175. 0n April 23, 2012, Dr. Durrani performed surgery at WCH from 3:45T5:45.

1176. 0n April 27, 2012, Dr. Durrani performed surgery on Lennie Fossett Eat WCH
8:30-12:00. l

l 177. 0n April 27, 2012, Dr. Durrani performed surgery at WCH from 10:30~1:30.

1 178. 011 April 27, 2012, Dr. Durrani performed surgery at WCH from 12;4;5-4:45.

1 179. On May 2, 2012, Dr. Durrani performed surgery at WCH from 8:30»1!1:30.

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1180. 0n May 2, 2012, Dr. Durrani performed surgery at WCH from 11:45;-3:59.

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118]. 011 May 2, 2012, Dr. Durrani performed surgery on Paul Wilson at WCH 12:45-
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3:45.

1182. 011 May 4, 2012, Dr. Durrani performed surgery on Elizabeth Compp at WCH.
1183. 0r1 May 4, 2012, Dr. 0urrani performed surgery on William Dabney[l at WCH.
1184. 0n May 9, 2012, Dr. Durrani performed surgery on Holly Reifenber{ger at WCH.
1185. On May 11, 2014, Dr. Durrani performed surgery at WCH from 8:30111:00.

1186. On May 11, 2012, Dr. Durrani performed surgery 011 Gera}d Botner ;at WCH

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10:00-12:00. §

1187. 0n May 11, 2012, Dr. Durrani performed surgery at WCH from 11:45-2:1 5.

1188. 0n May 11, 2012, Dr. Durrani performed surgery on Rhonda Mains.at WCH

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1:30-4:30. 1
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1189. 0n May 14, 2012, Dr. Durrani performed surgery on William Dabne'y WCH

8:30-l 1:30_
1190. 011 May 14, 2012, Dr. Durrani performed surgery on Tamathy Wilde:r at WCH

11;45-2:45. §
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1191. 0n May 14, 2012, Dr. Durrani performed surgery at WCH from 12:451-3:15.
1192. On May 16, 2012, there Was an email from Heather Waugh to Debbie

Blimline, Mark Tromba and Virginia Craig. Complaint~ “post op sheets§not being

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signed and orders not being completed.” “This is difficult to track MDs down to do

orders, while taking care of two patients.” 1
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1193. On May 17, 2012, there was an email from Mark Tromba to Heather Waugh,

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Debbie Blimline and Virginia Craig- ""I know that the reason it has happened to Dr.

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CaSe: 1:16-CV-00165-SJD DOC #: 1-1 Filed: 01/06/16 Page: 96 Of 180 PAC;BE|D #: 105
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Durrani is because his partner has not been here certain days to do his dirty work.
This is going to continue and I have talked to Dr. Durrani.” “Most of th€i physicians
are compliant.” “Please let Ginney or l know about the issue when it happens
again. (Because l know it will).” “Dr. Durrani has been addressed manyi times.
What is the next step?” (Blimline response). ‘

1194. On May 18, 2012, Dr. Durrani performed surgery at WCH from 8:30-;10:30.

l 195. On May 18, 2012, Dr. Durrani performed surgery on Ruhama Hall at- WCH
3;30-12:00. _ l
1196. 0n May 18, 2012, Dr. Durrani performed surgery at WCH from 10:45§-2:45.
1197. On May 18, 2012, Dr. Durrani performed surgery at WCH from 12:45"-3:45.
1198. On May ]8, 2012, Dr. Durrani performed surgery on Natasha Lainha:rt at WCH.
1199. On May 25, 2012, Dr. Durrani performed surgery on Timothy Whaleil at WCH.
1200. On May 31, 2012, Dr. Durrani performed surgery orr Judith Gardner§ at WCH.
120]. On June, 2012 , Dr. Durrani performed surgery on Nancy Begley at WCH.

]202. On June 4, 2012, Dr. Durrani performed surgery at WCH from 8:30-l l :30.

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1203. On June 4, 2012, Dr. Durrani performed surgery on Robbie Gregory Eat WCH

11:45-1;54_ !
1204f On June 4, 2012, Dr. Durrani performed surgery on Valerie Reeves at WCH
12:45-3:45. t
1205r On June 6, 2012, Dr. Durrani performed surgery on Leah Wright at \;VCH.
1206. On June 6, 2012, Dr. Durrani performed surgery on Candi McKinne};' at WCH.

1207, On June 8, 2012, Dr. Durrani performed surgery at WCH from 8:30-12:30.

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1208. On June S, 2012, Dr. Durrani performed surgery on Lennie Fossett at WCH

10:30-11:30.

1209. 0n June 8, 2012, Dr. Durrani performed surgery at WCH from 11:45;2:45.

1210. On June 8, 2012, Dr. Durrani performed Surgery at WCH from 12:45£3:45.

1211. On June 8, 2012, Dr. Durrani performed surgery on Laura Batsche at WCH
3:00-5:09. q

1212. On June 11, 2012, Dr. Durrani performed surgery at WCH from 8:30:11:00. n

1213. On June 11, 2012, Dr. Durrani performed Surgery on Katherine Walls at WCH
8:30-12:30. ` i

1214- On June 11, 2012, Dr. Durrani performed surgery at WCH from 12:4;-3:15_

1215. On June 13, 2012, Dr. Durrani performed surgery on Teresa Nichols ;at WCH
8:30-12:05. l

1216. On June 13, 2012, Dr. Durrani performed surgery at WCH from 10:45:-2:45.

1217`. On June 15, 2012, Dr. Durrani performed surgery on Robert Runtz at WCH.

1218. On June 18, 2012, Dr. Durrani performed surgery at WCH from 8:30-§11:30.

1219. On June 18, 2012, Dr. Durrani performed surgery on Carol Wilson at WCH
11:45-4:45.

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1220. On June 18, 2012, Dr. Durrani performed surgery on Holly Reifenberger at

WCH.
1221. On June 20, 2012, Dr. Durrani performed surgery at WCH from 8130-1:11'.30.
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1222. 0n June 20, 2012, Dr. Durrani performed surgery on William Hayes at WCH

1223, On June 20, 2012, Dr. Durrani performed surgery at WCH from 12:45|-3:45.

11:45-2:45.

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1224, On June 25, 2012, Dr. Durrani performed surgery at WCH from 8:00:8:30.

1225_ On June 25, 2012, Dr. Durrani performed surgery at WCH from 8:45;~11:45.

1226. _0n June 25, 2012, Dr. Durrani performed surgery on Shannon Koehler at WCH
12:00»3:30.

1227. On June 25, 2012, Dr. Durrani performed surgery at WCH from 1:00§-4:30.

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1228. On June 27, 2012, Dr. Durrani performed surgery orr Wendy Oberlapder at
wCH. ‘

1229. On July 6, 2012, Dr. Durrani performed surgery on Regina Wesley at WCH 8:30-
12:30.

1230. On July 6, 2012, Dr. Durrani performed surgery at WCH from 12:45-`3:15.

1231. On July 6, 2012, Dr. Durrani performed surgery at WCH from 12:45-:3:15.

1232. On July 6, 2012, there was an email from Kathie Hays to Mark T;romba- “He
bold face lies. Does Kevin and Patrick know?” l

1233. On July 6, 2012, there was an email from Tromba to Hays- “Duri'ani
screwed us over! Lied to Patrick and l about the patient being in too ulrich pain to
fly... the patient is having surgery tomorrow at his surgery center.... And one our
instruments are going to!!! Kevin is being notified... not much else. Ha`ve a great
rest of your trip! See you Monday!

1234. On July 6, 2012, there was an email from Tromba to Hays-“Yeah;, I asked
him why his patient canceled for today and he said he couldn’t fly becaiise he was in

so much pain. Yet was currently on a flight to Cinci. Patrick said he would address

it with Sellior leadership... I’ll update you on Monday!”

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1235. On July 9, 2012, Dr. Durrani performed surgery orr Michael Crail at;WCH 8:30-

11:00. i

1236. On July 91 2012, Dr. Durrani performed surgery at WCH from 1 1:15-!1:45.

1237. on July 9, 2012, Dr. Durrani performed Surgery ar WCH from 12;45_§:45.

1238. On July 16, 2012, Dr. Durrani performed surgery on Elaine Waxler zit WCH.

1239. On July 23, 2012, Dr. Durrani performed surgery on Marcia Quinn zit WCH.

1240. On July 20, 2012, Dr. Durrani performed surgery at WCH from 8:30-;11:30.

1241. On July 20, 2012, Dr. Durrani performed surgery on Kathryn Rueve;at WCH
11:45-2:45.

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1242. On July 20, 2012, UC Health began purchasing PureGen from Ev;olution

Medieal, LLC. `

1243. On July 23, 2012, Dr. Durrani performed surgery on Tim Marshall ati_ WCH
8:30-11:30. §

1244. On July 23, 2012J Dr. Durrani performed surgery at WCH from 10:00@-1:30.

1245. On July 23, 2012, Dr. Durrani performed surgery at WCH from 11:45§2:15.

1246. On July 25, 2012, Dr. Durrani performed surgery on Heather McCanh at WCH
8:30-11:30. 1

1247. Orr July 251 2012, Dr. Durrani performed surgery at WCH from 9:30-1;0:30.

1248. On July 25, 2012, Dr. Durrani performed surgery on Charlotte King cit WCH
I 1545-1245. ii

1249. On July 25, 2012, Dr. Durrani performed surgery On Edythe Bishop ai WCH
1:45-2:15. s k

1250. On July 27, 2012, Dr. Durrani performed surgery at WCH from 8:30-1:0:30.

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1251. Orr July 27, 2012, Dr. Durrani performed surgery on Carolyn Dotsori at WCH

9:30-12:45.
1252. 0nJu1y 27, 2012, Dr. Durrani performed surgery at WCH from10:45`,-12:45.
1253.. On July 30, 2012, Dr. Durrani performed surgery at WCH from 8:00-`1 1 :30.
1254. On July 30, 2012, Dr. Durrani performed surgery at WCH from 8:30-12:00.
1255. On July 30, 2012, Dr. Durrani performed surgery at WCH from 11:451-3:15.
1256. On July 30, 2012, Dr. Durrani performed surgery on Darrell Earls at WCH

12:15-2:15.

1257. On August 1, 2012, Dr. Durrani performed surgery at WCH from 8:31)-11:30.

125 8. On August l, 2012, Dr. Durrani performed surgery on Larry Krech at WCH
11:45-3:45. 1

1259. On August 1, 2012, Dr. Durrani performed surgery on Sandra Dennis at WCH

12:45-3:45. i
1260. On August 1, 2012, Dr. Durrani performed surgery at WCH nom 4:01)-6:00.
1261. On August 3, 2012, Dr. Durrani performed surgery at WCH from 8:30-10:30.
1262. On August 3, 2012, Dr. Durrani performed surgery at WCH from 10:115-12:45,
1263. On August 3, 2012, Dr. Durrani performed surgery on I-Ieather Heft`i'ier at WCH
8:30-10:3(}.
1264. On August 6, 2012, there was an email from Kathie Hays to Virgi:nia Craig
and Mark Tromba- “It’s a shame Durrani was actually here on time for:the first
time and we weren’t able to get the patient started.”

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1265. On August 6, 2012, there was an email from Joseph to Daskalakis -

“Reporting new lawsuit being filed.”

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1266. On August 6, 2012, Dr. Durrani performed surgery at WCH from 8:30-12:00.

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1267. 011 August 6, 2012, Dr. Durrani performed surgery on Donna Good at WCH
813 0-12:30. 1

1268. 011 August 6, 2012, Dr. Durrani performed surgery at WCH from 12:115-3:30.

1269. On August 6, 2012, Dr. Durrani performed surgery orr Chris Schepe1‘ at WCH
12:45-5:22. 4

1270. On August 6, 2012, Dr. Durrani performed surgery on Dawn Wingent at WCH
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3:45-7:10. `
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1271. On August 10, 2012, Dr. Durrani performed surgery on Sheila Krabacher at

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WCH 8:30-11:30.

]272. On August 10, 2012, Dr. Durrani performed surgery on Timothy Sch`ulze at

WCH 10;30-1130. 1

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1273. Orr August 10, 2012, Dr. Durrani performed surgery at WCH from 111:45-3:15.
1274. On August 13, 2012, Dr. Durrani performed surgery at WCH from 8:_?0-12:00.
1275.- On August 13, 2012, Dr. Durrani performed surgery at WCH from 121:15-3:15.
1276. On August 13, 2012, Dr. Durrani performed surgery at WCH from 12_:45-3:15.
1277. On August 13, 2012, Dr. Durrani performed surgery at WCH from 3:1130-5:01_
1278. On August 13, 2012, Dr. Durrani performed surgery orr Heather Heffner at
WCH 3:30-4:52. 1
1279. On August 13, 2012, Dr. Durrani performed surgery orr Deborah Kidd at WCH.
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1280. On August 15, 2012, Dr. Durrani performed surgery on Carol Pumm1ell at WCH

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8;45_11;45. 1

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1281.

On August 15, 2012, Dr

12:00-3:30.

. Durrani performed surgery on Michelle Byar at WCH

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1282. On August 15, 2012, Dr. Durrani performed surgery on Nick Battista at WCH

1:00-4:00.

1283. On August 15, 2012, Dr. Durrani performed surgery at WCH from 3145-5:45.

. Durrani performed surgery on Joseph Schihimel at
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. Durrani performed surgery on Kelly Henne;ssy at WCH.

. Durrani performed surgery at WCH from 8:45-11:45.
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On August 17, 2012, Dr. Durrani performed surgery at WCH from 12:00-3:30,

. Durrani performed surgery at WCH from 12:45-2:45.

. Durrani performed surgery on Amanda Koeh at WCH

. Durrani performed surgery on Corinne Zachry at WCH

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. Durrani performed surgery at WCH from 5:15-6:15.

On August 20, 2012, Dr. Durrani performed surgery at WCH from 8:¢15-11:15_

On August 20, 2012, Dr. Durrani performed surgery at WCH from 111:30-2:00.
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On August 20, 2012, Dr. Durrani performed surgery orr Tammie Little at WCH

1284. On August 15, 2012, Dr
WCH.

1285. On August 17, 2012, Dr

1286. Orr August 17, 2012, Dr

1287.

1288. On August 17, 2012, Dr

1289. On August 17, 2012, Dr
3:00-5:00.

1290. 011 August 17, 2012, Dr
3:45-7:45.

1291. Orr August 17, 2012, Dr

1292.

1293.

1294.
12:45-3:15.

1295. On August 22, 2012, Dr

WCH 8:45-12:15.

1296.

On August 22, 2012, Dr

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. Durrani performed surgery on Teresa McMillen at
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. Durrani performed surgery at WCH from 12130-2:30.

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1297. 011 August 22, 2012, Dr. Durrani performed surgery at WCH from 1:15-2:40.
1298. 011 August 22, 2012, Dr. Durrani performed surgery on Jane Reeder1at WCH.
1299. 011 August 27, 2012, Dr. Durrani performed surgery on Shannon Bripe at WCH.
1300. Ou August 27, 2012, there was an email from Tromba to Hays - §ubject:
RE: Attendance Certifieate _ Well Managed OR “Do l still get this even lthough we
were talking to Durrani about cussing out Amy??” l
1301. 011 August 27, 2012, Dr. Durrani performed surgery at WCH from 8:£15-10:45.
1302. 0r1 August 27, 2012, Dr. Durrani performed surgery at WCH from 12145-3:45.
1303. Orl August 27, 2012, Dr. Durrani performed surgery at WCH from 2:1_5-4:15.

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1304. On August 27, 2012, Dr. Durrani performed surgery at WCH from 4:310-6:31.
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1305. On August 27, 2012, Dr. Durrani performed surgery on Paula V\filsonl at WCH
11:00-2;00_ 1

1306. 011 August 27, 2012, Dr. Durrani performed surgery on Tim Marshal1 at WCH
4:00-5:22. 1

1307. 011 August 29, 2012, Dr. Durrani performed surgery on Kimberly Jenkins at
WCH.

1308. 011 August 29, 2012, Dr. Durrani performed surgery at WCH from 8:415-11:45.

1309. 011 August 29, 2012, Dr. Durrani performed surgery at WCH from 12:_00-2:30.

1310. 011 August 29, 2012, Dr. Durrani performed surgery at WCH from 12:`|45~2:45.

1311. On August 29, 2012, Dr. Durrani performed surgery at WCH from 3:01)-4:13.

1312. 011 August 29, 2012, Dr. Durrani performed surgery at WCH from 3:00-5:00.

1313. 011 August 29, 2012, Dr. Durrani performed surgery or1 Sharon Brice at WCH

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4;45-5;45. `i

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1314. On August 29, 2012, there was an email from Tom Blank to Griggs- RE:
Evolution Alphatec Spine Par Level. Attachmcnt: Evolution Medical West Chester

MedAssets Biologics Par Level 071312.
1315. 011 September 5, 2012, Dr. Durrani performed surgery at WCH from 18:45-11:45.
1316. _On September 5, 2012, Dr. Durrani performed surgery on Regina We1sley`at
WCH 12:00-2:30.
1317. On September 5, 2012, Dr. Durrani performed surgery at WCH from 12:45-4:15.
1318. 011 September 5, 2012, Dr. Durrani performed surgery at WCH from 1§2:45-4:45.
1319. 0n September 5, 2012, Dr. Durrani performed surgery at WCH from 4:45-6:08.
1320. 0n September 10, 2012, Dr. Durrani performed surgery on Marsha Martin at
WCH. t

1321. 011 September 11, 2012, Dr. Durrani performed surgery on Carol Rosis at WCH.

1322. 0n September 17, 2012, Dr. Durrani performed surgery on Carla Wooten at
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WCH. `

1323. 0n September 26, 2012, Dr. Durrani performed surgery at WCH from18:45-12:15.

1324. On September 26, 2012, Dr. Durrani performed surgery at WCH from112:30-3:30.

1325. 0n September 26, 2012, Dr. Durrani performed surgery on Michael Hillard at
WCH 1:00-3:00. 1

1326. 0n September 26, 2012J Dr. Durrani performed surgery on Karen Taylor at
WCH 3:15-5:15. 1

1327. On September 26, 2012, Dr. Durrani performed surgery on Joseph Scf|iimmel at
wCH. l

1328. On October 3, 2012, Dr. Durrani performed surgery at WCH from 8:45-11:45.

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1329. 011 October 3, 2012, Dr. Durrani performed surgery at WCH from 12100-1'.30.

1330. 011 October 3, 2012, Dr. Durrani performed surgery on John Richardson Surgery
at WCH 12:45-3:45. 1

1331. 011 October 3, 2012, Dr. Durrani performed surgery at WCH from 1:¢15-3:45.

1332. 011 October 3, 2012, Dr. Durrani performed surgery at WCH from 4:00-7:00.

1333. On October 4, 2012, there Was an email from Tom Blank to Willehborg and
Griggs- “Yesterday, Paula asked me to help her find a PureGen vial and track it. I
was able to track where the item was used and the patieut’s name. l don’1t have
Paula’s email or number so l hope you can help here. Item 67010-050. I10t vial
#AS3000 31470 Implanted HIPAA LS-Sl Fusion. Please confirm and let pm know

how this he1ps.” 1

1334. On October 4, 2012, there was an email to Griggs to Tom Blank- “ll send the
info to Paula, thanks for following up and thanks again for the heads up on the
VToss.” ` i

1335. 0n October 8, 2012, Dr. Durrani performed surgery on Brenda Errgahg at WCH
11:15-12:45.

1336. 0n October-11, 2012, Dr. Durrani performed surgery at WCH from 12:00-3:30.

1337`. 011 October 8, 2012, Dr. Durrani performed surgery at WCH from 1:00-4:00.

1338. 0n October 15, 2012, Dr. Durrani performed surgery on James Browr§ at WCH.

1339. On October 29, 2012, Dr. Durrani performed surgery at WCH from 8:4;5.

1340. 011 October 29, 2012, Dr. Durrani performed surgery at WCH from 12145.

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1341. 011 October 29, 2012, Dr. Durrani performed surgery at WCH from 1:01.

1342. 011 October 29, 2012, Dr. Durrani performed surgery at WCH from 3:115.

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1343. 011 October 31, 2012, Dr. Durrani performed surgery on Karen Higginbothan at

WCH 8:45.

1344. 011 October 31, 2012, Dr. Durrani performed surgery 011 Robert Densler at WCH

12;30.

'1345. On November 5, 2012, Dr. Durrani performed surgery at WCH from18:45.
1346. 0n November 5, 2012, Dr. Durrani performed surgery at WCH from[l 1:00.

1347. 0n November 5, 2012, Dr. Durrani performed surgery on Jolm chhardson at

WCH from 12:45.

1348. 011 November 7, 2012, Dr. Dulrani performed surgery on Joann You:xng at WCH
8:45. i

1349. On November 7, 2012, Dr. Durrani performed surgery on Patrick Stephenson at
WCH 12:00.

'1350. 011 November 7, 2012, Dr. Durrani performed surgery at WCH from 1 :15_

1351. 011 November 7, 2012, Dr. Durrani performed surgery at WCH from +1:35.

1352. On November 12, 2012, Dr. Durrani performed surgery on Sophia W|hite at

WCH.

1353. On November 12, 2012, Dr. Durrani performed surgery at WCH from 8:00.
1354. On November 12, 2012, Dr. Durrani performed surgery at WCH from 11:15.
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1355. On November 12, 2012, Dr. Durrani performed surgery at WCH fromi 4:45.
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1356. On November 14, 2012, Dr. Durrani performed surgery at WCH from‘ 8:45.
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1357. 0n November 14, 2012, Dr. Durrani performed surgery at WCH from: 12:00.
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1358. 0n November 14, 2012, Dr. Durrani performed surgery on Rita Hounchell at
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WCH 12:45. `

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1359. 0n November 14, 2012, Dr. Durrani performed surgery on Rhonda l;VIains at
WCH. 1

1360. 0n November 19, 2012, Dr. Durrani performed surgery at WCH frorr:) 8:45.

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1361. 0n November 19, 2012, Dr. Durrani performed surgery 011 Lau'ra Ba:tsche at
WCH 12:00. l

1362_ 011 November 19, 2012, Dr. Durrani performed surgery on Jessica Hastings at
WCH 12:45. l

1363. 0n November 21 , 2012, Dr. Durrani performed surgery at WCH frord 8:30.

1364. 011 November 21, 2012, Dr. Durrani performed surgery on Arletta Bi)wling at
WCH 9:00. §

1365. 0n November 26, 2012, Dr. Durrani performed surgery at WCH froml 12:45_

1366. On November 26, 2012, Dr. Durrani performed surgery 011 Donna Rister at
wCH 3;45_ - §

1367. 011 November 26, 2012, Dr. Durrani performed surgery on Elizabeth !Compo at
WCH 1:00. §

1368, 011 November 28, 2012, Dr. Durrani performed surgery on John Ricliardson at
WCH 8:45. n §

1369. 011 November 28, 2012, Dr. Durrani performed surgery at WCH from: 12:00.

1370. 011 November 28, 2012, Dr. Durrani performed surgery at WCH fromi12:45.

1371. 011 November 30, 2012, Dr. Durrani performed surgery at WCH from;8:30.

1372. 011 November 30, 2012, Dr. Durrani performed surgery at WCH from;8:45.

1373. On November 30, 2012, Dr. Durrani performed surgery at WCH from;i 12:05.

1374. 011 December 3, 2012 , Dr. Durrani performed surgery at WCH from 8§:45.

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1375. 011 December 3, 2012 , Dr. Durrani performed surgery at WCH from:` 10:00.

l
1376. 0n December 3, 2012 , Dr. Durrani performed surgery on Eileen Brf)rein at

WCH 12;00. 1

1377. 0n December 3, 2012 , Dr. Durrani performed surgery on Tom Meyérs at WCH
12:15. t 1

1378. 011 December 3, 2012 , Dr. Durrani performed surgery on Heather P1ckett at
WCH 4:15. 1

1379. 0n December 5, 2012 , Dr. Durrani performed surgery 011 Gaer Bachmann at
WCH 8:45. 1

1380. 011 December 5, 2012 , Dr. Durrani performed surgery on Darrell Earls at WCH

12;00. 1

1381. 011 December 5, 2012 , Dr. Durrani performed surgery 011 Carol Rossi at WCH
12:00.

1382. 0n December 7, 2012 , Dr. Durrani performed surgery on Randal Brewer at
WCH 4:00. 1

1383. 0n December 10, 2012, Dr. Durrani performed surgery at WCH from18:45.

1384. 0n December 10, 2012, Dr. Durrani performed surgery at WCH from112:00.

1385. 011 December 10, 2012, Dr. Durrani performed surgery on Priscilla Wittmeyer,
atWCH 12:15. 1 '

1386. 011 December 10, 2012, Dr. Durrani performed surgery at WCH from 11 :45.

1387. 011 December 12, 2012, Dr. Durrani performed surgery at WCH from l8:45.

1388. 011 December 12, 2012, Dr. Durrani performed surgery at WCH from 512:00.

1389. On December 12, 2012, Dr. Durrani performed surgery at WCH from 112:15.

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1390. On December 16, 2012, there was an email from Griggs to Shelddn & Hays-
“Gary - Several of our Spine surgeons are consistently using Medtronic Magnifuse
Bone Graft. The Rep. Dave Rattigan has been bringing this in for the surgeons to
use for approximately one year. Since Infuse it not being used, our usage of
Magnifuse has increased. To ensure the product is here; when we need it, we want
to keep it on our shelf. Dave can supply us a Pyxis to keep the Magnifusei in. Also,
this would be very helpful in tracking the bone produet. l spoke with Kathy and she
ok’d the Pyxis but would like to run it by you before I give Dave the 0K.1 Please let
me know. Thank you, Becky 1

1391. On December 17, 2012, Dr. Durrani performed surgery at WCH from;8:45.

1392. 0n December 17, 2012, Dr. Durrani performed Surgery at WCH from112:45.

1393. On December 17, 2012, Dr. Durrani performed surgery at WCH from1l :45.

1394. 0n December 17, 2012, Dr. Durrani performed surgery at WCH from 14: 15.

1395. On December 19, 2012, there was an email from Sheldon to Griggs, Hayes

‘ l
and Dwayne Brown “Becky - UC Health’s standard practice is not to accept
equipment from suppliers. If additional clarification is needed, I recommend
contacting Dennis Robb’s oft`lce. 1
1396. 011 December 19, 2012, Dr. Durrani performed Surgery at WCH from `|8:45.
1397. On December 19, 2012, Dr. Durrani performed surgery at WCH from 112:00.
1

1398. 011 December 19, 2012, Dr. Durrani performed surgery on Gloria Greene at

WCH 12:20. 1

l

1399. 0n December 19, 2012, Dr. Durrani performed surgery on Celeste Hoz`fman at

WCH 3:15.

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1400. 011 December 20, 2012, Dr. Durrani performed surgery on Kimberlyl Jenkins at
WCH.

1401. 011 December 21, 2012, Dr. Durrani performed surgery at WCH from 8:45.

1402. 011 December 21, 2012, Dr. Durrani performed surgery at WCH from 12:30.

1403. 011 December 21 , 2012, Dr. Durrani performed surgery at WCH fromL 12:45.

1404. 0n December 26, 2012, D1. Durrani performed surgery on Sherri Puckett-
Morrisette at WCH 8:45. 1

1405. 011 December 26, 2012, Dr. Durrani performed surgery on Dana Settiers at WCH
12:10.

1406. 011 December 26, 2012, Dr. Durrani performed surgery at WCH from1 12:15.

1407. 0n December 26, 2012, Dr. Durrani performed surgery on William Hayes at
WCH 1:25. l

1408. In 2012, West Chester’s Net Loss was $8,366,000.0{}.

1409. In 2012, there were 437 total West Chester Durrani surgeries for 1he year.

1410. On January 2013, Dr. Thomas Brown left West Chester as Chief of

1

Radiology. 1
1411. 011 January 2, 2013, Dr. Durrani performed surgery on Derrill Reynqlds at WCH
8:45.

1412. 0n January 2, 2013, Dr. Durrani performed surgery at WCH from 12:00.
1413. 0n January 2, 2013, Dr. Durrani performed surgery on Dirk Hitchcoc`|:k at WCH

12:15.

l

1
1414. 0n January 2, 2013, Dr. Durrani performed surgery at WCH from 3:10.

1
1
1

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1415. 011 January 7, 2013, Dr. Durrani performed surgery on Donald Moo1re at WCH
8:45. §

1416. 011 1 anuary 7, 2013, Dr. Durrani performed surgery at WCH from 111:00.

1417. 011 January 9, 2013, Dr, Durrani performed surgery at WCH from 8:45.

1418. 0n January 9, 2013, Dr. Durrani performed surgery 211 WCH from 12`:00.

141 9. 0n January 9, 2013, Dr. Durrani performed surgery at WCH from 121:30.

1420. 011 January 9, 2013, Dr. Durrani performed surgery at WCH from 3: 115_

1421. 1 0n.1anuary 14, 2013, Dr. Durrani performed surgery at WCH from 8§45.

1422. 0n January 14, 2013, Dr. Durrani performed surgery on Kim Under\1vood at
WCH 12:00.

1423, 011 January 14, 2013, Dr. Durrani performed surgery at WCH from 12:30.

1424. 011 January 16, 2013, Dr. Durrani performed surgery at WCH from 8145.

1425. 0n January 16, 2013, Dr. Durrani performed surgery at WCH from 12:00.

1426. 011 January 16, 2013, Dr. Durrani performed surgery on Francine Ford at WCH
2:00. 1

1427. 0n January 16, 2013, Dr. Durrani performed surgery at WCH from 3:135.

1428. 011 January 21, 2013, Dr. Durrani performed surgery on Michelle Byar at WCH.

1429. 0n January 21, 2013, Dr. Durrani performed surgery at WCH from 8:;45.

1430. 011 January 21, 2013, Dr. Durrani performed surgery on Amber Wor11 at WCH
11:00. 1

1431. 0n January 21 , 2013, Dr. Durrani performed surgery at WCH from l 11:30.

1432. 011 January 21, 2013, Dr. Durrani performed surgery at WCH from 2:15.

1433. 011 January 23, 2013, Dr. Durrani performed surgery at WCH from 8::45.

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1434. 011 January 23, 2013, Dr. Durrani performed surgery on Eddie Stallings at WCH
12:00.

1435. 0n January 23, 2013, Dr. Durrani performed surgery at WCH from 12:15.

1436. 0n.`1ar1uary 23, 2013, Dr. Durrani performed surgery at WCH from 3:1`15.

1437. 0n January 23, 2013, Dr. Durrani performed surgery on Tamathy Wilder at
WCH 4:00. 1

1438. On January 24, 2013, there was an email from Joseph to Durrani-1 “Atiq - I
hope all is well with you, your familyand your practice. Can you please `review the
below email and take some time to complete the below deficiencies ASAP. I know
completing medical records is the most painful part of our jobs (1 hate it 1Itoo), but
prompt medical record completion is needed for financial as well as mediolegal
reasons. Thanks, Atiq. KJ (This matter involved a chart missing, a dfc sdmmary
and a $119,098.45 claim BWC would not process without it.) 1

1439. 011 February 1, 2013, Dr. Durrani performed surgery on Chris Clark at WCH.

1440. 0n February 8, 2013, UC Health stops purchasing PureGen from LEyolution
Medical, LLC.

1441. 011 February 11, 2013 , Dr. Durrani performed surgery at WCH from 81:45.

1442. 1011 February 1 l, 2013, Dr. Durrani performed surgery on Joetta Nafe1at WCH
12:00. 1

1443. 0n February 1 1, 2013 , Dr. Durrani performed surgery at WCH from 1!2:45.

1444. 0n February 1 1, 2013, Dr. Durrani performed surgery 1011 Lenora Hag1gard at

WCH3;15. "

1445. 011 February 13, 2013, Dr. Durrani performed surgery at WCH from 8145.

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. Durrani performed surgery on Dana Conley at WCH
|

. Durrani performed surgery on Sandra Dennis at
. Durrani performed surgery on Veronica Yeakle at
. Durrani performed surgery at WCH from 8:45.

. Durrani performed surgery at WCH from 12:00.

. Durrani performed surgery at WCH from 12:30.

011 February 18, 2013, UC Health ends purchasing PureGen from Alphatec.

1446. 0n February 13, 2013, Dr
12:00.
1447. 0n February 13, 2013, Dr
WCH 12:40.
1448. 011 February 15, 2013, Dr
WCH.
1449. On February 18, 2013, Dr
1450. 011 February 18, 2013, Dr
1451. 0n February 18, 2013, Dr
1452.
1453. On February 18, 2013, Dr
WCH 2;20.
1454. 011 February 18, 2013, Dr
1455. 0n February 20, 2013, Dr
1456. 0n February 20, 2013,1Dr
9:15.
1457. On February 20, 2013, Dr
1458. On February 20, 2013, Dr
a. 011 February 20, 2013, Dr
2:10.
1459. 011 February 25, 2013, Dr
WCH 10:30.
1460.

. Durrani performed surgery on James McCain at

. Durrani performed surgery at WCH from 5:45.
. Durrani performed surgery at WCH from 8:45_

. Durrani performed surgery on Elaine Waxler at WCH
. Durrani performed surgery at WCH from 11:30.
. Durrani performed surgery at WCH from 12:00.

. Durrani performed surgery on Joan Jones at WCH

. Durrani performed surgery on Heather McCann at

011 February 25, 2013, Dr. Durrani performed surgery at WCH from 10:45.

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1461. 011 February 25, 2013, Dr. Durrani performed surgery on Marcia Quinn at WCH
1:50.

1462. 011 February 25, 2013, Dr. Durrani performed surgery on Eileen Brorein at WCH
5:10.

1463. 0n February 25, 2013, Dr. Durrani performed surgery at WCH from 2:05.

1464. On February 27, 2013, Dr. Durrani performed surgery on Paul Wilson at WCH
8:45.

1465. 0n February 27, 2013, Dr. Durrani performed surgery at WCH from 11:00.

1466. 011 February 27, 2013, Dr. Durrani performed surgery at WCH from 12:30.

1467. 011 February 27, 2013, Dr. Durrani performed surgery on Karen Taylor at WCH
l :1 5.

1468. 011 March 4, 2013, Dr. Durrani performed surgery at WCH from 8:45.

1469. 0n March 4, 2013, Dr. Durrani performed surgery at WCH from 1'.30.

1470. 0n March 4, 2013, Dr. Durrani performed surgery at WCH from 3:30.

1471. 0n March 4, 2013, Dr. Durrani performed surgery at WCH from 3:30.

1472. 0n March 6, 2013, Dr. Durrani performed surgery at WCH from 8:45.

1473. On Mareh 6, 2013, Dr. Durrani performed surgery at WCH from 12:30.

1474. 011 Mareh 6, 2013, Dr. Durrani performed surgery on Bunnavuth Chhun at
WCH 12:30.

1475. 0n March 6, 2013, there was an email from Tammy Benzinger to 1Tromba,

Hays, Hawk, Stephens, and Talbot. “Today I was at the surgical desk and an

employee stated to me that Dr. Durrani is going to get himself in a lot of trouble. He

call an employee “Mexican” all the time and had just called another employee a

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Jew. As part of management team I felt I needed to pass this information along to

the team. Thanks, Tammy.”

. Durraml performed surgery on Marcella Mc])onald at

0n March 11, 2013, Dr. Durrani performed surgery at WCH from 12:00_

1476. 0n March 11, 2013, Dr
WCH 8:45.
1477.
1478. On Mareh 11, 2013, Dr
WCH 12:15.
1479. 0n March 11, 2013, Dr
1480. 011 March 13, 2013, Dr
1481. OnMarch13,2013,Dr
1432. 011 March13, 2013, Dr
WCH at 12:00.
1483. 011 Mareh 13,2013,1)1
1484. 0n Mareh 20, 2013, Dr
1485. 0n March 20, 2013, Dr
1486. 0n March 20, 2013, Dr
1487. 011 March 20, 2013, Dr
1488. 0n March 25, 2013, Dr
1489. 0n March 25, 2013, Dr
1490. 011 Mareh 25, 201 3, Dr
1491. 0n March 25, 2013, Dr
1492. 011 Mareh 27, 2013, Dr
1493. 011 Mareh 27, 2013, Dr

. Durrani performed surgery on Debbie Rodriguez at

. Durrani performed surgery at WCH from 3:20.
. Durrani performed surgery at WCH from 8:45.
. Durrani performed surgery at WCH from 12:00.

. Durrani performed surgery on Lawrence Pridemore at

. Durrani performed surgery at WCH from 3:00.

. Durrani performed surgery on Terry Wilson at WCH.
. Durrani performed surgery at WCH from 8:45.

. Durrani performed surgery at WCH from 12:00.

. Durrani performed surgery at WCH from 12:00.

. Durrani performed surgery at WCH from 8:45.

. Durrani performed surgery at WCH from 12:00.

. Durrani performed surgery at WCH from 12:15.

. Durrani performed surgery at WCH from 2215.

. Durrani performed surgery at WCH from 8:45.

. Durrani performed surgery at WCH from 1:00.

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1494.

1495.

1496.

8:45.

1497.

1498.

1499.

3:15.

1500.

1501.

'1502.

11:30.

1503.

1504.

1505.

8:45.

1506.

1507.

1508.

1509.

1510.

1511.

011 March 27, 2013, Dr. Durrani performed surgery at WCH &om 4:15.
011 April l, 2013, Dr. Durrani performed surgery on Jane Reeder at WCH.

On April 1, 2013, Dr. Durrani performed surgery 011 Carol Pummell at WCH

011 April 1, 2013, Dr. Durrani performed surgery at WCH from 12:00.
011 April 1, 2013, Dr. Durrani performed surgery 011 Tim Osborn at WCH 12:00.

On April 1, 2013, Dr. Durrani performed surgery on Derrill Reynolds at WCH

0n April 1, 2013, Dr. Durrani performed surgery at WCH from 4:20.
011 April 3, 2013, Dr. Durrani performed surgery at WCH from 8:45.

011 April 3, 2013, Dr. Durrani performed surgery on Roger Johnson at WCH

0r1 April 3, 2013, Dr. Durrani performed surgery at WCH from 12:00.
0n April 3, 2013, Dr. Durrani performed surgery at WCH from 3:15.

0n April 3, 2013, Dr. Durrani performed surgery on Patricia Adams at WCH

011 April 8, 2013, Dr. Durrani performed surgery at WCH from l 1:55.
011 April 8, 2013, Dr. Durrani performed surgery at WCH from 12:00.
0n April 8, 2013, Dr. Durrani performed surgery at WCH from 1:15.
On April 8, 2013, Dr. Durrani performed surgery at WCH from 3120.
0n April 10, 2013, Dr. Durrani performed surgery at WCH from 8:45.

0n April 10, 2013 Dr. Durrani performed surgery 011 Karen Higginbothan at

WCH at 9:50.

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1512. 011 April 10, 2013, Dr. Durrani performed Surgery at WCH from 11:45.

1513. 011 April 10, 2013, Dr. Durrani performed surgery at WCH from 1:30.

1514. 0n April 10, 2013, Dr. Durrani performed surgery at WCH from 3:25.

1515. On April 15, 2013, Dr. Durrani performed surgery at WCH from 8:45.

1516: 0n April 15, 2013, Dr. Durrani performed surgery 011 Valerie Reeves at WCH at
11:00.

1517. On April 15, 2013, Dr. Durrani performed surgery at WCH from 12:00.

1518. 011 April 15, 2013, Dr. Durrani performed surgery at WCH from 2:15.

1519. 0n April 22, 2013, Dr. Durrani performed surgery on Christine Goldstein, at
WCH 8:45.

1520. 0n April 22, 2013, Dr. Durrani performed surgery at WCH at 1]:45.

1521. 011 April 22, 2013, Dr. Durrani performed surgery 011 Vicky Mains at WCH 2:40.

1522. On April 24, 2013, Dr. Durrani performed surgery at WCH. from 8:00.

1523. 011 April 24, 2013, Dr. Durrani performed surgery at WCH from 10:30.

1524. In May 2013, the Policy “Stop the Line” Adopted at WCH.

]525. In May 2013, Paula Hawk states West Chester begins a policy: “Stop the

Line” A policy called “stop the line” was implemented the same year and month

they kicked out Dr. Durrani. Paula Hawk admits at her deposition money is not

supposed to trump patient safety. She admits peer review is for hospitals to protect

each other. She admits hospitals are interested in volume, something Dr. Durrani

provided.

1526.

1527.

On May 23, 2013, Dr. Durrani performed surgery on Judith Gardner at WCH.

On June 29, 2013, Dr. Durrani performed surgery on Donna Rister at WCH.

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1528. 011 July 22, 20]3, Federal Criminal Complaint against Dr. Durrani was filed.

1529. On July 25, 2013, Dr. Durrani was arrested for Health Care Fraud and
Makjng False Statements.

1530. On July 27, 20]3, Elizabeth Dean emailed Eric Deters providing information
regarding Dr. Durrani at West Chester. `

1531. 011 July 29, 201 3, Dr. Durrani performed surgery on Joann Frazier at WCH.

1532. On August 2, 20]3, Vickie Scott emailed Eric Deters providing information
regarding Dr. Durrani at West Chester.

]533. On August 7, 2013, Dr. Durrani Was indicted.

1534. 0n September 13, 2013, Dr. Durrani performed surgery on Dolores Scott, at

WCH (Our last known Dr. Durrani surgery at West Chester. We were informed he

left in May.)

INFUSE/BMP-Z
I. BACKGROUNI) INFORMATION
1535. The Deters Law Firm, P.S.C., represents approximately 500 Plaintiffs in medical
malpractice actions against a former Northern Kentucky/Cincinnati-area spine surgeon
named Abubakar Atiq Dr. Durrani (Dr. Durrani), his company, Center for Advaneed
Spine Technologies, lnc. (CAST), and several area hospitals inciuding, but not limited to,
West Chester Hospital (WCH), University of Cincinnati Health (UC Health), Cincinnati

Children’s Hospital Medical Center (CCHMC), Christ Hospital, Deaconess Hospital,

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Good Samaritan Hospital and Joumey Lite of Cincinnati, LLC (Joumcy Lite)
(collectively Hospitals).

1536. Dr. Durrani performed unnecessary, fraudulent, dangerous, and ultimately
damaging surgeries on these Plaintiffs while working for and with these Hospitals.

1537. The scheme and artifice to defraud that Dr. Durrani devised, executed, and
attempted to execute While Working for and with the Hospitals included the following
patterns and practices:

a. Dr. Durrani persuaded the patient that surgery was the only option, when in fact
the patient did not need surgery.

b. Dr. Durrani told the patient that the medical situation was urgent and required
immediate surgery. He also falsely told the patient that he/she was at risk of grave
injuries without the surgery.

c. Dr. Durrani often told his cervical spine patients that they risked paralysis or that
his/her head would fall off if he/she was involved in a car accident, ostensibly
because there WaS almost nothing attaching the head to the patient’s body.

d. Dr. Durrani often ordered imaging studies Such as x-rays, CT scans, or MRls for
patients but either did not read or ignored the resulting radiology reports.

e. Dr. Durrani often provided his own exaggerated and dire reading of the patient’s
imaging study that was either inconsistent with or was plainly contradicted by the
radiologist’s report At times, Dr. Durrani provided a false reading of the imaging.

f. Dr. Durrani oii;en dictated that he had performed certain physical examinations

and procedures on patients that he did not actually perform.

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1538.

g. Dr. Durrani often ordered a pain injection for a level of the spine that was

inconsistent With the pain stated by the patient or with that indicated by the

imaging. Dr. Durrani also scheduled patients for surgeries without learning of or

waiting for the results of certain pain injections or related therapies.

. Dr. Durrani often dictated his operative reports or other patient records months

after the actual treatment had occurred.

Dr. Durrani’s operative reports and treatment records contained false statements
about the patient’s diagnosis, the procedure performed, and the instrumentation
used in the procedure

When a patient experienced complications resulting from the surgery, Dr. Durrani
at times failed to inform the patient of, or misrepresented the nature of, the

complicationsl

. All of the above-mentioned actions were done with the knowledge, cooperation,

or intentional ignorance of the Hospitals because Dr. Durrani was one of the
biggest moneymakers for the Hospitals.

In addition to the civil medical malpractice actions against Dr. Durrani, on August

7, 2013, he was indicted by the F ederal Government for performing unnecessary

surgeries and for defrauding the Medicare and Medicaid programs Specitically, the ten-

count complaint charged Dr. Durrani with health care fraud, in violation of 18 U.S.C. §

1347, and making false statements in health care matters, in violation of 18 U.‘S.C. §

1035. There was a subsequent superseding indictment adding over 30 counts.

1539.

Following these criminal indictments, in December of 201 3 and prior to the first

Plaintiffs trial in these actions, Dr. Durrani fled the United States and returned to

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Pakistan. He has not returned to the United States to face allegations of either criminal or
civil liability.

1540. Arnong Dr. Durrani’s and the Hospitals’ professional failings was the use of a
Synthetic bone-morphogenetic protein called BMP-2, which was marketed under the
trade name “Infuse.” Dr. Durrani used BMf»2anuse in ways that were either not
approved by the federal Food and Drug Administration (FDA) or that were specifically
contraindicated as noted on the FDA-approved product labeling The Defendants had full
knowledge of this fact.

1541. BMP-Z/lnfuse was, at the time of the surgeries in question, and currently still is
manufactured by a company called Medtronic, lnc. (Medtronic).

1542. Dr. Durrani predominantly used BMP-2/lnfuse on patients at WCH, which is
owned by UC Health.

1543. lt is Plaintiffs’ position that this non-FDA-approved use of BMP-2/lnque was not
only negligent, and fraudulent, but criminal based upon the manner in which it was
allowed to be used by Dr. Durrani at West Chester, all with the knowledge and full
Support of the Defendants.

ll. THE PLAYERS REGARDING BMP-Z

1544. Dr. Durrani is a citizen of the Republic of Pakistan and was a permanent resident
of the United States who, from approximately 2005 to 2013, worked as a spine surgeon in
and around Cincinnati, Ohio, until he fled the United States to escape civil liability and
criminal prosecution

1545. Medtronic is an lrish corporation, with its principal executive office located in

Dublin, Ireland, and its operational headquarters located in Minneapolis, Minnesota.

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Medtronic is the world’s third largest medical device company and manufactures and
markets BMP-2/lnfuse. Medtronic sales representatives were also present during the
experimental surgeries performed on Plaintiffs, who are clients of the Deters Law Firm.

1546. CAST was a corporation organized under the laws of Ohio and had business and
medical offices in Florence, Kentucky and Evendale, Ohio. CAST was owned, in whole
or in part, by Dr. Durrani.

1547. Bahler Medical, lnc. is a manufacturer of medical implants and is a corporation
located in the state of Ohio.

1548. David Rattigan is an Ohio resident and was and is a sales representative for
Medtronic. Further, he is affiliated With Bahler Medical, lnc., was involved in many of
the transactions involving BMP-2, and was present for the experimental surgeries in
which BMP-2 was used.

1549. West Chester Hospital, LLC is a corporation organized under the laws of 0hio. lt
provides medical facilities and billing support to physicians, including Dr. Durrani, in the
state of 0hio. WCH is owned by UC Health.

1550. UC Health is a private, non-profit corporation organized under the laws of Ohio.
lt provides medical facilities, management, administrative, ancillary, and billing support
to physicians, and it owns WCH.

1551. CCHMC is a medical facility in 0hio where Dr. Durrani was an employee until
approximately 2008.

IIl. WHAT IS BMP-ZIINFUSE?
1552. The full name of BMP-2 is “Recombinant l-luman Morphogenetic Protein-2” (also

called thMP-2). The following definitions apply:

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a. Recombinant - Artificially created in a |ab;
b- Morphogenetic - Evolutionary development of an organism;
c. Protein - Essential for growth and repair of tissue.
1553. Recombinant human protein (thMP-2) is currently available for orthopedic
usage in the United States. d
1554. Medtronic manufactured, marketed, sold, and distributed BMP-2 under the trade
name “lnfuse.”
1555. BMP-?_ has been shown to stimulate the production of bone.
1556. lmplantation of BMP-Z in a collagen sponge induces new bone formation and can

be used for the treatment of bony defects, delayed union, and non-union.

BMP-Z AS A BIOLOGIC

1557. BMP-2 is not a device, but instead it is a biologic. See July 2009 American
Medical Association Article and 2011 Stanford School of Medicine Article.

155 8. According to the FDA, “[a] ‘biological product’ means a virus, therapeutic serum,
toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product, or
analogous product, or arsphenamine or derivative of arsphenamine (or any other trivalent
organic arsenic compound), applicable to the prevention, treatment, or cure of a disease
01 condition of human beings (Public Health Service Act Sec. 351(i)1.” Available at
http://www.fda.gov/ICECl/lnspections/lOM/ucm12253 5 .htm.

1559. BMP-2 is a Bone-Morphogenetic Protein that is used to promote bone creation
and remolding and falls under the definition of a biologic. See AMA article (“bone

forming properties”) and Stanford Article. BMP-2 differs from a medical device in that

 

1 lt should be noted that a biologic can also meet the definitions of drug or device.
http;//www.fda.gov/ICECl/lnspections/lOM/ucm122535.1'1tm

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once implanted, it can only be removed days after surgery. If a patient had a
complication due to BMP-2 and did not discover this complication until year after
surgery, the patient could not have BMP-2 removed to reduce the complication because
BMP-2 is so integrated into the patient’s bone.

1560._ A patient has a right to determine what happens to his or her body and the
preservation of that right requires that the patient be informed when a bone growth

product, that causes irreversible harm, is placed in his or her body.

WHEN IS IT USED?
1561. Recombinant human BMPS are used in orthopedic applications such as spinal

fusions, non-unions, and oral surgery.

1562. The bone graft contains two parts. The first is a solution of human bone growth
protein or morphogenetic protein-2 This protein is found in the human body in small
dosages and is important for the healing and formation of bones. The protein is
genetically engineered to be utilized in the lnfuse Bone Graft product, and it is employed
for the stimulation of formation and growth in bones.

1563. The second part of the bone graft is an absorbable collagen sponge.

1564. Both components of the infuse Bone Graft structure are used to fill the LT-Cage
Lumbar Tapered Fusion Device. This chamber is intended to restore the deteriorated disc
space to its original height.

1565. FDA-approved use for the lnfuse Bone Graft product is only for lower back
surgery using an anterior lumbar interbody fusion (ALIF), a technique where the

operation on the spine is conducted through the abdomen.

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1566. ln addition, the lnfuse Bone Graft product must be used in conjunction with
Medtronic’s LT-Cage. Use of BMP-2 without the LT-Cage is considered an “off»label”

US€.

CONTRAINDICATIONS OF USE

1567. The FDA specifically warns against the use of lnfuse in the cervical spine, citing
reports of “life-threatening complications.”

1568. Any use of lnfuse other than in lumbar spine surgeries with the LT-Cage is
considered “off-label” use

1569. Infuse should never be used on the skeletally immature patient, i.e., in patients
less than 18 years of age or those with no radiographic evidence of epiphyseal closure.

1570. Infuse should never be used in the vicinity of a resected or extant tumor.

1571. lnfuse should never be used in those patients known to have active infection at the

surgical site.

RISKS ASSOCIATED WITH OFF-LABEL USE

1572. When used in an off-label manner, patients may experience problems with
pregnancy, including but not limited to: complications in fetal development; allergic
reactions to titanium, bovine type l collagen, or bone morphogenetic protein-2', infection;
the creation or intensification of tumors; liver or kidney disease; lupus or human
immunodeficiency virus (HlV/AIDS); problems with radiation, chemotherapy, or steroids
if a patient is malignant; paralysis; bowel and/or bladder dysfunctions; sexual disorders,
including sterilization and incompetence; respiratory failure; excessive bleeding, and;

death.

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I`V. THE REGULAT()RY PR()CESS

1573. The Medical Device Amendments (MDA) to the federal Food, Drug, and
Cosmetic Act, 21 U.S.C. § 301 et seq., established two separate approval processes for
medical devices: Pre-Market Approval (PMA) and Pre-Market Notification.2

1574. The FDA's PMA process is lengthy and involves extensive investigation by the
FDA_ The PMA application requires manufacturers to submit extensive animal and
human data to establish their devices' safety and effectiveness.2l C.F.R. § 814.20.
Frequently, an experimental program under close FDA scrutiny must be successfully
completed before FDA approval can be obtained under this process. FDA regulations
also require PMA applicants to submit copies of all proposed labeling for the device 2_1
C.F.R. § 814.20(b)(10). The FDA approvesa PMA application only after extensive
review by the agency and an advisory committee composed of outside experts. 21 C.F.R.
§814.40.3

1575. ln contrast, the FDA’s Pre-Market Notification process is more abbreviated and
involves less FDA oversight This process requires applicants to submit descriptions of
their devices and other informationnecessary for the agency to determine whether the
devices are substantially equivalentl Pre*Market Notification applicants must also
submit their proposed labeling 21 C.F.R. § 807.87. lf the FDA determines that a device
is substantially equivalent to a device that was on the market prior to the enactment of the

MDA in 1976, the applicant is free to market the device.

 

2 Fender v. Medtrom`c, 837 F.Supp. 1326 fn l (E.D. Cal.l995).

3 render v. Medimnrc, 837 F.supp_ 1326 s1 i (E.D. cai.1995).

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1576. BMP-2 received PMA (PMA number P000058) for the lnfuse/BMP-Z Lumbar
Tapered Fusion Device, which PMA provided for limited use with specific requirements

for its use on individuals See Medtronic Package lnsert.

SCOPE OF THE PMA ANI} PRODUCT LABELING
1577_ The PMA for BMP-2 provided that the product may only be used in patients with
the following characteristics:
d. Skeletally mature patient, AND
e. At levels L2-Sl, AND
f. Confirmed degenerative disc disease (DDD), AND
g. Using only an open anterior or anterior laparoscopic approach, AND4
h, Six months of non-operative treatment prior to treatment With the device, AND
i. ln combination with the metallic LT-CAGE.5
See Medtronic Package Insert, “INDICATIONS.”
1578. According to Medtronic’s package insert for BMP-2/Infuse as well as other
industry literature, the following risks are associated with the use of BMP-2/lnfuse:
A. Male Steiility
B. Cancer
C. lncreased progression of cancer
D. Suffocation of the cervical region

E. Bone fracture

 

4 The anterior interbody fusion approach was developed because the risk of non-union (pseudarthrosis) is
significantly higher in posterior approaches The biggest risk factor for fusion surgery is non-union.

5 Instrumented fusions involve hardware and are more stable fusions with a shorter recovery time than non-
instrumented fusions.

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F. Bowelfbladder problems

G. Loss of spinal mobility or function

H. Change in mental status

l. Damage to blood vessels and cardiovascular system compromise
]. Excessive bone mass blocking the ability to treat pain
K. Damage to internal organs and connective tissue
L. Death

M. Respiratory problems

N. Disassembly and migration of components

0. Dural tears

P. Ectopic and exuberant bone formation

Q. Fetal development complications (birth defects)
R. Foreign body (allergic) reaction

S. Gastrointestinal complications

T. Incisional complications

U. lnfection

V. lnSufflation complications

W. Neurological system compromise

X. Non-union

Y. Delayed union

Z. Mal-union

AA.Change in curvature of spine

BB.Retrograde ejaculation

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CC. Scars l
DD. Tissue and nerve damage t
searching §
FF. Pain

GG.Hematoma

HH. Anaphylactic reaction

ll. Elevated erythrocyte sedimentation rate

1579. Injury Percentages:

j. Ectopic Bone Growth-63%

k. Inflamrnatory Neuritis-l 5%

l. Osteolysis/Subsidence-l 3%

m. Acute Swelling-7%

n. Retrograde Ejaculation-2%

o. 85% of time, BMP-2 implanted in off~label use
1580 Not a single one of these risks in the last two paragraphs were ever explained to a

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single patient at West Chester by Dr. Durrani. l

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1581. BMP-Z was NOT approved by the FDA for use in the cervical and thoracic spine
and BMP-2 was NOT safe or approved for use in children less than 21 years of age.

These uses are considered “off-label.”

“OFF-LABEL” USE

1582. A use of a device is considered “off-label” if it is not approved under the Pre-

Market Approval process OR cleared for such use pursuant to 21 U.S.C. § 360c(f) (also

known as “the 510k premarket notification process”).

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1583. Infuse can be implanted in an off-label manner in three ways:
p. Approach/position: Any approach other than an anterior approach;
q. Product: Failure to use LT-Cage (or any cage); mixing thMP-.;'Z with other
grafting products like Allograft or Autograft', 4
r. l)iscs: Use on multiple levels or on a level outside of L2-Sl. l
1584. Dr. Durrani and the Hospitals in which he performed surgeries relieatedly used

BMP-2 in these non-FDA-approved manners.

THE NON-COMPLIANCE WlTH THE REGULATORY PROCESS
1585. The PMA 000058 “Conditions of Approva]” specifies the following condition:
“Before making any change affecting the safety or effectiveness of the device, submit a
PMA supplement for review and approval by the FDA [a] PMA supplement or
alternate submission shall comply with applicable requirements under 21 C.F.R.
814.39[.]” i
1586. 21 C.F.R. 814.39 requires a PMA supplement pursuant to subsection (a)(l) for
new indications of use of the device and pursuant to subsection (a)(6) for changes in
components

1587. The PMA 000058 “Conditions of Approval” notes the post-marketing reporting
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requirement imposed by 21 C.F.R. 814.84, particularly “Identification§of changes

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described in 21 C.F.R. 814.39(a).” Medtronic did not comply with this requirement

relating to the intended uses and componentry. l
1588. The FDA can impose post-approval requirements in the PMA puisuant to 21
C.F.R. 814.82, and this fact results in the device being characterized as 1 “restricted”
pursuant to 21 U.S.C. § 360j(e) for purposes of2l U,S.C. § 352(q). Section 352(q) states

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that any restricted device that is distributed or offered for sale with false o'_r misleading

advertising is “misbranded.”

1589. “lndications for use” is a necessary part of the PMA application and the
“Indications for use” are required to be limited by the application Any different use is
inconsistent with the PMA. ` l

1590. A device that fails to meet the requirements of the PMA or 21 C.F.R. 814 is
“adulterated” as defined by 21 U.S.C. § 351(f).

1591. 21 C.F.R. 801.6 defines a misleading statement related to a DIFFERENT device
contained in the label delivered with the device intended to be used will render the device
to be used misbranded l

1592. Medtronic did not apply for a PMA supplement, as required by the FD§A generally
and PMA 000058 specifically, for the off-label uses, nor did it provide warnings of the
risks known about the off-label uses. All named Defendants in these casesiknew about
the occurrences of off-label use.

1593. The PMA requires an application prior to marketing for new indicated uses by
incorporating the federal requirements and explicitly reciting the text of 21 CiF.R. 814.39
and 814_84 and by specifically stating the range of indicated uses on the PMA.

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MEDTRONIC l

1594. ln or about 2001, Medtronic began preparing for the launch of two sipinal fusion
products, PYRAMID and lNFUSE (BMP-2), which it projected would i:enjoy broad
application with spinal surgeons and their patients on a nationwide basis. !

1595. Medtronic anticipated that both products would initially be limited in application
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1596. Motivated by greed and a desire to gain competitive advantiige in the
marketplace, Medtronic began a course of conduct designed to broaden the application of
both products by end-users The course of conduct involved fraud, falsei statements,
material misrepresentation, and deceit for the purpose of broadening the sales of these
products beyond that which the usual acceptance within the scientific coinrnunity or
regulatory approval would otherwise allow.

1597- On or after July 2, 2002, Medtronic received notification that its Pre»Market
Approval application for its BMP-Z/lnfuse bone graft products had been approved by the
FDA. However, such approval was limited to the application of the device from the L4
through Sl levels. Further, the approval mandated the conduct of post-approval studies to
evaluate the long~term performance of the BMP-2 bone graft and to study the potential
side effects and complications such as the promotion of tumors by the bone
morphogenetic protein component of BMP-2. Other studies were conducted its well. See
“Allegations against Medtronic in the Unsealed Mississippi False Claims Cas<:z.”

1598. Medtronic engaged in a fraudulent course of conduct designed to rr:iaximize its

revenues from BMP-2, regardless of whether it would eventually be allowed do remain on
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the market,

1599. One of the physicians Medtronic co-opted into its fraudulent scheme was a

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Thomas A. Zdeblick, M.D. Dr. Zdeblick was an orthopedic surgeon whose invention, the

LT-Cage, was the only approved device to act as the delivery vehicle for BMP-Z into the

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1600. Dr. Zdeblick enjoyed a position within the scientific community as a Key Opinion
Leader, and he was both a practicing orthopedic surgeon and professor at the University
of Wisconsin. §
l601. ln one of Dr. Zdeblick’s first attempts to tout his LT-Cage and thth-2, which
would become the active ingredient in the ultimate lnfuse/BMP-2 droduct, he
encountered some drawbacks to his goal of promoting his and Medtronicls products,
which arose from the policy of certain industry journals, including the joi;irnal Spine,

which followed industry standards before printing peer-reviewed material See article in

the journal Spine, published in 2000. j

1602. Not only were the drawbacks related to industry publishing standade, but the

National Consumer Health lnforrnation and Health Promotion Act of 1976 enacted

certain provisions at 42 U.S.C. § 300u, et seq., whereby the Federal Govei‘nment had
entered the field of medical research publication Such standards promulgated by the
Secretary of the predecessor to the U.S. Department of Health and Humzin Services
required that applications for grants and contracts must be subject to “appropriate peer
review,” See 42 U.S.C, § 300u-l.

1603. The drawbacks encountered with the peer-reviewed Spine article were its follows:

a. Attribution that the study was “sponsored by Medtronic Sof`amor Danek, lnc.;”

b. The study was conducted under FDA regulations, and was “...des'igned as a
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prospective, multicenter, nonblinded, randomized, and controlled pilot study;”
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and l

c. lt was accompanied by a cautionary comment, or Point of View, which minimized

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the exuberance and import of the article.

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1604. In the article, BMP-2 was touted by Zdeblick and the co-authors aslthe potential

realization of a dream of Dr. Marshall Urist, a revered pioneer in the industry and
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discoverer of BMP, where it closed with the following: “...it is encouraging to note that

Marshall Urist’s seminal observation made more than 34 years ago may finally come to
clinical fruition.”

1605. ln the Point of View, a Dr. John O’Brien of London questioned whether there
could be long-term problems associated with the product. He treated Zdeblick’s study
with caution and pointed out that simple plaster of Paris has achieved the same or similar
results more th_an 50 years prior. He posited that, “[p]erhaps vascularizatii)n...fixation
procedures are as important as the biochemical composition of the ‘filler.”’ l

1606. Vascularization is achieved through removal of the disc material between two
vertebral bodies and then the scraping of the surfaces of the vertebral bodies in a fusion
procedure', fixation is the process of securing the motion segment through medical
hardware In other, if the alternative proposed by Dr. O’Brien proved: to achieve
equivalent or better results, Zdeblick and Medtronic’s Infuse/BMP-2 produdts would be
useless and unnecessary l `:

1607. Certain efforts would follow in an attempt to alleviate the drawbacks encountered
with the 2000 Spine journal article. l

1608. ln 2002, Dr. Zdeblick was installed as the sole editor-in-chief of a medical journal
known prior to his installation as the Journal ofSpinal Disorders. Prior to his installation,
the journal enjoyed a fourteen year history under the co-editorship of Dr. Dan Spangler

and Dr. Tom Ducker. Once installed, Dr. Zdeblick successfully supplanted Drs. Dan

Spengler and Tom Ducker and became the sole editor-in-chief, a position which would

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enable him to have greater control and would aid his participation in tlie fraudulent

scheme.
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1609. During this same time period, Dr. Zdeblick also enjoyed a position on the

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associate editorial board of the medical journal Spine, the leading publication covering all

disciplines relating to the spine.

1610. ln one of Dr. Zdeblick’s actions as editor-in-chief, he set about re-p'urposing the

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journal in a way that would aid him in the furtherance of the fraudulent scheme through

the streamlining of the publication process.

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1611. In furtherance of the fraudulent scheme, Dr. Zdeblick re-purposed the journal and

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renamed it the Journal ofSpinal Disorders and Technz'ques (JSDT), announ¢':ing that the

new journal was “entering a new partnership with Spine.” As part of this 1partnership,
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Spine would “continue to function as a broad-based scientific journal” tailored to both

clinicians and scientists However, the Journa! of Spinal Disorders and; Techniques

would be directed Solely to physicians in clinical practice.

1612. Dr. Zdeblick’s stated goal was “to provide a forum for up-to-date techniques..,”,
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and in furtherance of that goal, Dr. Zdeblick announced that his journal Would publish
Class ll or better clinical articles but would “occasionally accept cutting e`ldge articles
with less than one year follow-up.” To justify this streamlined process, 01 Zdeblick
claimed as his goal the ability of his journal “to keep up with the fast pace of progress in
the treatment of spinal patients.” n

1613. Arm-in-arm with Medtronic and others, Dr. Zdeblick would in short jorder abuse

his position of trust as the editor-in-chief of JSDT.

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1614. ln the October 2002 edition, .1 SDT published an article entitled, “Antefior Lumbar
Interbody Fusion using thMP-2 with Tapered Interbody Cages.” This article was co-
authored by, among others, Curtis A. Dickman, M.D., who was a ddveloper of
Medtronic’s PYRAM]D plate and who has been paid significant sums by: Medtronic
through royalty agreements consulting agreements, and education training arld speaking
agreements

1615. ln addition to his interest in the PYRAl\/lll) plate, Dr. Dickman h'_ad assisted
Medtronic in the approval process for Iniilse/BMP-2. As part of the pre-approval hearing
process, Dr. Dickman and his Barrow Neurological Associates Group oLf Phoenix,
Arizona had submitted a letter to the meeting of the FDA’s Orthopedics and
Rehabilitation Devices Advisory Panel, which met on January 10, 2002. ln that letter, Dr.
Dickman represented that “approval of BMP would provide a significant advance for
patient outcome and satisfaction following spinal fusion.”

1616. In the October 2002 issue of JSDT touting the benefits of Infuse/BMP-2, Zdeblick
and others failed to disclose their financial_ties to Medtronic, though industry standards
require such acknowledgement Not only did Dr. Zdeblick fail to disclose that he profited
from each and every surgery which Infuse/BMP-2 was used through rights in the
exclusive delivery vehicle, his LT-Cage, but no reference whatsoever to their financial
ties to Medtronic was made either by Dr. Zdeblick or Dr. Dickman.

1617. For years, the recognized gold stande for spinal bone grafts has beenF the use of

autogenous bone, or bone harvested from the patient’s own iliac crest, or..hip bone.

Medtronic designed to have its lnfuse/BMP-2 product supplant autogenous bone as the

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gold standard in the medical community, and utilized false statements h fraudulent
enterprise and the support of Federal funds to do so. ‘

1618. As part and parcel of Medtronic’s fraudulent scheme, the October 2002 study was
published in Dr. Zdeblick’s joumal three months after Medtronic received FDA approval
for lnfuse. As the article shows, it was actually received on March 28, 2002 or after Dr.
Zdeblick had accomplished installment as the editor-in-chief, and was accepted by Dr.
Zdeblick’s journal for publication on July 30, 2002.

1619. At the same time Dr. Zdeblick’s journal was publishing the initijil article on
lnfuse, Dr. Zdeblick was already finalizing and preparing for subsequent p:ublication a
follow-up article to tout Infuse potentially as the new gold standard A seconi;:l article, co-
authored by Dr. Zdeblick and two other co-authors of the original article, was entitled “ls
Infuse Bone Graft Superior to Autograft Bone‘? An lntegrated Analysis of Clinical Trials
using the LT-Cage Lumbar Tapered Fusion Device.”

1620. This second article was published in Vol. 2 of 2003 and once again, there was no
mention of Dr. Zdeblick’s financial ties to Medtronic.

1621. This second article would serve as the second covert advertisement for the Infuse
product, and the article states that “the purpose of our analysis was to investigate the
potential statistical superiority of Infuse bone graft to autograft. . .” `

1622. This second article went on to announce the July 2002 FDA approvall of thl\/lP-

2.

 

1623. This article included as an “acknowledgment” an expression of graiitude to the
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physicians “who provided patients for this study and to the clinic research group at

Medtronic Sofamor Danek for their help in data collection and statistical analyses.”

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However, the article still failed to advise the medical community that some- or all of the

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authors reaching these conclusions touted as monumental had direct financial interests

tied to those conclusions l
]624. Rather, the failure to report these clear conflicts of interest on the part of those
holding positions of trust both within the medical community and over patients was part

of Medtronic’s fraudulent enterprise However, unchecked by appropriate peer review,

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Medtronic was able to systematically accomplish their goals.
1625. In its 2003 Annual Report, and without recognizing that Zdeblick was being paid
by Medtronic, Medtronic cited to Zdeblick’s 2003 as reporting that Infuse “. . .may
become the new gold standard in spinal fusion surgery.”
1626. By its 2006 Annual Report, if not earlier, Medtronic had removeh all doubt,
declaring that after its introduction in 2002, “lnfuse Bone Graft quickly becaime the gold
stande for certain types of lumbar fusion.”

]627. Medtronic’s fraudulent scheme was successful and resulted in a revenue stream

ranging from 700 to 900 million dollars per year. l

1628. lt has been reported that around the same time these stories about §Infuse were
published, editors at the Spine Joumal began receiving complaints from doctors around
the country who were pointing out contradictions between papers published by doctors
with financial ties to Medtronic and other data involving Infuse complications.’ See
Joumal Semr`nel' article of John Fauber.

1629. Through the use of these sham consulting, royalty and education/training

agreements with its physician agents in this fraudulent enterprise, Medtronic has reaped

windfalls in the billions of dollars. Medtronic has used this fraudulent enterprise and_civil

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conspiracy to drive its vast profits and enhance its market position beyond that which it
_ would have realized without engaging willfully, knowingly and potentially deliberate,
conscious, or reckless indifference in the fraudulent enterprise and' fraudulent
concealment See Mississippi case.
1630. Defendants had full knowledge of all these facts pertaining to Medtronics.
VI. FDA PUBLIC HEALTH NOTIFICATION lt

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1631. On July l, 2008 the FDA issued a Public Health Notification entitled “Life-

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Threatening Complications Associated with Recombinant Human Bone Mo:rphogenetic

Protein in Cervical Spine Fusion.” l
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1632. This notification was sent to health care practitioners all across the Uhited States
warning of the complications associated with BMP-2, specifically when iised in the
cervical spine.

1633. ln the notification the FDA stated they received at least 38 reports of
complications during the prior four years with the use of BMP-2 in cervical spine fusions.

1634. The complications were associated with swelling of the neck and throat areas,
which resulted in compression of the airway and/or neurological structures in the neck.

1635. Some reports describe difficulty swallowing, breathing or speaking{and severe
dysphagia following cervical spine fusion using BMP-2 products had also beei;i reported.

1636. The notification further stated that, “since the safety and effectivenesi‘, of thMP
for treatment of cervical spine conditions has not been demonstrated, and in :light of the
serious adverse events described above, FDA recommends that practitioners either use

approved alternative treatments or consider enrolling as investigators in approved clinical

studies.

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1637. The Notification further emphasized the importance of fully informing patients of
these potential risks and said that patients treated with BMP-2 in the cervical spine should

know: lt

s. The signs and symptoms of airway complications, including difficullty breathing

or swallowing, or swelling of the neck, tongue, mouth, throat and hhoulders or
upper chest area j

t. That they need to seek medical attention immediately at the first sign Eof an airway
complication j

u. That they need to be especially watchful 2-14 days after the procedure when
airway complications are more likely to occur l

v. thMP-Z (contained in Infuse Bone Graft) has received pre-market :approval for

fusion of the lumbar spine in skeletally mature patients with degetierative disc

disease at one level from L2~S] and for healing of acute, openl tibial shaft

fractures stabilized with an IM nail and treated within 14 days of the iiiitial injury

1638. Additionally, BMP is not approved in any manner for use in patieiits who are
skeletally immature (<18 years of age) or pregnant l

1639. Dr. Durrani and the Hospitals ignored ALL of these warnings and used BMP-2 in

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cervical spine surgeries, children, and those with known compromising fac;tors such as

osteoporosis, smoking, and diabetes.
1640. Furthermore, the Notification stated that the FDA requires hospitais and other

user facilities to repoit deaths and serious injuries associated with the use of medical

devices.

 

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1641. The Hospitals that allowed Dr. Durrani to use BMP-2 in their facilities failed to

report any complications resulting from his use of BMP-2.

V“_ll. SENATE FINANCE COMMITTEE REP()RT
1642_ Medtronic’s actions did not go unnoticed, and in June of 2011 the Senate Finance
Commi'ttee began an investigation into the fraudulent_actions of Medtronic.
1643. Medtronic produced more than 5,000 documents pertaining to 13 different studies
of BMP-2 for the investigation t
1644 On October 25, 2012, Senate Finance Committee Chairman Max l3aucus (D-
Mont.) and senior member Chuck Grassley (R-lowa) released the results of their 16-

month investigation into Medtronic, which revealed questionable ties between the

medical technology company and the physician consultants tasked with testing and

. . . l
reviewing Medtronic products i

1645_ The investigation revealed that Medtronic employees collaborated with physician
authors to edit and write segments of published studies on BMP-2/Infuse vvithciut publicly
disclosing this collaboration

1646. These fraudulently-produced studies may have inaccurater represented BMP-2’s
risks and may have placed added weight on the side effects of alternative treatments

1647. The Senate investigation further found that Medtronic also maintained significant,
previously undisclosed financial ties With physicians who authored studies about BMP~2,
making $210 million in payments to physicians over a lS-year period.

1648. Senator Baucus stated, “Medtronic’s actions violate the trust patients have in their
medical Care. Medical joumal articles Should convey an accurate picture of th'e risks and

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benefits of drugs and medical devices, but patients are at serious risk when companies

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distort the facts the way Medtronic has. Patients everywhere will be bettei' served by a
more open, honest system without this kind of collusion.”

1649. Senator Grassley stated, “The findings also should prompt medical journals to
take a very proactive approach to accounting for the content of the articles along with the
authorship of the articles and the studies they feature. These publications are prestigious
and influential, and their standing rests on rigorous science and objectivit:y. lt’s in the
interest of these journals to take action, and the public will benefitiE from more
transparency and accountability on their part.”

1650. Major findings of the investigation include:

a. Medtronic was involved in drafting, editing and shaping the content of medical
journal articles authored by its physician consultants who received significant
amounts of money through royalties and consulting fees from Medtronic. The
company’s role in authoring or substantially editing these articles was not
disclosed in the published articles. Medical journals should ensi;ire that any
industry role in drafting articles or contributions to authors is fully dis:closed.

b. Medtronic paid a total of approximately $210 million to physiciaii authors of
Medtronic-sponsored studies from November 1996 through December 2010 for
consulting, royalty and other arrangements

c. An e-mai] exchange shows that a Medtronic employee recommended against

publishing a complete list of adverse events, or side effects, possibly associated

with BMP-2/Infuse in a 2005 Joumal ofBone and Joi`n! Surgery article

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d. Medtronic officials inserted language into studies that promoted BMP-2 as a
better technique than an alternative by emphasizing the pain associatied with the

altemative.

e. Documents indicate that Medtronic prepared one expert’s remarks to the FDA
advisory panel meeting prior to BMP-2 being approved. At the timej the expert
was a private physician but was later hired to be a vice president at Medtronic in
2007.

f. Medtronic documents show the company successfully attempted to adjopt weaker
safety rules for a clinical trial studying BMP-2 in the cervical spine lthat would
have allowed the company to continue the trial in the event that patients
experienced severe swelling in the neck. l

Vlll. YODA STUDY

1651. In response to the various controversies surrounding BMP-2/lnfiise, including a
June 2011 article in the journal Spine, the Yale University Open Data Access (YODA)
team reached an agreement for Medtronic to provide full individual participant data from
all their trials of thMP-2 and allow unrestricted independent re-analysis of this data.

1652. The YODA study involved research teams at two universities - the University of
York and the Oregon Health and Science University. z

1653. The review focused exclusively on the use of thMP-2 in patients i:indergoing
spinal fusion surgery for treatment of degenerative disc disease, spondylolisthesis, or any

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other relevant spinal condition f

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1654. The three main objectives of the study were: 1) to examine the potential benefits
of BMP-Z, 2) to examine the potential harms of BMP-2, and 3) to assess the rizliability of
t
the published evidence base.
1655. Medtronic submitted data from 17 studies, including 12 randomized' controlled
trials (RCTS). l
1656. In total, the YODA study analyzed the data from 1,409 participants l
1657. Though the results showed moderate success with fusions as a result of BMP-2,
the study found that BMP-2 results in several different complications includinl.g: aithritis,
implant-related events, retrograde ejaculation, wound complications, and neurological,
urogenital, and vascular events. l
1658. In regard to the alleged tampering with the peer-reviewed studies by Medtronic,
the YODA study found that only two out of twenty peer-reviewed journal pilblications
reported a comprehensive list of all adverse events that occurred during the studies.
l

1659. Furtheirnore, the way in which adverse event data was presented in thh literature

was inconsistent, and the rationale for presenting some adverse events but not others was
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rarely clear_
1660. The study concluded that for the period up to 24 months after surgery, treatment
with BMP-2 increases the probability of successful fiision (according to il\/Iedtronic
definitions and reports, which the study noted “were subjective so it is not possible to
confirm whether reported successful fusions truly were successful” see YOD./JE\ Study, p.
35) but this does not translate to clinically meaningful benefits in pain§reduction,
function, or quality of ]ife. The small benefits in these outcomes observed from six

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months onward come at the expense of more pain in the immediate post-operative period
and a possible increased risk of cancer. '

1661. Even more relevant to the case against Dr. Durrani and the Hospitals is the
YODA study’s conclusion that, “[i]t is very important that these findings are expressed
clearly and discussed with patients so that they can make informed choices about the type
of surgery they would prefer.” Id.

1662. The University of Oregon Study determined that Infuse/BMP-2 is not better than
Autograft, while the University of York study determined that lnfusefBMP-Z offers only
a slight and not statistically significant advantage over Autograft.

1663. The YODA study concluded that Medtronic “misrepresented the effectiveness
and harms through selective reporting, duplicate publication, and underreporting.”

1664. Adverse event categories such as heterotopic bone formation, osteolysis, and
radiculitis were not included in participant databases or internal reports', therefore, the
safety profile was not fully assessed

1665. The YODA study further concluded that Medtronic was involved'in drafting,
editing, and shaping the content of medical journal articles on lnfuse/BMP-2 authored by
its physician consultants who received significant amounts of money through royalties
and consulting fees from Medtronic. The company’s significant role in authoring or
substantively editing these articles was not disclosed in the published articles.`

1666. Medtronic paid a total of approximately $210 million to the physician authors of
Medtronic-sponsored studies on Infuse from November 1996 through 2010 for

consulting, royalty and other arrangements

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1667. An email exchange showed that a Medtronic employee recommended against
publishing a complete list of adverse events or side effects possibly associated with
Infuse in a 2005 Journal of Bone and Joint Surgery article.

1668. Medtronic officials inserted language into studies that promoted Infuse as a better
technique than an alternative procedure by overemphasizing the pain associated with the
alternative procedure.

1669. Medtronic’s actions violated the trust patients have in their medical care- Medical
journal articles should convey an accurate picture of the risks and benefits of drugs and
medical devices, but patients are at serious risk when companies distort the facts the way
Medtronic has. See United States Senate Committee on Finance, October 2012.

1670. lnfuse was intended for a single level anterior lumbar interbody fusion performed
with all three components in a specific spinal region. The three components are a tapered
metallic spinal fusion _ cage (NOT PLASTIC), a recombinant human (BMP) bone
Morphogenetic Protein, and a carrier/scaffold for the BMP and resulting bone. The Infuse
product is inserted into the LT-CAGE Lumbar tapered Fusion Device component to form
the complete Infuse Bone Graft/LT-Cage Lumbar Tapered Fusion Device. These
components must be used as a system_ The Infuse Bone Graft component must not be

uses without the LT-Cage Lumbar Tapered Fusion Device componentl

1671. BMP-2 is not supposed to be used in minors.
1672. BMP-2 is not supposed to be used with smokers and diabetics becausle of vascular
slowing.

1673. BMP-2 should not be used with women in child bearing years.

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1674. BMP-2 is contraindicated for patients with a known hypersensitivity to thMP-2
and should not be used in the vicinity of a resected or extant tumor, in patients'with active
malignancy, or in patients undergoing treatment for a malignancy.

IX. DR. DURRANI AND BMP-2

ld75. Despite all of these warning signs, Dr. Durrani, with the full knowledge of the
Defendants, continued to use BMP»Z in ways not approved by the FDA, or in an “off-
label” manner.

1676. As early as 2007, Dr. Durrani and UC Health knew there were issues with BMP-2

because insurance companies such as Anthem were refusing to pay for BMP-Z.

1677. Medtronic provided in writing to Dr. Durrani and CAST the approved uses for
Infuse/BMP-Z.
16')'8. However, Dr. Durrani and the Defendants continued to use BMP-Z in off-label

ways, including but not limited to:

a. Using BMP-Z/Infuse in children, despite Medtronic specifically requiring it be
used only in “skeletally mature patients;”

b. Using it outside the L2-Sl level of the spine;

c. lgnoring the requirement that BMP-Z/lnfuse only be used for Grade l
spondylolisthesis or Grade l retrolisthesis;

d. Not requiring at least six months of non-operative treatment prior to the use of
BMP~Z/lnfuse;

e. Using BMP-Z/lnfuse without the required cage;

f. Not using the “carrier scaffold” in conjunction with BMP-Z/Infuse as required;

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g. Using BMP-Z/Infuse without proper training despite Medtronic’s warning,
“Caution: Federal (USA) law restricts this device to sale by or on the order of a
physician With appropriate training or experience.”

1679. Dr. Durrani was a paid consultant for Medtronic.

1680. According to Dr. Durrani’s own deposition testimony in several cases, Medtronic
required one of` their representatives to be present in the operating room when its product
BMP-Zflnfuse is used.

1681. Because Medtronic representatives were present in these surgerics, Medtronic
knew when Dr. Durrani used BMP~Z/lnfuse outside the approved uses according to
Medtronic’s own guidelines

1682. Dr. Durrani was encouraged by Medtronic to obtain peer review and published
studies from Medtronic sales representatives to support his use of BMP-Z/Infuse.

1683. Dr. Durrani was encouraged by Medtronic to be an advocate f`or his patients and
describe how BMP-Z/lnfuse technology can benefit them.

1684. When asked how he got his Medtronic grant, Dr. Durrani responded, “You apply
to the Medtronic’s corporate and say this is what we want to do, like everybody else in
the country appliesJ and then they come and evaluate the thing and say, “Okay, we think
it’s worthy. We’ll give you the grant.”

1685. ln regard to his role as a Medtronic consultant, Dr. Durrani stated, “lf there are
certain products that they help us in developing, then they will come to us for a certain
consultant role for a certain product development.”

l686. Dr. Durrani`also stated, “I was involved in the development of the minimally

invasive spine instrumentation.”

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1687. Dr. Durrani gave conflicting reports on his financial relationship with Medtronic.

1688. ln a deposition, when asked when his relationship with Medtronic began, Dr.
Durrani responded “2000-it’s 2003, ’04. Something in that category I’m not sure. lt’s on
the Medtronic website. You can go look at it.”

1689.` Medtronic’s website has no information regarding their relationship with Dr.
Durrani.

1690. ln another deposition, Dr. Durrani stated he began his relationship With Medtronic
in “2005 or ’06."’

1691. Dr. Durrani also gave conflicting reports on how much compensation he received
from Medtronic for his consultation services

1692. In one deposition, Dr. Durrani stated in response to an inquiry as to how much
payment he received, “It’s a standard compensation Again, it’s on the website, how
much they’ve paid us.”

1693. Again, this information is not available on the Medtronic website.

1694. In another deposition, when asked if he received income from Medtronic, Dr.
Durrani replied, “No, l don’t.”

1695. When questioned fiirther if he received a fee as a consultant, he stated, “lf you do
a work, there is a contractual obligation that they have to pay you. As l told you in my
last depositionJ they did declare it on their website, so you can actually go on the website
and see how much they paid.” l

1696. ln another deposition, Dr. Durrani stated that he received, “less than 310,000 in

ten years” from Medtronic.

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1697. An email dated July 30, 2008 from Medtronic Senior Product Manager Katie
Stamps to Dr. Durrani states that she “is in the process of working on the renewal of your
[Dr. Durrani’s] consulting agreement.” As stated, this information is not available on
Medtronic’s website, nor is any information relating to Dr. Durrani’s role as a consultant
for Medtronic.

1698. A CCHMC packet relating to its Orthopedics department indicated that Dr.
Durrani received $60,000 in grants, contracts, or industry agreements from Medtronic
Sofamor Danek in FY 2008.

1699. Financial information discovered concerning Dr. Durrani’s relationship with
Medtronic was found in Dr. Durrani’s biography on the website for the Orthopaedic &l
Spine Institute, which Dr. Durrani currently operates in Pakistan. The biography states
that “Dr. Atiq Dr. Durrani has also received the Clinical Spine Fellowship Grant by the
Department of Orthopaedic Surgery which was funded by Medtronic Sofamor Danek
with a budget of $59,170 per year.” See http://www.osi.corn.pk/doctor/dr-atiq-Dr.
Durrani-md/.

17'00. When a request was made to Medtronic regarding its affiliation with Dr. Durrani,
the Medtronic Supplier Relations Tearn stated that Dr. Durrani’s “name [is]' not listed in
our system.”

1701. Medtronic further responded to the Deters Law Firm’s request that th|e firm would
need a “Vendor l.D. Number,” which neither Medtronic nor any other party has provided

1702. David Rattigan, Dr. Durrani’s main Medtronic representative from Bahler

Medical, is actively fighting a subpoena to a give a deposition in these cases.

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1703. David Rattigan and Medtronic have the same lawyer. Despite the,Deters Law
Firrn’s willingness to cooperate in scheduling the date for a deposition, they have refused
until recently Mr. Rattigan’s deposition is currently scheduled for the month of June,
2015.

1704. ln summary, clients of the Deters Law Firm, With the full knowledge and
intentional consent of all Defendants, became unsuspecting experiments for real world
testing of Medtronic hardware and BMP-2, by and through Dr. Durrani and CAST, who
had secret financial connections to Medtronic, improper motives, and submitted false
claims. The government paid for many of these improper and unregulated experiments as
a result of the false claims made by Dr. Durrani, with the knowledge of Medtronic, under
the veil of “medically necessary” surgeries.

1705. Despite repeated requests, Medtronic has refused to cooperate in providing any
requested information and is actively downplaying their connections to Dr. Durrani.

THE DEFENDANTS AND BMP-2

1706. The Defendants allowed and encouraged these practices by Dr. Durrani for the
sole purpose of money and greed.

1707. David Rattigan was always present in Dr. Durrani’s operating lrooms as a
representative of Medtronic.

1708. David Rattigan’s sole job Was to deliver the BMP-Z/Inlilse to the Hospitals and
make sure that it was inserted correctly into the patient.

1709. David Rattigan’s presence in the OR further supports the Defendants awareness

of Dr. Durrani’s fraudulent use of BMP-Z/lnfuse.

1710. UC Health Stored BMP-2 at UC Health Business Center warehouse located in

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Hamilton County.

171 l. Dennis Robb, the Senior Vice President of Operations and Chief Supply Ofticer
for UC Health6 spends $369 million annually and 73% of his budget on contracting7.

1712. Robb was intimately familiar With BMP-Z/lnfuse and was in charge of acquiring
the product for UC Health, which would then keep an inventory of BMP-Z/Infuse and
supply and distribute it to the Hospitals out of the warehouse as needed

1713. Robb would place an order with Medtronic, Medtronic would deliver BMP-Z/
Infuse to the UC Health Business Center warehouse, and Robb would do a three-way
match based on what he ordered, what Medtronic deliveredJ and the price quoted by
Medtronic

l7l4. The BMP-Z/lnfuse would be distributed‘to West Chester from the UC Health
Business Center warehouse almost on a daily basis (five to six times a week).based on the
inventory demand

1715. UC Health clearly was involved in placing BMP-Z/lnfuse into the stream of
commerce by storing, supplying, and distributing BMP-Z/lnfuse to its hospitals as needed
for surgeries

1716. Despite this awareness the Defendants NEVER obtained its patients’ informed
consent regarding the experimental and fraudulent use of BMP-Z/lnfuse.

1717. The WCH Policy and Procedure Manual states, in part:

Risk Management: Acknowledgment ofInforrned Consent. Policy:

No examination or treatment may commence without the consent of the patient or
the patient’ s legally authorized representative

 

6 Robb Deposition Page 8, Brenda Shell Case
7 Robb Deposition Page 10

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The principle of informed consent is based on the individual’s right to privacy and

self-deterrnination, which includes the right to make informed, reasoned decisions

concerning one’s physical and mental well-being.

lt is the responsibility of the treating physician to obtain informed consent.

A nurse may witness the signature of the patient on the Acknowledgment of
- Inforrned Consent form if the patient verbalizes an understanding of the

procedure, risks, benefits, and alternatives as explained by the physicianl

lnformed Consent for surgical or medical procedure and sedation:

a. lt is the responsibility of the attending physician to obtain informed consent prior
to the procedure The patient, or his/her representative, Will be advised by his/her
physician of:

b. The explanation of the procedure

c. The benefits of the procedure

d. The potential problems that might occur during recuperation

e. The risks and side effects of the procedure which could include but are not limited
to severe blood loss, infection, stroke or death.

f. The benefits, risks and side effect of alternative procedures including the
consequences of declining this procedure or any alternative procedures

g. The likelihood of achieving satisfactory results
The patient’s consent must be documented for:

a. Surgical procedures and invasive procedures

b. Medical regimens of substantial risk, or that are the subject of human
investigations or research must be in writing, and signed and dated by the
patient or his/her authorized representative

1718. WCH/UC Health Policy #ADM.OZ, states in part:

a. No examination or treatment may consent without the consent of the patient or the
patient’s legally authorized representative

b. The principle of informed consent is based on the individual’s right to privacy and
self-determination which includes the right to make informed, reasoned decisions
concerning one’s physical and mental well-being

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c. lt is the responsibility of the treating physician to obtain informed consent

lnformed Consent for Surgical or Medical Procedure and Sedation:

lt is the responsiny of the attending physician to obtain informed consent prior to the
procedure The patient, or his/her representative, will be advised by his/her physician of:

a. The explanation of the procedure
b. The benefits of the procedure
c. The potential problems that might occur during recuperation

d. The risks and side effects of the procedure which could include but are not limited
to severe blood loss, infection, stroke or death.

e. The benefits, risks and side effect of alternative procedures including the
consequences of declining this procedure or any alternative procedures

f. The likelihood of achieving satisfactory results
Completion of the “Consent to l-lospital and Medical Treatment” form to examine and
treat is NOT sufficient as consent to perform a surgical procedure, invasive procedure, or
for medical regimens of substantial risk or that are the subject of human investigation or
research.

1719. WCH requires its own written consent because it knows its responsibility lt

cannot require its own written consent and then “wash its hands” of the responsibility

1720. The Defendants had the responsibility to carry out these consent rules`
1721. Dr. Durrani oftentimes used BMP-2 and/or Puregen “off-label” when performing
surgeries

1722. BMP-2 is manufactured, marketed, sold and distributed by Medtronic under the
trade name “lnfuse.”

1723. Dr. Durrani is a consultant for Medtronic.

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1724. Defendants did not inform Plaintiff of Durrani's financial interest, conflicts of
interest or consulting arrangement with Medtronic.

1725. Medtronic, provided in writing to Dr. Durrani and CAST the approved uses for
BMP-Z, the substance also referred to as lnfuse, which is a bone morphogenic protein,
used as an artificial substitute for bone grafting in spine surgeries

1726. BMP-2 is not approved by the Food and Drug Adrninistration for use in the

thoracic spine.

1727. BMP-Z is neither safe nor approved for use on children less than twenty one (21)
years of age.

1728. For use in spinal surgery, BMP-Z/lnfuse is approved by the FDA for a limited
procedure, performed on a limited area of the spine, using specific components
Specifically, the FDA approved Infuse for one procedure of the spine; Anterior Lumbar
Interbody Fusion (“ALIF” or "Anterior" approach); and only in one area of the spine; L4
to Sl; and only when used in conjunction with FDA-Approved Components: LT-CAGE
Lumbar Tapered Fusion Device Component (“LT-CAGE”)

1729. Use of Infuse in cervical or thoracic surgery, or use through the back (posterior),
or side (lateral), or on areas of the spine outside of the Lrl-Sl region (e.g., the cervical
spine), or using components other than or in addition to the LT-CAGE is not approved by
the FDA, and thus such procedures and/or use of non-FDA approved componentry is
termed “off-label.” ii

1730. When used off-label, Infuse frequently causes excessive or uncontrolled (also

referred to as “ectopic” or “exuberant”) bone growth on or around the spinal cord. When

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nerves are compressed by such excessive bone growth, a patient can experience, among
Other adverse events, intractable pain, paralysis, spasms, and cramps in limbs

l7_3 l. The product packaging for BMP-Z/lnfuse indicates it causes an increased risk of
cancer four (4) times greater than other bone graft alternatives

1732. Dr. Durrani,_ CAST staff and employees and West Chester/UC Health personnel
did not disclose to Plaintiff their intent to use BMP-Z/lnfuse, and further, did not disclose
their intent to use BMP-Z/lnfuse in a way not approved by the FDA.

1733. Dr. Durrani used BMP-2 in Plaintiff in a manner not approved by Medtronic or
the FDA.

1734. Plaintiff was not informed by Defendants that Dr. Durrani used Infuse/BMP-2 in
her surgeries

1735. Plaintiff Would not have allowed BMP-2 to be used by Dr. Durrani in her
surgeries in a manner that was not approved by the FDA or Medtronic, lnfuse/BMP-2’s
manufacturer.

1736. Plaintiff would not have consented to the use of BMP-2 in her body if informed of
the risks by Dr. Durrani, CAST staff and employees or any West ChesterfUC l-lealth
personnel.

1737. The written informed consent of Dr. Durrani and CAST signed by Plaintiff lacked
the disclosure-of lnfusefBMP-2’s use in her procedures

1738. Plaintiff never received a verbal disclosure of Infuse/BMP-2 from Dr. Durrani,
CAST staff and employees or any West Chester/UC Health personnel.

1739. Medtronic specifically required lnfuse/BMP-2 only be used in "skeletally mature

patients" with degenerative disc disease.

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1740. Medtronic required at least six (6) months of non-operative treatment prior to use
of Infuse/BMP-Z.

1741. Dr. Durrani regularly used Infuse/BMP-Z without this six (6) month non-
operative treatment

1742. `Medtronic required BMP-2 always be used in conjunction with a metal L’l` cage.

l743. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgeries

PUREGEN NARRATIVE

1744. Although Barbara Hensley did not have Puregen. Plaintiff is providing a Puregen
narrative to reflect and relate the overall negligence in the operation of West Chester
Hospital.

PUREGEN BACKGR()UND

1745. PureGen Osteoprogenitor Cell Allograft (PureGen) is a highly concentrated, pure
population of Early Lineage Adult (ELA) stem cells that originates in bone marrow and is
collected from live, healthy donors

1746. PureGen is harvested from living human beings under the Stem Cell Collection
Program administered by the Food and Drug Administration (FDA) and is defined as
both a “blologic” by 42 U.S.C. 351(i) and a “drug” as defined by U.S.C. 32l(g).

1747. PureGen’s purpose was to facilitate bone fusion by mimicking the regenerative
environment of youthful tissues by increasing the concentration of stem cells available to
repair tissue and build bone.

1748. When used off-label, as Dr. Durrani often did, biologic bone allograft frequently
causes excessive or uncontrolled (also referred to as “ectopic” or “exuberant”) bone

growth on or around the spinal cord.

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1749. When nerves are compressed by such excessive bone growth, a patient can
experience, among other adverse events, intractable pain, paralysis, spasms, and cramps
in limbs

1750. Alphatec Spine, lnc. is a corporation under the laws of California, and jointly

7 developed and distributed PureGen in the State of Ohio. _

1751. Alphatec Holdings, Inc. is a holding corporation formed under the laws of
Delaware with no operations separate from the holding of other companies which owns
Alphatec Spine, lnc.

1752. Dirk Kuyper was President and CEO of Alphatec Holdings, lnc. from February
2007‘ to August 2012, l

1753. Parcell Laboratories, LLC is organized under the laws of Delaware and jointly
developed Puregen.

1754. Alphatec and Parcell co-developed the product “PureGen”, and both expected
PureGen would be initially limited in application

1755. PureGen is produced and distributed by Alphatec Spine, LLC, a division of
Alphatec Holdings,

1756. PureGen was entered into 3 clinical trials by Alphatec on or around February 9,
201 1 which were scheduled to last until September of 2013.

1757. The study population were 50 male/female subjects 18 years and older suffering
from symptoms of cervical degenerative disc disease in one to four contiguous levels
between C3 and Tl.

1758. The clinical trial required:

a. lnclusion

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ii.

iii.

iv.

vi.

Age over 50

Side-by-side use of Puregen and Autologous bone in the same patient for
radiographic comparison

Symptomatic lumbar degenerative disc disease in up to 2 contiguous
levels between Ll and Sl

Subjects with back and/or leg paint indicated for posterior Stabilization
with or without decompression at any level and posteriolateral fusion
Unresponsive to conservative treatment for at least 6 months

Radiog;raphic evidence of primary diagnosis

b. Exclusion:

vii.

viii.

ix.

xi_

xii.

xiii.

xiv.

XV.

xvi.

xvii.

No healthy volunteers permitted

More than two levels requiring posteriolateral fusion (PLF)
Spondyliosis greater than Grade l

Prior failed fusion surgery at lumbar level(s)

Systemic or local infection in the disc or cervical spine, past or present
Active systemic disease

OSteoporosis, Osteomalacia, or other metabolic bone disease that would
significantly inhibit bone healing

Use of other bone graft, Bone Morphogenic Protein (BMP), or bone graft
substitutes in addition to or in place of those products specified

BMI greater than 40

Use of post-operative spinal cord stimulator

Known or suspected history of alcohol and/or drug abuse

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xviii. lnvolved in pending litigation or worker’s compensation related to the
spine
xix. Pregnant or planning to become pregnant during the course of the study
xx. Insulin-dependent diabetes mellitus
xxi. Life expectancy less than duration of study
xxii. Any significant psychological disturbance that could impair consent
process or ability to complete self-assessment questionnaires
xxiii. Undergoing chemotherapy or radiation treatment, or chronic use of oral or
injected steroids or prolonged use of non-steroidal ami-inflammatory
drugs

xxiv. Known history of hypersensitivity or anaphylactic reaction to dimenthyl

sulfoxide (DMSO).
1759. All 3 clinical trials were “Terminated” before any results were produced
1760. Alphatec and Parcell saw this limited approval for clinical trials as an opportunity

to market PureGen without premarket approval, 510K clearance, an exception to the
Food Drug and Cosmetic Act, meeting the humanitarian device exception, investigational
new drug (IND) application or other permission to market PureGen, all in violbtion of
the Food Drug and Cosmetic Act.

1761. Alphatec and Parcell began a course of conduct designed to expand thei
application of PureGen by end users in excess of the approved clinical trial of PureGen
This course of conduct utilized fraud, false statements material misrepresentation, and
deceit in order to broaden the sales of PureGen beyond that which the usual acceptance

within the scientific community or regulatory approval would otherwise allow.'

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1762. The Food and Drug Administration (FDA) conducted an inspection of Parcell
Laboratories between February 9-14, 201 l.

1763. After the inspection, the FDA responded quickly to the unlicensed marketing of
the device PureGen by warning that PureGen was not the subject of an lND application
nor a valid biologics license with a letter dated June 23, 2011.

1764. The letter stated that the cells used in the production of PureGen were human
cells, tissues, or cellular and tissue-based products (HCT/Ps) as defined in 21 CFR
1271.3(d)_

1765. Based on this analysis, the FDA determined that PureGen was a drug and
biological product as defined in the Federal Food, Drug and Cosmetic Act.

1766. According to the Public Health Service Act, a valid biologics license is also
required to introduce a biologics device to the market.

1767. Alphatec Spine did not acquire a valid biologics license to enter a biologics
product into interstate commerce, in violation of 21 U.S.C. 355(a); 42 U.S.C. 262(a).

1768. The FDA stated that PureGen, “does not meet all of the criteria in 21 CFR
1271.10(a) and therefore is not regulated solely under section 361 of the Public Health
Service Act and the regulations in 21 CFR Part 1271. Specifically, the product does not
meet the criterion in 21 CFR 1271.10(a)(4)(ii)(b) because the product is dependent on the
metabolic activity of living cells for its primary function.” l

1769. As a result, a valid biologics license was required, which Was never obtained by

Alphatec or Parcell labs in regards to PureGen Defendants knew all this

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1770. Given this lack of a valid biologics licenseJ the FDA determined that the
marketing of PureGen violated both the Federal Food, Drug and Cosmetic Act and the
Public Health Service Act.

1771. ln a statement to the press approximately a week after receiving the FDA Letter,
Alphatec President Dirk Kuyper stated, “Both Alphatec Spine and Parcell Laboratories
are fully committed to work closely and collaborativcly with the FDA to address then
questions related to the PureGen Product. We look forward to discussing the PureGen
product with the FDA and sharing our clinical outcomes to date_” See article “Alphatec
comments on FDA’s letter regarding PureGen product for spinal fusion procedures”,
Spinal News lnternational, July 28, 2011, attached as Exhibit E.

1772. No such cooperation by Alphatec and Parcell labs occurred and no clinical
outcomes were shared with the FDA as all clinical trials of PureGen were “Terminated”
and no data was released as to the findings

1773. In fact, Alphatec and Parcell responded to this letter by continuing to market
PureGen in an unlicensed manner until Alphatec finally acknowledged the letter in or
around February 2013, almost two years after receiving the letter, by stating it disagrees
with the F_DA’s classification of PureGen as anything other than a tissue product 4
despite the clinical trial approval listing PureGen as “Biological: PureGen i
0steoprogenitor Cell Allogra ”. l

1774. Furthermore, according to sales representative, Thomas Blank, Alphatec falsely
informed distributors of PureGen that they “resolved” the issues addressed inlthe FDA

letter, did not have to take PureGen off the market and it was “ok” for their distributors to

continue marketing and selling PureGen

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1775. Despite the approval for the clinical trial of PureGen which limited enrollment to
50 patients, Alphatec advertised in its 2012 Annual Report that PureGen had been
implanted in over 3,500 patients

1776. PureGen further stated that it had been placed in these 3,500 patients with “no
adverse events related to the product”, despite no study, statistics or information to back
up such a claim.

1777. This 2012 annual report also identified PureGen as a biologic.

1778. In the First Quarter of 201 l, Alphatec Spine attributed part of its 40.9% increase
in revenue to the PureGen product See Becker’s Spine Review, Alphatec Spine Reports
$49.7M in Ql Revenue, 40.9% Increase, May 5, 201 l, attached as exhibit H.

1779. Eventually, after PureGen had been unlawfully implanted in thousands of
patients, Alphatec and Parcell conceded that PureGen is a tissue product and a biologic
and stopped shipping PureGen in February of 201 3.

PUREGEN AND OHIO LAW

1780. lt is the position of the Deters Law Finn that the distribution and use of PureGen

by Dr. Durrani, Evolution Medical, Alphatec Spine, lnc., and West Chester/UC Health by

Defendants is in violation not only of F ederal Law as outlined in the FDA’s letter, but

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Ohio State Law as well. t
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1781. Ghio Revised Code 3715.65(A) states that “No person shall sell, deliver, offer for
sale, hold for sale, or give away any new drug unless an application with respect to the

drug has become effective under section 505 of the Federal Food, Drug and Cosmetic

Act, 52 Stat. 1040 (1938), 21 U.S.C.A. 301”. Defendants violated this provision

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1782. A “New Drug” is defined as “Any drug the composition of which is not generally
recognized among experts by scientific training and experience to evaluate the safety of
drugs, as safe for use under the conditions prescribed, recommended, or suggested in the
labeling thereof.” Ohio Revised Code 3715.01(9)(a). `

1783. PureGen’s status as a Biologic further supports the classification of a drug under
the FDA and Ohio Law: “A "biological product" means a virus, therapeutic serum, toxin,
antitoxin, vaccine, blood, blood component or derivative, allergenic product, or
analogous product, or arsphenamine or derivative of arsphenamine (or any other trivalent
organic arsenic compound), applicable to the prevention, treatment, or cure of a disease
or condition of human beings (Public Health Service Act Sec. 351(i)). Additional
interpretation of the statutory language is found in 21 CFR 600.3. Biological products
also meet the definition of either a drug or device under Sections 201(g) and (h) of the
Federal Food, Drug, and Cosmetic Act (FD&C Act).” See
http:f/www.fda.gov/1CECl/Inspections/IOM/ucm122535.htm.

1784. lt is the position of the Deters Law Firm that PureGen is a drug as defined in ORC
3715.01 and that its distribution before FDA approval was in violation of ORC
3715.65(A). The Defendants with full knowledge and intent violated this statpte.

PUREGEN AT THE HOSPITALS l

1785. On October 10, 201 1, UC Health began purchasing PureGen from Alphatec.

Thomas Blank was an employee of lnnovative Medical Consultants, LLC and a sales

representative, seller, marketer, and distributor of PureGen for the Northern

Kentucky/Cincinnati area

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1786- ln his professional capacity, Thomas Blank was present during most, if not all, of
the surgeries at issue where PureGen was secretly implanted into various Plaintiffs
without informed consent or permission

1787. Thomas Blank worked directly with Alphatec Spine, lnc. and Defendants in the
marketing and distribution of PureGen.

1788. Additionally, lhomas Blank is a shareholder in Alphatec Spine, lnc.

1789. On May 10, 2012 Evolution Medical, LLC, a physician owned distributorship
(POD), owned in part (at least 40%) by Dr. Durrani and incorporated in Delaware,
received a Kentucky Certificate of Authority.

1790. Around this time, Thomas Blank began to work with Evolution Medical in the
marketing and distribution of PureGen, in addition to his dealing with Alphatec Spine,
Inc.

1791- On July 20, 2012, UC Health with the full knowledge and consent of Defendants
began purchasing PureGen from Evolution Medical, LLC.

1792. The purchase of PureGen, the logistics of the billing, the bills of lading, the
receiving and handling of PureGen for West Chester Hospital was handled by UC Health
Purchasing.

1793. The Defendants tracked West Chester/UC Health’s purchases of PureGen from
Evolution medical.

1794. Specifically, Thomas Blank would provide the materials from Alphatec related to
the use and approval of PureGen to Dwayne Brown on behalf of UC Health, who would
request PureGen based on the amounts requested by Dr. Durrani and other dobtors who

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used the product. l

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1795. After the UC Health reps approved the use of PureGen, Thomas Blank and his
associate Toby Wilcox would order the product, typically in bulk, and draft the requisite
billing documents

1796. The PureGen ordered would be stored on site at WCH in the freezer of the
operating rooms

1797. ln addition to Dr. Durrani, other doctors at WCH used PureGen, including Dr.
Chunduri, Dr. Curt and Dr. Shanti.

1798. Defendants would purchase and allow these doctors to use a substance not
approved by the FDA in patients without their informed consent

1799. Though WCH and UC Health do have patients fill out “informed consent” forms,
no mention of PureGen or its non-FDA approved status is mentioned on these forms

DR. DURRANI AND PUREGEN

1800. ln one of the few depositions taken of Dr. Durrani before his flight from the
country he stated that PureGen is “essentially stern cells” and that he “used to use
[PureGen] for a certain amount of time.” Deposition of Dr. Durrani in Brenda Shell v.
Durrani, p. 251-26J attached as Exhibit N.

1801. This “certain amount of time” was approximately 3 years between 2010 and 2013,
all while PureGen remained unapproved by the FDA.

1802. Though downplaying his involvement with PureGen, Dr. Durrani, through his
illegal POD Evolution Medical, distributed PureGen to West Chester/UC Health with the
full knowledge and consent of Defendants

1803. Dr. Durrani and his Evolution Medical co-owner Toby Wilcox and Defendants,

knew the Department of Health and Human Services and the United States Senate

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Finance Committee has released reports on dangers of Physician-owned entities, notably
Physician-owned Distributorships (POD’s).

1804. Dr. Durrani and Toby Wilcox’s actions through Evolution Medical violated the
Anti-Kickback Statute 42 U.S.C. 1320 and Stark Law 42 U.S.C. 1395.

1805. ` Compliance with the Anti-Kickback Statutes is a condition of receiving payment
from a Federally-funded healthcare program, and most private insurers have a parallel
conditional requirement

1806. The Anti-Kickback Statute prohibits the payment and receipt of kickbacks in
return for either procuring or recommending the procurement of a good, facility, or item
to be paid in whole or in part by a federal healthcare program. 42 U.S.C. 1320af7b(b).

1807. In violation of 45 C.F.R. 46, and in furtherance of the scheme to feign avoidance
of the ami-kickback statutes, Dr. Durrani, CAST, Alphatec and the Defendants
experimented on patients by using PureGen in unapproved manners, without the
informed consent of the patients, and subsequently billing their health insurance
companies all while concealing the true nature of their actions

1808. Dr. Durrani also had connections with Alphatec as his personal calendar indicates
meetings with Dirk Kuyper, President and CEO of Alphatec in 2008.

1809. -Dr. Durrani experimentally used Puregen bone graft in twenty cervical surgeries,
along With as many as 72 thoracic, cervical, and lumbar surgeries, ignoring the limited
uses it was approved for in the clinical trials l
1810. Dr. Durrani, through his POD Evolution Medical, was essentially “double

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dipping” in his dealings with PureGen.

 

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1811. Dr. Durrani would sell WCH and the other hospitals the PureGen through
Evolution Medical and then use and bill for the PureGen in his surgeries

1812. Dr- Durrani and Defendants knew such an arrangement was either unethical and
illegal (though still not disclosing the use of PureGen) by having the patients sign an
Acknowledgement of Potential Conflict of lnterest form.

1813. WCH and Defendant also benefited from this arrangement by up charging
patients for the PureGen after purchasing it from Evolution Medical and Dr. Durrani.

1814. At all times relevant, Dr. Durrani and Defendants was in exclusive control of the
amount and ratio of Puregen bone graft that was experimentally implanted into patients

1815. PureGen was and remains unapproved by the FDA for use in humans without an
Investigation New Drug ("IND") or experimental informed consent of the patient.

1816. Dr. Durrani and Defendants did not receive experimental informed consent from
patients, nor did he verify-that an l`ND was obtained.

1817. The basic “lnformed Consent Forms” Dr. Durrani and CAST did have patients fill
out made no mention of PureGen or the fact a non-FDA approved product was being
implanted in their body.

1818. ln fact, Dr. Durrani and Defendants would even conceal the use of PureGen by
intentionally withholding it from the billing records, noting on one Pre-Op Code sheet
“Do Not Bill” twice in regards to PureGen.

1819. Implanting Puregen in any part of the spinal canal without FDA clearance, proper

trials, and patient consent is reckless battery and violates the Hippocratic Oath’s

statement “l will prescribe regimens for the good of my patients according to my ability

and my judgment and never do harm to anyone.” lt is criminal.

 

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PUREGEN AND OUR CLIENTS

1820. What follows are just a few examples of the damage caused Dr. Durrani and the
Defendants deceptive and fraudulent use of PureGen in Deters Law Office clients without
their consent.

1821. A majority of these surgeries occurred AFTER the FDA inspection and
subsequent warning on the non-PDA approved status of PureGen.

1822. Following the cervical surgeries in which Puregen was implanted, the patients’
pain became far worse and more extreme

1823. The patients attest to difficulty with swallowing unthickened liquid, medications
in pill fonn, routine saliva, and food.

1824. Many patients describe a choking sensation felt on a daily basis when swallowing
and changes to the tone and audibility of their voice, along with a chronic cough.

1825. Following the thoracic and lumbar surgeries, patients attest to increased spinall

pain, difficulty with ambulation, numbness and tingling in lower extremities, decreased

flexibility
1826. Below are some of the clients experiences since having the Puregen implanted'.
1827. “I have severe low back pain, stiffness, decreased range of motion and tenderness

Pain radiating to left posterior thigh and right/left lumbar area. Onset months ago after
surgery.” - William Hayes

1828. “Constant, irritating pain, less intense but still present. Even after two surgeries, l
continue to have limited use of my left leg. The pain is ever-present l am easily fatigued
and have severe pain after brief tasks such as cooking dinner, preaching a sennon, even

making a bed. Bending over is so painful and produces such instability that my farnin

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helps put on my socks and shoes l require a cane for ambulation, due to left leg
weakness and limited range of motion.” - Darrell Earls

1829. “Severe spin in my neck, arrn, shoulder blades Pressure on my throat making it
unbearable to swallow meds and food. Loss of` range of motion in my neck and stiffness
in back. The pain is so severe thatl can`no longer sleep laying down. l have to sleep
sitting up. The pain in my neck is unbearable most days The pain runs between my
shoulder blades into my chest and in my throat and side of my neck_” - Duane Pelfrey

1830. “I feel l have lost a lot of the flexibility in my neck and back. l have lower back
pain, tightness in neck and shoulders, and have a hard time lifting/standing for long
periods of time. When l bend over, l have a hard time straightening back up to an upright
position.” ~ Dana Conley

1831. “Low back pain radiating into bilateral hips, buttocks, legs and feet. Bi]ateral leg
weakness Numbness in left foot and toes Bilateral buttock and posterior thigh muscle
spasms Burning sensation in right abdomen that radiates around to back. My post-
surgery MRl and CT scan showed bony overgrowth into the foramen and into the canal
on left at LS-Sl .” - Julie Martin

1832. “l experience pounding headaches that are far worse than anything prior to
surgery. Left leg is numb, painful and swollen, muscle spasms occurring in hip and
bilateral legs since surgeries with Dr. Durrani. My whole back, neck and leg hurt so bad l
could throw up.” - Tonia McQueary

1833_ “I have much more pain. Constant right-sided headache, intensity varii=:s but
always present The back of my neck swells. My esophagus feels like it is in a different

place. My throat swells.” - Kelly Hennessey

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1834. As stated, there are just a few examples of clients that have been discovered to
have had non-FDA approved PureGen implanted into their bodies without their informed
consent, in violation of both Federal and State Law, all with the knowledge of

Defendants

WEST CHESTER HOSPITAL/UC HEALTH COUN'I`S:
COUNT I: FRAUD

1835. The Board Directors, Officers, Defendants of West Chester/UC Health are for all
intents and purposes the owners of West Chester/UC Health based upon the nature of
West Chester/UC Health corporate status

1836. The Board Directors, Officers, Defendants control West Chester/UC Health
completely They used this control to effectuate a massive fraud upon Plaintiffs as
outlined in this Complaint.

1837. The Board Directors, Officers, Defendants with the intent to deceive did:
(l) make, issue, deliver, transmit by mail, or publish, any prospectus, report, or other
doctunent respecting membership rights in, or the activities, assets, liabilities, eamings, or
accounts of, West Chester/UC Health, knowing that same is false in any material respect;
and (2) made entries in the corporations books, minutes, records, or accounts, when such
directors knew the entry to be false, or removed, erased, altered, or canceled any such
entry knowing that the resulting entries would be false. R.C. 1702.54(A) A director who
violates this provision is personally liable, jointly and severally with others participating

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with such director in the act, to any person for any damage actually suffered a.'s a

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proximate result of the act. R.C. 1702.54(13). An action to enforce liability under the

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above statute must be brought within four years from the time of challenged act. R.C.

1702.54.

1838. Plaintiff has just now received the financial statements from West Chester
Hospital.
1839. West Chester Hospital is currently negotiating with the Federal Government to

pay back $4.1 million in fraudulently billed Medicarefl\/ledicaid.

1840. Plaintiff incorporates each and every factual allegation pled in all prior
paragraphs
1841. Defendants concealed from Plaintiff facts they knew about Dr. Durrani and made

misrepresentations to Plaintiff as detailed in this Complaint as fully detailed in the
paragraphs of this Complaint.

1842. Defendant’s concealments and misrepresentations were material facts

1843. Defendants had a duty to disclose these material facts to Plaintiff and a duty to
refrain from misrepresenting such material facts to Plaintiff.

1844. Defendants intentionally concealed and/or misrepresented material facts with the
intent to defraud Plaintiff in order to induce Plaintiff to undergo the surgery or cause her
not to decide to cancel surgery, and thereby profited from the surgeries and procedures
Dr. Durrani performed on Plaintiff at West Chester Hospital/UC Health.

1845. Plaintiff was unaware that Infuse/BMP-2 or would be used in Plaintiff"s surgeries
and thereforeJ was unaware of the health risks of lnfuse/BMP-Z used in Plaintiffs spines.

1846. West Chester Hospital/UC Health concealed from Plaintiff facts they knew about

Dr. Durrani, including that lnfuse/BMP-Z and/or Puregen would be used in Plirintiff’s

 

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surgery, and misrepresented to Plaintiff the nature of the surgery, and the particular risks
that were involved therein.

1847. West Chester HospitalfUC Health’s concealments and misrepresentations
regarding lnfuse/BMP-2 and the nature and risks of Plaintiff` s surgeries were material
facts

1848. Because of its superior position and professional role as a medical service
provider, West Chester HospitalfUC Health had a duty to disclose these material facts to
Plaintiff and a duty to refrain from misrepresenting such material facts to Plaintiff

1849. West Chester Hospital/UC Health intentionally concealed and/or misrepresented
said material facts with the intent to defraud Plaintiff in order to induce Plaintiff to
undergo the surgery, and thereby profited from the surgeries and procedures Dr. Durrani
performed on Plaintiff at West Chester HospitalfUC Health.

1850. Plaintiff was unaware that lnfuse/BMP-2 would be used in Plaintiff's‘ surgeries
and therefore, was unaware of the health risks of lnf`use/BMP-Z use in Plaintiff"s spine.

1851. Had Plaintiff known before Plaintiff’s Surgeries that lnfuse/BMP-2 would be used
in Plaintiffs spine and informed of the specific, harmful risks flowing therefrom,
Plaintiff would not have undergone the surgeries with Dr. Durrani at West Chester
Hospital/UC Health_

1852. Defendant West Chester Hospital fraudulently inserted Bone Graft Infuse XX SM
0.7 ML in Barbara Hensely. Medical Records are attached as exhibit A.

1853. Had Plaintiff known before Plaintiffs surgery that lnfusefBl\/lP-Z would be used

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in Plaintiffs spine and informed of the specific, harmful risks flowing merefrpm,

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Plaintiffs would not have undergone the surgeries with Dr- Durrani at West Chester
Hospital/UC Health.
1854. AS a direct and proximate result of the fraud upon Plaintiffs by Defendants,
Plaintiffs sustained all damages requested in the prayer for relief.
PRAYER Fl)R RELIEF

WHEREFORE, Plaintiff requests and seeks justice in the form and procedure of a jury,

verdict and judgment against Defendants on all claims for the following damages:

l.

Past medical bills;

2. Future medical bills;

3. Lost income and benefits;

4. Lost future income and benefits;

5. Loss of ability to earn income;

6. Past pain and suffering;

7. Future pain and suffering;

8. Plaintiff seeks a finding that their injuries are catastrophic under Ohio Rev. Code
§2315.18;

9. Plaintiff seeks all relief available under the Ohio Products Liability Act R.C. § 2307/71-

2307.80 and applicable law;

10,

ll.

12.

13.

14.

All incidental costs and expenses incurred as a result of their injuries;
The damages to their credit as a result of their injuries;

Loss of consortium;

Punitive damages;

Costs;

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]5. Attorneys’ fees;

16. lnterest;

17. All property loss;

18. All Other relief to Which they are entitled including O.R.C. 1345 .01

19, Based upon 1-18 itemization of damages, the damages sought exceed the minimum
jurisdictional amount of this Court and Plaintiff seeks in excess of 325,000.

20. Plaintiff also demands declaratory judgment as to the unconstitutionality of O.R.C.

§2305.113(€) to the extent that it applies to this action.

Respectfully Submitted,

M-'
Man Hammer (#0092483)
The Deters Law Firrn
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lndependenceJ KY 41051
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mhammer@ericdeters.com
Counselfor Plainth

 

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JURY DEMANI)

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Plaintiff makes a demand for a jury under all claims

Matt Harnmer (#0092483)

 

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Anesthesia Staff Pekar, Bennany, CRNA ,
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Assessment and Veriflcation `

 

 

 

 

   
  

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Admit Data.‘

Adm|tting MDILW #:

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l 1:51 EBL 100 ml
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Hursan lntraup Record Patlent: HENSLEY' Barbara’ A DDB: 02!18!1951
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COMlVlO

Barbara Hensley _
12063 Dec|<er Richwood Ky, 41094

VS

UC Health

PLAINTIFF/DEFENDANT REQUESTS

CERTIFIED MAlL SERVICE X

  

N PLEAS COURT

HAMILTON COUNTY, OHlO

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WRITTEN REQUEST FOR SERVICE

TYPE OF PAPERS TO BE SERVED ARE
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DOMESTIC CASE

EX PRESS MAIL SERVICE

 

 

 

 

 

 

 

 

REGULAR MAlL SERVICE
PERSONAL SERVlCE RESIDENCE SERVICE
PROCESS SERV|CE FORE|GN SHERIFF
ON UC Health
Serve: GH&R Business Svcs., |nce. 511 Wa|nut Street 1900 Fifth
Third Center Cincinnati, OH 45202.
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5247 Madison Pike. |ndepandabce. Ky 41051
ADDRESS

 

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PHONE NUMBER

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COMMON PLEAS COURT
HAMlLTON COUNTY, OI-IIO

Barbara Hensley

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12063 Decker Richwood Ky, 41094 CASE NO_ A 5 0 3 3 5 _
VS

WRITTEN REQUEST FOR SERVICE

TYPE OF PAPERS TO BE SERVED!ARE
West Chester Hospita|, LLC

 

 

 

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West Chester Hospita| LLC at 7700 University Drive West Chester, OH 45069

 

 

 

 

 

 

 

 

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Third Center Cincinnati, OH 45202. §§ §§ m
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ATTORNEY

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PHONE NUMBER

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ATTORNEY NUMBER

5247 Madison Pike. Independabce, Ky 41051

 

 

